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COMPLIANCE OFFICER
  AND COMMUNITY
      LIAISON
QUARTERLY REPORT: QUARTER 3 UPDATES AND
               ANALYSIS


                      Prepared By:
                          CNA

              For the City of Portland, Oregon
            July 1, 2023 to September 30, 2023

                      March 9, 2024




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This document contains the best opinion of CNA at the time of issue.




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Executive Summary

This is the Compliance Officer/Community Liaison’s (COCL) third quarter report for 2023, as
required by the Amended Settlement Agreement between the City of Portland (the City) and the
United States Department of Justice (DOJ), Case No. 3:12-cv-02265-SI, entered April 29, 2022. This
report covers the three-month period from July 1, 2023, to September 30, 2023.


III. USE OF FORCE
During the third quarter of 2023, the Portland Police Bureau (PPB) and the City of Portland (the City)
was found to be in Substantial Compliance for 10 of the 12 paragraphs in Section III, leaving Pars. 69
and 76 in Partial Compliance.
For the present quarter, our review of a random sample of 20 use of force events revealed each use
of force was reasonable, that the force was comprehensively described, investigated, and reviewed
by the chain-of-command. Additionally, we saw consistent instances of supervisors identifying
opportunities for improvement during use of force events, documenting their findings, and providing
correction to officers where appropriate. We also found the entire chain-of-command ensured
accurate and complete after-action reviews, regularly identified policy, training, tactical, or
equipment concerns, and raised these concerns to the Force Inspector for resolution. As a result of
PPB’s “consistent and verified performance” in these regards (Par. 33), we found the PPB had
achieved renewed Substantial Compliance with the requirements of Pars. 70, 73, 74, 75, and 77.
To gain substantial compliance with the remaining paragraphs in the Use of Force section, we look
forward to PPB rectifying the lack of clarity in the description of, and officers reporting of, Control
Against Resistance. We also look forward to continued application of SOP #5 (Force Analysis for
Supervisors and Teams) when identifying and addressing outlying officers though note recent
progress regarding this process.


IV. TRAINING
During the third quarter of 2023, the PPB was found to be in Substantial Compliance with all
paragraphs in Section IV.

The COCL continued to examine the PPB’s Online training program delivered through their Learning
Management System (LMS). LMS attendance records are expected to include all in-person and online
trainings completed by PPB members . The PPB has maintained its process for ensuring compliance
with Oregon training standards, including through the use of reminder emails, noncompliance
memos to the Chief’s office, and supervised completion of training. The PPB also implemented SOP
10-10 (Skills Certification Tracking With LMS) which creates a centralized database that contains
certification records for specialty assignments (e.g., ECIT or AR-15 certification). This development
addressed the final barrier to Par. 81, which we now find to be in Substantial Compliance.


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During this quarter, we also found that the Training Division continued to conduct Training Needs
Assessments and use them to identify potential training needs, including areas related to use of force,
trends in misconduct reports, crowd management, control tactics, patrol procedures, and COCL and
DOJ recommendations for complying with the Settlement Agreement (among other topics).
Additionally, the COCL found that the PPB continued to produce training evaluation results for
recently delivered training. The PPB’s training evaluations continue to employ multiple methods of
data collection, analysis, and reporting that are being guided by the Kirkpatrick Model of training
evaluation.
Several members of the COCL team were also provided the opportunity to observe training provided
as part of the body-worn camera pilot. This training included modules on the BWC policy, wearing
the cameras, operating the cameras, docking the cameras and downloading the videos, and modules
for specific supervisor and detective responsibilities. In observing the training, we found each
module to be informative and well received.
The COCL continues to suggest the incorporation of a contact survey to measure on-the-job
performance of critical training objectives, such as procedurally just behaviors by officers. We
maintain that data generated from a contact survey program, along with data from the new BWC
program, would help ensure equitable treatment for all groups and lead to important changes in
training, coaching, and supervision.


V. COMMUNITY BASED MENTAL HEALTH SERVICES

During the third quarter of 2023, the PPB and the City was found to be in Substantial Compliance for
all paragraphs in Section V.

These paragraphs refer to services that are part of a broader mental health response system. The PPB
and the City are partners in this system but are not necessarily drivers of the system. The City and
the PPB continued to participate through engagement in various committees and workgroups. These
include the Behavioral Health Unit Advisory Committee (BHUAC), the Behavioral Health Unit
Coordination Team (BHUCT), the Unity Transportation Work Group, and the Legacy ED Community
Outreach Group. These groups have continued to address important issues in city, county, and state
approaches to providing comprehensive mental health services.

Also, as part of Section V, the Unity Center continues to act as a drop-off center for first responders
to transport persons in a mental health crisis. As noted in prior reports, the Unity Center conforms
to the intent of the Settlement Agreement and of drop-off centers as outlined in the Memphis Model
of mental health crisis response. Furthermore, the PPB has continued to participate in AMR
(ambulance service) training for transporting persons in mental health crises.



VI. CRISIS INTERVENTION

During the third quarter of 2023, the City and PPB was found to be in Substantial Compliance with
all paragraphs in Section VI.


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During the third quarter, Bureau of Emergency Communications (BOEC) maintained their policies
and training for telecommunicators on triaging calls involving a mental health component, including
to Enhanced Crisis Intervention Team (ECIT), Portland Street Response (PSR), and the Behavioral
Health Call Center (BHCC). For instance, in this quarter, BOEC provided us with SOP 6.011 (Portland
Street Response) which defines the function of PSR, defines a mental health crisis, and lists the
specific criteria for dispatching PSR during a mental health crisis. BOEC also continued to use seven
call characteristics to determine whether a specialized ECIT officer should be dispatched.

For their part, the PPB continued to maintain directives related to crisis response, including 850.20
(Police Response to Mental Health Crisis), 850.21 (Peace Officer Custody – Civil), 850.22 (Police
Response to Mental Health Director Holds and Elopement), and 850.25 (Police Response to Mental
Health Facilities). The PPB also continued to provide training to new officers as well as current
officers through annual In-service training. In August of 2023, the PPB completed a new Advanced
Academy for new recruits, with 23 individuals graduating. Additionally, the PPB maintained their
specialized response approach through the use of ECIT officers. In the third quarter of 2023, there
was an ECIT certification training with 20 graduates. PPB also presented to the Behavioral Health
Unit Advisory Committee (BHUAC) on the proposal of a dedicated ECIT Response car to help meet
ECIT call demand.

The PPB has maintained the use of Behavioral Health Response Team (BHRT) to assist individuals
who represent an escalating risk of harm. While the Settlement Agreement only requires three teams
for each precinct, in the third quarter the PPB maintained five BHRTs. The PPB has also maintained
the Service Coordination Team (SCT) to facilitate the provision of services to persons who are
chronically houseless, suffer chronic addiction, and are chronically in and out of the criminal justice
system. For both programs, we provide ongoing operational statistics, including statistics related to
decision-making and outcomes.

Finally, BHUAC continued to meet during the third quarter of 2023, utilizing the expertise of
individuals at the PPB, BOEC, and the City, as well as other agencies, stakeholders, advocates, and
service providers. For the third quarter, the BHUAC met twice and one meeting was cancelled due to
low availability. The meetings we observed were largely productive though we will continue to
monitor the ability of BHUAC to meet with a sufficient number of members in future quarters. found
that in the third quarter, meetings were largely productive and met quorum.


VII. EMPLOYEE INFORMATION SYSTEM (EIS)
During the third quarter of 2023, the PPB was found to be in Substantial Compliance with three of
the five paragraphs in Section VII, leaving Pars. 116 and 117 in Partial Compliance.
During the third quarter, we continued discussion with the PPB around our ongoing need for better
clarity with how outlying officers, teams, and units are identified and evaluated in the context of early
intervention. To resolve these issues, we look forward to further discussion surrounding SOP #5
(Force Analysis for Supervisors and Teams). Finally, we continue to await agreement from the
Parties as to whether a comprehensive assessment of the EIS is necessary for compliance with the
requirements of this paragraph, though we note this will likely not occur before the Monitor assumes

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their role. For other paragraphs within this section, the PPB continues to maintain the thresholds
required of the EIS and has maintained a third EIS administrator.


VIII. ACCOUNTABILITY

During the third quarter of 2023, the PPB was found to be in Substantial Compliance with 16 of the
21 paragraphs in Section VII, leaving Pars. 126, 128, 131, 137 and 169 in Partial Compliance.
For this quarter, the City achieved Substantial Compliance with Par. 121 based on a consistent
upward trend of completing administrative investigations within 180-days per the requirements of
the Settlement Agreement. Over the past four quarter, IPR and IA went from a compliance rate of
67% for cases opened in 2022 Q2 to a compliance rate of 89% for cases opened in 2023 Q1 (the last
quarter for which 180 days could have passed).
Additionally, while some barriers from prior quarters continue to remain, we report progress
towards Substantial Compliance in several of them. For example, we were provided information from
the City demonstrating that the transition to a new form of government will account for IPR’s
sunsetting (and the emergence of the new accountability system) by placing them all under the
umbrella of the same City service area. Thus, the City has a demonstrated plan for incorporating
independent police review into the new system of government. Alternatively, progress for some
paragraphs still remains before Substantial Compliance can be achieved and we will continue to
provide updates on their development.


IX. COMMUNITY ENGAGEMENT AND CREATION OF PORTLAND COMMITTEE ON COMMUNITY
ENGAGED POLICING (PCCEP)
During the third quarter of 2023, the PPB was found to be in Substantial Compliance with all twelve
paragraphs in Section IX.
In the third quarter of 2023, PCCEP continued to function as a legitimate body for community
engagement. They held three full committee meetings, as well as meetings of their Steering
Committee, Settlement Agreement and Policy Sub-Committee, and their Community Engagement
Sub-Committee. The City continued to support PCCEP by maintaining competent staff to plan and
manage meetings, recruiting and training new PCCEP members, and providing technical and legal
assistance as needed.
During the third quarter of 2023, the PPB continued to implement its Community Engagement Plan.
The PPB’s diverse advisory groups (Community and Culturally Specific Councils), as well as the
Coalition of Advisory Groups (CAG), continue to meet with the PPB leadership, City Commissioners,
and the communities they represent in a transparent manner. Also, the PPB’s Operational Councils –
BHUAC, the Police Equity Advisory Council (PEAC), and the Training Advisory Council (TAC) –
continue to meet regularly and provide the PPB with feedback on relevant issues. Additionally, the
PPB’s Office of Community Engagement and the PPB’s Policy Director (with support from PPB’s
Strategic Services Division) have built a sound Language Justice Program that continues to expand to
ensure equal access to police and city services. The new language access policy is nearly operational

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and should be followed by training in the near future. The PPB has also continued to produce high-
quality quarterly and annual reports on traffic stops and use of force with demographic breakdowns
that allow for the analysis of racial disparities. Finally, the PPB has made considerable strides in
terms of community engagement and the PPB’s Office of Community Engagement is doing some
excellent, cutting-edge work to de-centralize community policing and build partnerships with the
community.


XI. ADDITIONAL REMEDIES
During the first half of 2022, the Parties, the Portland City Council, and the Federal court agreed to
amend the Settlement Agreement to include eight new remedies to help reform the PPB. As a result,
Section XI has been added, with eight new paragraphs (188 to 195). The COCL’s compliance
assessment for Section XI began in the second quarter of 2022.
The City continues to use the updated Force Data Collection Report (FDCR) and After Action Report
forms to capture when the forms are edited and completed. The City also continues to list a separate
line item for overtime costs to conduct necessary training for PPB officers. Additionally, the PPB
finalized the 2022 Annual Report, after soliciting comments and recommendations from the PCCEP
and other community members. Finally, the PPB has retained Dr. Rebecca Rodriguez as the Police
Education Director. With these actions, the City has maintained Substantial Compliance for Par. 188,
190, 191, and 193.
For paragraphs which remained in Partial Compliance, continued progress was made. During this
quarter, the Independent Monitor, LLC (IMLLC) released a report which assessed the City’s response
to crowd control events in 2020 as required by Par. 189. The IMLLC acknowledged the City’s efforts
even prior to completing their review, including hiring a civilian employee to direct educational
efforts at PPB’s Training Division, equipping PPB officers with body-worn cameras, and initiating
investigations into actions of PPB personnel during the protests. The IMLLC provided 12
recommendations for the City which PPB will now use as the basis for a training needs assessment.
The IPR is continuing to complete investigations related to Par. 192 and will provide the COCL with
additional details once the investigations are complete. Additionally, the PPB implemented a body-
worn camera pilot program as an initial step to fulfil the requirements of Par. 194. Beginning on
August 21, 2023, the pilot program equipped officers from PPB’s Focused Intervention Team, Central
Precinct Patrol, and Central Neighborhood Response Team/Bike Squad with body-worn cameras
from Axon. Based on results from the pilot program, the PPB expects to implement the body-worn
camera program in the Summer of 2024. Finally, the PAC submitted a final report and
recommendations to the City concerning the implementation of the Community Police Oversight
Board required by Par. 195. With these actions, the City has maintained Partial Compliance for those
paragraphs.




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Introduction

This is the Compliance Officer/Community Liaison’s (COCL) third quarter report for 2023,
as required by the Amended Settlement Agreement between the City of Portland (the City)
and the United States Department of Justice (DOJ), Case No. 3:12-cv-02265-SI, entered April
29, 2022. Under the Portland Settlement Agreement, the Compliance Officer/Community
Liaison (COCL) is responsible for collecting, reviewing, and reporting on data related to the
Portland Police Bureau's (PPB) interactions with persons experiencing a mental health
crisis, use of force, PPB supervision and management of use of force, accountability
processes, and training. The COCL independently examines and synthesizes the data for the
purposes of reporting to the City Council, the United States Department of Justice, and the
public on the City's compliance with the Agreement. The COCL team produces quarterly
reports and presents the draft of each report to the public for comment. This report covers
the three-month period from July 1, 2023, to September 30, 2023.
This report includes a “Report Card” that provides a separate assessment of each paragraph
in the Agreement. All paragraphs are reviewed and evaluated using the following standards:
    ● Substantial Compliance: The City/PPB has satisfied the requirement of the provision
      in a comprehensive fashion and with a high level of integrity.
    ● Partial Compliance: The City/PPB has made significant progress toward the
      satisfaction of the provision’s requirements, though additional work is needed.
    ● Non-Compliance but Initial Steps Taken: The City/PPB has begun the necessary steps
      toward compliance, though significant progress is lacking.
For each paragraph assessed by the COCL team, we provide the Settlement Agreement
paragraph language, our methodology for assessing compliance with that paragraph, a
summary of our findings for the quarter, recommendations for achieving or maintaining
compliance (where appropriate), and the documents, data, or observations that we relied on
in completing our assessment. When providing recommendations for reaching or
maintaining compliance, we use the phrase “to achieve [or maintain] Substantial
Compliance.” Where recommendations in our assessments are not preceded by this
language, the COCL is offering recommendations that are not required for compliance, but
that we feel would have a significant positive impact on the PPB if implemented.
In the third quarter of 2023, the City/PPB remained in Substantial Compliance for most of the
paragraphs in the Settlement Agreement. The City/PPB achieved Substantial Compliance for five
additional paragraphs within the Use of Force section (Pars. 70, 73, 74, 75, 77). The City/PPB also
gained substantial for the two remaining Training paragraphs (Pars. 78, and 81), bringing the
entire section into compliance. This City also gained Substantial Compliance with Par. 121 in the

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Accountability Section. Thus, at the conclusion of the third quarter of 2023, Partial Compliance
ratings were given for the following 13 paragraphs: Use of Force (Pars. 69 and 76), Employee
Information System (Pars. 116, 117), Officer Accountability (Pars. 126, 128, 131, 137, 169), and
Additional Remedies (Pars. 189, 192, 194, 195).




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Report Card

The table below summarizes the compliance status and recommendations for all
paragraphs reviewed by the COCL.

  Paragraph           Compliance Label                         COCL Recommendations
 III. USE OF FORCE

 Par. 66         Substantial Compliance
                                                    •   Maintain vigilance in reviewing how de-
                                                        escalation is defined to ensure that the data
                                                        surrounding de-escalation does not suffer
                                                        from validity issues
 Par. 67         Substantial Compliance
                                                    •   Maintain vigilance in reviewing how de-
                                                        escalation is defined to ensure that the data
                                                        surrounding de-escalation does not suffer
                                                        from validity issues
 Par. 68         Substantial Compliance
                                                    •   No recommendations at this time
 Par. 69         Partial Compliance
                                                    •   To return to Substantial Compliance,
                                                        evaluate Directives 1010.00 and 910.00,
                                                        evaluate current training, and identify
                                                        opportunities to clarify when officers should
                                                        be reporting Control Against Resistance
                                                    •   Upon issuing such clarification, take
                                                        corrective action on members who fail to
                                                        report Control Against Resistance and
                                                        supervisors who fail to correct the issue
 Par. 70         Substantial Compliance
                                                    •   No recommendations at this time
 Par. 71         Substantial Compliance
                                                    •   No recommendations at this time
 Par. 72         Substantial Compliance
                                                    •   No recommendations at this time
 Par. 73         Substantial Compliance
                                                    •   No recommendations at this time
 Par. 74         Substantial Compliance
                                                    •   No recommendations at this time


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  Paragraph           Compliance Label                         COCL Recommendations
 Par. 75         Substantial Compliance
                                                    •   No recommendations at this time
 Par. 76         Partial Compliance
                                                    •   To achieve Substantial Compliance, maintain
                                                        communication with COCL regarding the
                                                        application of SOP #5 to ensure consistent
                                                        and verified performance as required by the
                                                        Settlement Agreement
 Par. 77         Substantial Compliance
                                                    •   No recommendations at this time

 IV. TRAINING


 Par. 78         Substantial Compliance
                                                    •   No recommendations at this time
 Par. 79         Substantial Compliance
                                                    •   Reduce the gap between the needs
                                                        assessment and training plan through other
                                                        modes of training
 Par. 80         Substantial Compliance
                                                    •   Enhance evaluation efforts to better capture
                                                        on-the-street behavior through surveys and
                                                        body-worn camera (BWC) review
 Par. 81         Substantial Compliance
                                                    •   No recommendations at this time
 Par. 82         Substantial Compliance
                                                    •   No recommendations at this time
 Par. 83         Substantial Compliance
                                                    •   No recommendations at this time
 Par. 84         Substantial Compliance
                                                    •   Maintain and, where needed, expand efforts
                                                        to further include concepts related to
                                                        procedural justice and legitimacy
 Par. 85         Substantial Compliance
                                                    •   The next audit of the Training Division
                                                        should give special attention to
                                                        civilianization, including the level of support
                                                        for the Director of Education and instructor
                                                        development classes
                                                    •   A future audit should give attention to the
                                                        content of in-person training for officers and
                                                        supervisors, with particular attention to the

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  Paragraph           Compliance Label                         COCL Recommendations
                                                        quality of instruction on Equity, Procedural
                                                        Justice, and De-escalation
                                                    •   In terms of training needs assessment, the
                                                        community should play a bigger role in
                                                        setting training priorities because they are
                                                        the recipients of police services
                                                    •   Given the critical importance of training in
                                                        police reform, the City and PPB should invest
                                                        more in Training Division personnel so that
                                                        more instruction can be delivered
 Par. 86         Substantial Compliance
                                                    •   Work with the TAC to identify analyses that
                                                        will be most useful to the TAC’s mission
 Par. 87         Substantial Compliance
                                                    •   No recommendations at this time

 V. COMMUNITY-BASED MENTAL HEALTH SERVICES


 Par. 88         Substantial Compliance
                                                    •   No recommendations at this time
 Par. 89         Substantial Compliance
                                                    •   No recommendations at this time
 Par. 90         Substantial Compliance
                                                    •   No recommendations at this time

 VI. CRISIS INTERVENTION


 Par. 91         Substantial Compliance
                                                    •   Continue to update the COCL and DOJ on
                                                        changes to personnel when applicable
 Par. 92         Substantial Compliance
                                                    •   Continue to collect and review data on
                                                        mental health services, and use this
                                                        information to update services as needed
 Par. 93         Substantial Compliance
                                                    •   Continue to collect and review data on
                                                        mental health services, and use this
                                                        information to update services as needed
 Par. 94         Substantial Compliance
                                                    •   No recommendations at this time



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  Paragraph           Compliance Label                         COCL Recommendations
 Par. 95         Substantial Compliance
                                                    •   Ensure an ongoing quorum through
                                                        increasing membership or substituting
                                                        representatives who are able to attend more
                                                        regularly for those who frequently cannot
 Par. 96         Substantial Compliance
                                                    •   No recommendations at this time



 Par. 97         Substantial Compliance
                                                    •   Consider seeking BHUAC input during
                                                        training development rather than after
                                                        training has been developed
 Par. 98         Substantial Compliance
                                                    •   Consider seeking BHUAC input during
                                                        training development rather than after
                                                        training has been developed
 Par. 99         Substantial Compliance
                                                    •   No recommendations at this time
 Par. 100        Substantial Compliance
                                                    •   Continue utilizing existing data to assess
                                                        demand for ECIT services
 Par. 101        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 102        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 103        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 104        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 105        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 106        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 107        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 108        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 109        Substantial Compliance
                                                    •   No recommendations at this time




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  Paragraph           Compliance Label                         COCL Recommendations
 Par. 110        Substantial Compliance
                                                    •   Continue to collect data and create reports
                                                        on mental health services
 Par. 111        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 112        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 113        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 114        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 115        Substantial Compliance
                                                    •   No recommendations at this time

 VII. EMPLOYEE INFORMATION SYSTEM


 Par. 116        Partial Compliance
                                                    •   To achieve Substantial Compliance, work
                                                        with COCL to formalize the review,
                                                        identification, and intervention process
                                                        through SOP #5
                                                    •   Determine with DOJ whether an assessment
                                                        of EIS’s effectiveness is required for
                                                        compliance
 Par. 117        Partial Compliance
                                                    •   To achieve Substantial Compliance, work
                                                        with COCL to formalize the review,
                                                        identification, and intervention process
                                                        through SOP #5
                                                    •   Determine with DOJ whether an assessment
                                                        of EIS’s effectiveness is required for
                                                        compliance
 Par. 118        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 119        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 120        Substantial Compliance
                                                    •   No recommendations at this time

 VIII. OFFICER ACCOUNTABILITY



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  Paragraph           Compliance Label                         COCL Recommendations
 Par. 121        Substantial Compliance
                                                    •   Conduct a thematic review of oft overdue
                                                        case types to identify common delays and
                                                        take proactive measures when faced with
                                                        future similar cases
                                                    •   Consider the impact of system layers on
                                                        timely resolution of complaints
 Par. 122        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 123        Substantial Compliance
                                                    •   Maintain self-improvement loop for stages
                                                        that exceed their stage timeline even if the
                                                        case does not exceed the 180-day timeline
 Par. 124        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 125        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 126        Partial Compliance
                                                    •   To achieve Substantial Compliance, finalize
                                                        the SOP related to mental incapacitation
                                                        preventing a walk-through, including the
                                                        criteria for making such a determination
 Par. 127        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 128        Partial Compliance
                                                    •   To achieve Substantial Compliance,
                                                        implement plan to house IPR (and the future
                                                        accountability system) under the Community
                                                        Safety service area.
 Par. 129        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 130        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 131        Partial Compliance
                                                    •   To return to Substantial Compliance, conduct
                                                        PRBs in accordance with prior COCL and DOJ
                                                        guidance
 Par. 132        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 133        Substantial Compliance
                                                    •   No recommendations at this time


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  Paragraph           Compliance Label                         COCL Recommendations
 Par. 134        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 135        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 136        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 137        Partial Compliance
                                                    •   To return to Substantial Compliance, update
                                                        Directive 338.00, publicly post the directive,
                                                        and provide link to the Corrective Action
                                                        Guide
 Par. 138        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 139        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 140        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 169        Partial Compliance
                                                    •   To achieve Substantial Compliance, PPB
                                                        should expand their approach to conducting
                                                        objective investigations and hold officers
                                                        accountable when policy violations are found
                                                    •   To achieve Substantial Compliance, remedy
                                                        barriers to ensure a fair and consistent
                                                        accountability system

 IX. COMMUNITY ENGAGEMENT AND CREATION OF PORTLAND COMMITTEE ON
 COMMUNITY ENGAGED POLICING
 Par. 141        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 142        Substantial Compliance
                                                    •   To maintain Substantial Compliance with
                                                        Par. 142, the City should continue to
                                                        promptly respond to PCCEP’s
                                                        recommendations and the Mayor/Police
                                                        Commissioner should fulfill the requirement
                                                        to meet with Portland Committee On
                                                        Community Engaged Policing (PCCEP) “at
                                                        least twice per year”




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  Paragraph           Compliance Label                         COCL Recommendations
 Par. 143        Substantial Compliance
                                                    •   To maintain Substantial Compliance with
                                                        Par. 143, the City should continue to identify
                                                        and recruit sufficient Portland Committee On
                                                        Community Engaged Policing (PCCEP)
                                                        members to maintain a full body
                                                    •   The City, with guidance from PCCEP, should
                                                        prioritize the recruitment and retention of
                                                        youth members on PCCEP
 Par. 144        Substantial Compliance
                                                    •   To maintain Substantial Compliance,
                                                        continue adequate staffing dedicated to
                                                        supporting PCCEP
                                                    •   To maintain Substantial Compliance, post
                                                        minutes of PCCEP meetings within 10
                                                        business days after a PCCEP meeting,
                                                        including in the Documents section of
                                                        PCCEP’s website
 Par. 145        Substantial Compliance
                                                    •   Conduct a police-focused community survey
                                                        and, where possible, incorporate measures
                                                        of the quality of actual encounters with PPB
                                                        officers
 Par. 146        Substantial Compliance
                                                    •   Conduct a police-focused community survey
                                                        and, where possible, incorporate measures
                                                        of the quality of actual encounters with PPB
                                                        officers
 Par. 147        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 148        Substantial Compliance
                                                    •   Continue the dialogue with community
                                                        members around racial disparities in traffic
                                                        stops and searches
 Par. 149        Substantial Compliance
                                                    •   As part of everyday policing, the City should
                                                        introduce a contact survey to measure the
                                                        level of procedural justice and public
                                                        satisfaction with police-public interactions,



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  Paragraph           Compliance Label                         COCL Recommendations
                                                        especially interactions with constitutionally-
                                                        protected populations
 Par. 150        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 151        Substantial Compliance
                                                    •   Continue to maintain records of training for
                                                        new PCCEP members; ensure current and
                                                        future PCCEP members participate in all
                                                        required trainings and are offered a
                                                        meaningful opportunity to participate in any
                                                        optional training
 Par. 152        Substantial Compliance
                                                    •   Continue to maintain records of training for
                                                        new PCCEP members; ensure current and
                                                        future PCCEP members participate in all
                                                        required trainings and are offered a
                                                        meaningful opportunity to participate in any
                                                        optional training

 XI. ADDITIONAL REMEDIES
 Par. 188        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 189        Partial Compliance
                                                To achieve Substantial Compliance:
                                                    •   The City must respond to the IMLLC report
                                                    •   The PPB must use the IMLLC report to
                                                        prepare a training needs assessment,
                                                        training plan, and relevant crowd
                                                        management training
                                                    •   IMLLC must prepare a follow-up report that
                                                        reviews the City’s response to their original
                                                        report, including the PPB’s training needs
                                                        assessment
                                                    •   The City should prepare a detailed roadmap
                                                        for responding to IMLLC’s findings and
                                                        recommendations.




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  Paragraph           Compliance Label                         COCL Recommendations
                                                    •   The City should provide COCL with IMLLC’s
                                                        reports, the PPB’s training needs assessment
                                                        report, and training plans
 Par. 190        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 191        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 192        Partial Compliance
                                                    •   To achieve Substantial Compliance, complete
                                                        a thorough, fair, and reasonable investigation
                                                        of the command personnel associated with
                                                        the 2020 crowd control and the training they
                                                        provided
                                                    •   To achieve Substantial Compliance, hold
                                                        accountable the investigated command
                                                        personnel members as appropriate who are
                                                        found to have violated PPB policies
                                                        (including this Agreement) as described in
                                                        Par. 192
 Par. 193        Substantial Compliance
                                                    •   No recommendations at this time
 Par. 194        Partial Compliance
                                                    •   To achieve Substantial Compliance, the City
                                                        should achieve full-scale implementation of
                                                        the BWC program
 Par. 195        Partial Compliance
                                                    •   To achieve Substantial Compliance, the
                                                        City must implement a functional
                                                        oversight board that is properly staffed,
                                                        trained, operational, and able to
                                                        effectively investigate and dispose of use
                                                        of force and misconduct cases




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Community Engagement Team (CET) Report

Who are the Community Engagement Team (CET)?
The COCL Community Engagement Team (CET) is new to the COCL and is led by Dr. Steven Holt and
Janie Gullickson, who are connected to, and members of, the
Portland community. We recognize that the City of Portland is a
multiplex of nuanced communities that are each impacted by             “Our primary goal is to
policing in different ways and we have worked to facilitate                  foster open
interviews, focus groups, and listening sessions across this range of   communication, build
communities. Our primary goal is to foster open communication,            trust, and listen to
build trust, and listen to authentic and transparent feedback about   authentic and transparent
the Settlement Agreement. We engage community members from               feedback about the
diverse cultural backgrounds, a broad range of socioeconomic           Settlement  Agreement.”
status, and a variety of lived experiences. We recognize the
importance of gathering community voices that represent all facets
of the people who live and work in Portland, and where appropriate, highlight intersectionality.


What has the CET done?

The CET employs a snowball sampling approach to identify communities, gather feedback, solicit
referrals, and continue engagement. We have an established list of over 80 community groups to
engage with and, over the last several months, we have
reached out to and met with individual community members              Established community
from community-based organizations (CBOs), faith-based                groups
organizations, professional organizations, neighborhood
associations, and individuals who have a connection to, or may        Met with organizations
have personally utilized, Portland’s mental/behavioral health
(crisis) response services or shelter settings. We have met with
                                                                      Conducted in-person
25 representatives of the 80 organizations we identified,             community conversations
conducted three in-person community conversations that
brought together over 100 people, and completed several one-          Began planning for
on-one meetings with community members to begin planning              listening sessions (2024)
listening sessions regarding the City of Portland’s mental
health/behavioral health response system (planned for 2024).          Participated in two PCCEP
                                                                      town hall meetings
We have also worked as part of the COCL team to participate
in two PCCEP town hall meetings, presenting quarterly statuses on the Settlement Agreement and
COCL work. During these town halls, we have worked to clarify and explain the role of the COCL, as
established by the Settlement Agreement.



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What has the CET heard?
During our conversations with the community, we are noticing several themes. Primarily, there is
widespread interest among the community in expressing feedback on issues such as community
safety, use of force, and alternative response. For example, many community members have
consistently shared a desire for the City to better integrate mental health and law enforcement
responses, and to identify more effective community policing approaches. Many community
members expressed concern about the current police-community relationship and skepticism about
the likelihood that policing would change, despite external forces. Very few individuals we spoke with
had prior understanding of the Settlement Agreement in Portland or where to find resources about
the status of the Settlement Agreement.

What does the CET want to do in the future?
The work of the CET has only just begun, and as we are able to get on more and more community
groups’ agendas, the information we receive will only become greater and greater. It will take time
to establish the necessary relationships with community members and we will continue on that
journey. Based on the engagement we have conducted to-date, the CET is working to review what
                                        we have heard from the community and identify how we can
             Next Steps:                continue to incorporate that feedback into our approach. The
                                        community is eager to share their perspectives, learn about
      • Continue to assess what
                                        the Settlement Agreement progress, and improve policing in
          we have heard.
                                        Portland. We are taking time to continue establishing
      • Continue to establish
          relationships.                authentic relationships with community members and
      • Continue to establish           working to establish feedback loops that can keep
          feedback loops.               communities informed and connected to this work in ways
      • Continue to serve as            that are simple and with a low barrier of access. We will
          dedicated liaisons.           continue to serve as dedicated liaisons for community
                                        stakeholders, sending information to the stakeholders,
engaging with them regularly, and sharing community input with the entire COCL team. As part of
this, we will continue to attend town halls and help interested community members better
understand the reforms under the Settlement Agreement, the progress to-date, and areas where
more progress is necessary. Finally, we will continue assess what we’re learning, how we can use
that information, and, as necessary, adjust our approach to ensure we are capturing the full landscape
of community needs.




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Section III: Use of Force

A. Use of Force Policy

                                Settlement Agreement Paragraph
 66. PPB shall maintain the following principles in its existing use of force policies: (a) PPB
 shall use only the force reasonably necessary under the totality of circumstances to
 lawfully perform its duties and to resolve confrontations effectively and safely; and (b) PPB
 expects officers to develop and display, over the course of their practice of law
 enforcement, the skills and abilities that allow them to regularly resolve confrontations
 without resorting to force or the least amount of appropriate force.
 67. COCL Summary: Paragraph 67 establishes that PPB shall add several core use of force
 principles to its force policy: the use of disengagement and de-escalation techniques,
 calling in specialized units when practical, taking into account all available information
 about actual or perceived mental illness of the individual, and the appropriate de-
 escalation of force when no longer necessary. Par. 67 also indicates that the force policy
 should include mention that unreasonable uses of force shall result in corrective action
 and/or discipline. (For details and exact language, see the Settlement Agreement)


                                Par. 66 Substantial Compliance
 Compliance Label

                                Par. 67 Substantial Compliance


 Methodology                    Review force case sample



                                      Compliance Assessment
 As part of our regular review of PPB force events, we evaluated 20 cases that represent a
 randomly drawn cross section of the PPB’s use of force. This includes force from different
 categories, different precincts, and includes (but was not limited to) force involving the use
 of a CEW and/or against persons in a mental health crisis. For this quarter, we did not find
 any cases in which we believed the force was unreasonable or where members did not
 demonstrate appropriate force avoidance skills. We therefore continue to find that the PPB

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 and the City have substantially complied with the requirements though maintain our prior
 suggestion regarding the definition of de-escalation and ensuring data validity with respect
 to de-escalation reporting.


                                    •    Maintain vigilance in reviewing how de-escalation is
 COCL
                                         defined to ensure that the data surrounding de-
 Recommendations
                                         escalation does not suffer from validity issues


 Assessment Based On            COCL review of force sample


1. Electronic Control Weapons

                                Settlement Agreement Paragraph
 68. COCL Summary: PPB shall revise PPB Directive 1051.00 regarding Taser, Less-Lethal
 Weapons System to include several core principles: Electronic Control Weapons (ECWs)
 will not be used for pain compliance against those suffering from mental illness or
 emotional crisis except in rare circumstances; officers shall issue verbal warnings or hand
 signals (if communication barriers exist); conventional standards for using ECW should be
 followed (e.g., one ECW at a time, re-evaluation; attempt hand-cuffing between cycles).
 Officers shall describe and justify their use of ECW in their Force Report and receive annual
 training in ECW use. (For details and exact language, see the Settlement Agreement.)


 Compliance Label            Substantial Compliance


 Methodology                 Review force case sample



                                        Compliance Assessment
 Based on our review of four PPB force events involving CEWs, we find that PPB officers
 continue to use CEWs in accordance with Par. 68. For this quarter, we reviewed a total of
 four force events involving an officer’s use of a CEW, which represented one-third of the
 CW events in the quarter and included two of the three events where a CEW was used on
 a person in mental health crisis. In each case, we found the use of CEW to be reasonable,
 and no cases involved the use of CEW for pain compliance or involved more than one CEW


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 used at a time. For each of the CEW force events, officers were able to place the subject in
 custody without having to resort to a higher level of force. As a result, we continue to find
 Substantial Compliance with the requirements of this paragraph.
 In our last compliance assessment, we reported two instances in recent quarters in which
 members had failed to spark test their CEW prior to going on shift, as required by PPB
 policy. As part of conducting their 2023 weapons qualifications, PPB included a module on
 CEWs, ensuring that members could demonstrate familiarity with spark testing and
 informing them of their responsibilities. This is consistent with our prior suggestion and
 we therefore consider the matter resolved at this time.


 COCL
                                 •   No recommendations at this time
 Recommendations


 Assessment Based
                             COCL review of CEW cases
 On


2. Use of Force Reporting Policy and Use of Force Report

                                Settlement Agreement Paragraph
 69. PPB shall revise its policies related to use of force reporting, as necessary, to require
 that: (a) All PPB officers that use force, including supervisory officers, draft timely use of
 force reports that include sufficient information to facilitate a thorough review of the
 incident in question by supervisory officers; (b) All officers involved or witnesses to a use
 of force provide a full and candid account to supervisors; (c) In case of an officer involved
 shooting resulting in death, use of lethal force, or an in-custody death, PPB will fulfill its
 reporting and review requirements as specified in directive 1010.10, as revised. This will
 take place of Directive 940.00 reports for the purposes of paragraphs 70, and 72-77 of this
 Agreement.


 Compliance Label            Partial Compliance


 Methodology                 Review force case sample


                                      Compliance Assessment



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 In our review of cases for this quarter, we found that all Force Data Collection and Review
 (FDCRs) reviewed contained sufficient information to allow a supervisor to conduct a full
 investigation of the event. Overall, we continue to be impressed with the level of detail
 officers provide in their reports, which allows supervisors to gain a clear picture of an
 event (although we await Bureau-wide implementation of BWCs that will provide
 additional information to supervisors).
 However, we continue to find Partial Compliance with this paragraph as a result of a lack
 of clarity in PPB’s description of Control Against Resistance, which impacts how force is
 reported, investigated, and analyzed. For instance, in this quarter, we identified one case
 wherein a Control Against Resistance was not reported initially by the officer, and the
 reviewing sergeant did not identify the oversight. Although PPB’s system of force review
 (see Pars. 70, 73, and 77) led to the oversight being identified during the chain-of-
 command review, the event continues a trend of inconsistent understanding of when a
 Control Against Resistance occurs.
 Although the cases we have reviewed in this and prior quarters have largely indicated
 inconsistencies in Control Against Resistance, we note that underlying causes apply to
 other Category IV force types such as Resisted Handcuffing. We also note from the
 beginning that there is no evidence that such inconsistency is an attempt to avoid reporting
 force by PPB members. Rather, the inconsistency appears to lead to both under-reporting
 as well as over-reporting (for instance, we reviewed one case this quarter where an officer
 reported a Resisted Handcuffing that was later deemed not to meet the criteria for force).
 Instead, the inconsistent reporting appears largely the result of two elements, the first of
 which is how force types such as Control Against Resistance and Resisted Handcuffing are
 defined within PPB’s current policies or, more accurately, how they are not defined. PPB
 Directives 1010.00 and 910.00 state “control holds and handcuffing without resistance do
 not constitute force,” though this does not actually define the force types and instead
 defines what force is not. This does not provide affirmative guidance to officers and may
 lead to different interpretations.
 This leads us to the second contributing factor for inconsistent reporting, which is the
 unique approach to how force is defined within PPB. As a result of the Settlement
 Agreement, the PPB defines force in a manner that goes above and beyond the large
 majority of police departments across the country, which do not include force types like
 Control Against Resistance and Resisted Handcuffing as reportable force types at all. PPB
 is therefore in a position of attempting to define something without the benefit of sufficient
 reference policies to inform the process. Thus, although we maintain that PPB’s lack of
 definition is problematic, we recognize there are few “best practices” in defining these
 types of events to draw from.


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 Although we recognize PPB’s position in attempting to define these force types, we also
 recognize that the City and DOJ have agreed that these types of activities do constitute
 reportable force. Consistent with the COCL’s history of “calling balls and strikes,” our
 statements of compliance and associated recommendations merely reflect these
 agreements, without commentary on their commonality in the broader criminal justice
 field. Consequently, the inconsistent reporting of these force events must be resolved and
 we continue to recommend that the PPB review their policies and training to identify
 opportunities for providing greater clarity with respect to these force types. To their credit,
 we note that PPB has already taken some steps toward doing so. For instance, the Force
 Inspector spoke with several agencies at national training, including several agencies from
 Florida that include similar force types and which may provide definitional guidance. In
 addition, the PPB included this issue in their 2023 Training Needs Assessment report as a
 training to be determined. However, in keeping with recommendations we have made
 since our 2023 Q1 report, we will need to actually see PPB evaluate policy and training to
 identify opportunities for clarifying Control Against Resistance in order to return to
 Substantial Compliance.


                                 •   To return to Substantial Compliance, evaluate Directives
                                     1010.00 and 910.00, evaluate current training, and
                                     identify opportunities to clarify when officers should be
 COCL                                reporting Control Against Resistance
 Recommendations
                                 •   Upon issuing such clarification, take corrective action on
                                     members who fail to report Control Against Resistance
                                     and supervisors who fail to correct the issue


 Assessment Based
                             COCL review of force cases
 On



3. Use of Force Supervisory Investigations and Reports

                                Settlement Agreement Paragraph
 70. COCL Summary: Paragraph 70 states, “PPB shall continue enforcement of Directive
 940.00, which requires supervisors who receive notification of a force event to respond to
 the scene, conduct an administrative review and investigation of the use of force, document
 their findings in an After Action Report and forward their report through the chain of


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 command.” Paragraph 70 continues on to describe what is required of supervisory officers
 when a use of force event occurs, including timeframes for After Action Reports,
 notification requirements of serious use of force, force against individuals with mental
 illness, suspected misconduct, procuring medical attention, and officer interviews (For
 details and exact language, see the Settlement Agreement.).


 Compliance Label            Substantial Compliance


 Methodology                 Review of force cases


                                      Compliance Assessment
 In our review of 20 use of force cases, we found for the second straight quarter that all
 supervisory investigations were thorough and addressed areas identified for
 improvement during the force event. Overall, the AAR sample we reviewed for this quarter
 demonstrated supervisors’ ability to review force events using a critical eye. In particular,
 we reviewed cases to ensure that supervisors “determined[d] whether additional training
 or counseling [was] warranted [and]…provide[d] such counseling or training consistent
 with this Agreement” (Par. 70(b)) as our prior concerns have mainly pertained to this
 subsection. For the past two quarters, we have seen consistent instances of supervisors
 identifying opportunities for improvement during use of force events, documenting their
 findings, and providing correction to officers where appropriate. Additionally, for the past
 two quarters, we have not identified any instances where significant opportunities for
 correction were missed by supervisors in the chain-of-command. As a result of PPB’s
 “consistent and verified performance” in this regard (Par. 33), we now find the PPB has
 achieved Substantial Compliance with the requirements of Par. 70.


 COCL
                                 •   No recommendations at this time
 Recommendations


 Assessment Based
                             COCL review of force cases
 On




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                                Settlement Agreement Paragraph
 71. PPB shall maintain adequate patrol supervision staffing, which at a minimum, means
 that PPB and the City shall maintain its current sergeant staffing level, including the
 September 2012 addition of 15 sergeants.


 Compliance Label            Substantial Compliance


 Methodology                 Review rate of officers to supervisors


                                      Compliance Assessment
 The PPB has maintained an adequate patrol supervision staffing level in accordance with
 Paragraph 71, thus remaining in Substantial Compliance. As noted in prior reports, the rate
 of officers to sergeants is a better metric than the raw number of sergeants. In the third
 quarter of 2023, the PPB reported a staffing ratio of 4.9 officers for every sergeant
 (including acting sergeants) across the three precincts, which remains consistent with the
 ratio from the second quarter. We continue to find this a reasonable ratio and therefore
 continue to find Substantial Compliance.


                         Figure 1. Officers to Sergeant Ratio Q2 2021 - Q3 2023




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 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             COCL review of ratio of officers to sergeants
 On




                                Settlement Agreement Paragraph
 72. PPB shall develop a supervisor investigation checklist to ensure that supervisors
 carry out these force investigation responsibilities. PPB shall review and revise the
 adequacy of this checklist regularly, at least annually.


 Compliance Label            Substantial Compliance


 Methodology                 Review current AAR form


                                      Compliance Assessment
 Presently, the AAR form serves as the checklist of supervisor responsibilities during use
 of force investigations. Additionally, with respect to Par. 72’s requirement to review and
 revise the form regularly, this requirement continues to be memorialized in Directive
 910 (Use of Force Reporting, Review, and Investigation) under Section 5.2, identifying the
 Force Inspector (or Chief’s designee) as the individual responsible for conducting the
 review. As part of the Force Inspector’s ongoing audit responsibilities, the ”adequacy and
 relevance” (Directive 910.00) of the form is constantly being appraised, meeting Par. 72’s
 requirement. Therefore, we find that the PPB has remained in Substantial Compliance
 with the requirements of Paragraph 72.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             COCL review of AAR form
 On




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                                     Settlement Agreement Paragraph
 73. COCL Summary: Paragraph 73 directs PPB to revise its policies concerning chain of
 command reviews of After Action Reports (940s) to ensure that the reviews are accurate
 and thorough; that all comments are recorded in the EIS tracking system; that supervisors
 in the chain are held accountable for inadequate reports and analysis through corrective
 action (including training, demotion and/or removable from their supervisory position);
 and that when use of force is found to be outside of policy, that it be reported and
 appropriate corrective action be taken with the officer and the investigation itself (For
 details and exact language, see the Settlement Agreement).


 Compliance Label                 Substantial Compliance


 Methodology                      Review force case sample


                                            Compliance Assessment
 Consistent with our assessment of Paragraph 70, we found that all use of force events for
 this quarter were thoroughly investigated and reviewed by the entire chain of command.
 In particular, we reviewed cases with an eye towards subsections (b) 1, (c) 2, and (f) 3 of Par.
 73 as our prior compliance concerns mainly pertained to these subsections. For the second
 straight quarter, we found the entire chain-of-command ensured accurate and complete
 AARs, regularly identified policy, training, tactical, or equipment concerns, and raised
 these concerns to the Force Inspector for resolution. As a result of PPB’s “consistent and
 verified performance” in this regard (see Paragraph 33), we now find the PPB has achieved
 Substantial Compliance with the requirements of Par. 73.


 COCL
                                       •    No recommendations at this time
 Recommendations




1 Paragraph 73 (b): “All supervisors in the chain of command are subject to and receive corrective action or discipline for

the accuracy and completeness of After Action Reports completed by supervisors under their command.”
2 Paragraph 73 (c): “All supervisors in the chain of command are accountable for inadequate reports and analysis.”

3 Paragraph 73 (f): “Where the use of force indicates policy, training, tactical, or equipment concerns, the immediate

supervisor shall notify the Inspector and the Chief, who shall ensure that PPB timely conducts necessary training and that
PPB timely resolves policy, tactical, or equipment concerns.”


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 Assessment Based
                             COCL review of force cases
 On



B. Compliance Audits Related to Use of Force

                                Settlement Agreement Paragraph
 74. COCL Summary: Paragraph 74 states that “In consultation with the COCL, the Inspector,
 as part of PPB’s quarterly review of force, will audit force reports and Directive 940.00
 Investigation Reports” and will do this to ensure that the officer’s force report is complete
 and accurate and that the officer’s actions in the field are in line with PPB policy. The audit
 of force reports seeks to ensure that force is used in a way that is lawful and appropriate
 to the circumstances; that de-escalation is used appropriately; that ECW is used
 appropriately and within policy; and that specialty units and medical care are called in
 appropriately. In terms of force reporting, the audit seeks to ensure that reports are
 submitted in a timely manner; that they include detailed information about the event, the
 decision to use force, the type of force used, any subject resistance and any injuries to the
 parties; that the report includes the mental health status of the subject of force,
 documentation of witnesses and contact information, and other details as required by the
 Settlement. There should be sufficient information in the report to allow supervisors to
 evaluate the quality of the officer’s decision-making regarding the use of force. (For details
 and exact language, see the Settlement Agreement.)
 75. COCL Summary: Paragraph 75 states that, “In consultation with the COCL, the Inspector
 shall audit force reports and Directive 940.00 investigations” to determine whether
 supervisors consistently engage in a variety of behaviors when reviewing use of force
 reports and supervising their employees. Specifically, the Settlement requires that
 supervisors complete an After Action Report within 72 hours of being notified of the
 incident; To perform well at this task, supervisors would need to review all use of force
 reports for completeness, determine whether the officer’s actions are consistent with PPB
 policy, the Settlement Agreement and best practices; and take all appropriate actions as a
 supervisor, including determining any training or counseling needs for the officer; taking
 corrective action on omissions or inaccuracies in the force report; notifying appropriate
 authorities when criminal conduct is suspected; and documenting all of the above-named
 actions. (For details and exact language, see the Settlement Agreement.)
 77. COCL Summary: “In consultation with the COCL, the Inspector shall audit the adequacy
 of chain of command reviews of After Action Reports.” This type of audit by the Inspector
 will ensure that supervisors at all levels in the chain of command are conscientiously


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 reviewing all AARs (940s) using the appropriate legal and administrative performance
 standards, and taking appropriate action. The reviewers of AARs should be assessing the
 completeness of reports and evaluating the findings using a “preponderance of the
 evidence” standard. Where appropriate, reviewers should modify findings that do not
 seem justified, speak with the original investigator, order additional investigations,
 identify any deficiencies in training, policy or tactics, ensure that supervisors discuss poor
 tactics with the officer involved, and document the above in EIS. (For details and exact
 language, see the Settlement Agreement.)


                             Par. 74 Substantial Compliance


 Compliance Label            Par. 75 Substantial Compliance


                             Par. 77 Substantial Compliance


                             Review quarterly Force Audit Report; Review Force Inspector
 Methodology
                             memos; Review Force Inspector Phase II spreadsheet

                                      Compliance Assessment
 On a quarterly basis, the PPB conducts the audits of force events required by Paragraphs
 74, 75, and 77. As with prior quarters, PPB officers (through FDCRs) and PPB supervisors
 (through AARs) continue to demonstrate approximately 99 percent accuracy in their
 reporting, based on the audits. Additionally, combined with our assessments of Pars. 70
 and 73, we have now seen consistent efforts by supervisors, chain-of-command reviewers,
 and (as required by Par. 77) the Force Inspector to conduct thorough and critical
 evaluations of use of force events, and where issues are identified, take corrective action.
 Particularly as it relates to the Force Inspector’s responsibility to identify policy, training,
 and tactical concerns, we continued to see evidence that such concerns are being identified
 and resolved through formal feedback channels. For instance, during this quarter, the
 Force Inspector identified provided feedback on several topics, including CEWs, box-ins
 and rams, member use of profanity, supervisor investigations, and more. The feedback
 was sent to those most appropriate to address the feedback, including PPB’s policy teams,
 Training Division, and Precinct commanders.




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 Consistent with Pars. 74, 75, and 77, the PPB conducts extremely thorough reviews of force
 events. The audits conducted by PPB routinely find that FDCRs and AARs are accurately
 completed, that force investigations are systematically performed, and that opportunities
 for member development and improving force reduction strategies are taken advantage
 of. In addition, we have now seen successive quarters where all criteria of these
 paragraphs have been met, including Par. 77(b) 4, (e) 5, and (g) 6 which we identified in our
 last report as the remaining subsections to be achieved. This now satisfies the COCL’s need
 to observe consistent and verified performance of Pars. 74, 75, and 77 and, accordingly, we
 now find Substantial Compliance with these paragraphs.


 COCL
                                       •    No recommendations at this time
 Recommendations


 Assessment Based
                                   Review of Force Audit Report; Review of feedback forms
 On



                                      Settlement Agreement Paragraph
 76. In consultation with the COCL, the Inspector shall conduct a quarterly analysis of force
 data and supervisors’ Directive 940.00 reports designed to: (a) Determine if significant
 trends exist; (b) Determine if there is variation in force practice away from PPB policy in
 any unit; (c) Determine if any officer, PPB unit, or group of officers is using force differently
 or at a different rate than others, determine the reason for any difference and correct or
 duplicate elsewhere, as appropriate; (d) Identify and correct deficiencies revealed by the
 analysis; and (e) Document the Inspector’s findings in an annual public report.


 Compliance Label                  Partial Compliance




4 Paragraph 77 (b): “Review Directive 940.00 reports to ensure completeness and order additional investigation, when

necessary.”
5 Paragraph 77 (e): “Document any training deficiencies, policy deficiencies, or poor tactical decisions, ensure a

supervisor discusses poor tactical decisions with the officer and ensure the discussion is documented in EIS.”
6 Paragraph 77 (g): Reports a matter to PSD for review and investigation whenever an investigating supervisor, shift

commander or precinct commander finds evidence of apparent misconduct by a PPB officer or employee.”


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                                   Reviewed quarterly Force Reports; Reviewed SOP #5; Meetings
 Methodology
                                   with Force Inspector and other PPB personnel

                                             Compliance Assessment
 For each of the subsections of Paragraph 76, the PPB possesses a tool or process to achieve
 Substantial Compliance. For instance, in addressing subsection (a), the PPB continues to
 produce quarterly and annual force reports including several important data points and
 comparisons to prior quarters. Subsection (a) is also addressed, in part, through the Phase
 II review wherein the Force Inspector identifies organizational trends. For subsections (b)
 and (c), the Force Inspector reviews the findings of a comparative analysis of each officer,
 unit, and group (as defined by common days off), identifying differences and discussing
 the analysis with each patrol Responsibility Unit (RU) Manager. For subsection (d), the
 Force Inspector either provides a memo to the RU Manager or creates a manual EIS alert
 (see also Paragraph 117). Finally, for subsection (e), the Force Inspector memorializes the
 findings of the reviews in annual reports, including the Annual Force Summary Report and
 Annual Force Audit Summary Report.
 Although we find PPB continues to possess the tools and processes for achieving
 Substantial Compliance with Par. 76, we continue to find for this quarter that the PPB is in
 Partial Compliance with this paragraph. This is primarily related past concerns related to
 subsection (c) (“determine if any officer, PPB unit, or group of officers is using force
 differently or at a different rate than others, determine the reason for any difference and
 correct or duplicate elsewhere, as appropriate”). However, during the third quarter (as
 well as into the fourth quarter), we were able to review more thoroughly PPB SOP #5
 (Force Analysis for Supervisors and Teams) and subsequently held meetings with the
 Force Inspector to gain greater clarity as to how outlying officers are being identified and
 addressed prior to his meeting with precinct commanders. We will therefore provide
 additional updates in our next report. Going forward, we will need to see “consistent and
 verified performance” (Par. 33) in executing the methodology found in SOP #5, though we
 find PPB’s recent efforts to be responsive to long-standing recommendations for achieving
 substantial compliance with this paragraph.
 Finally, similar to prior reports, we maintain our desire to provide context for PPB’s use of
 force events. PPB continued to use an overall low raw number of force, with the plurality
 of force events involving Category IV uses of force 7 as the highest category of force within
 the event. Therefore, when hearing the term “use of force,” it would be a mistake for



7 Category IV force includes resisted handcuffing, control against resistance, hobble restraint, pointing of a firearm,

firearm–hurt animal, or box-in


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 community members to automatically picture PPB members using tasers, striking
 individuals, or otherwise taking physical measures likely to result in injury, rather than
 reduce the potential for injury. For instance, during this quarter, we reviewed two FDCRs
 for an event wherein a community member was involved in a serious car accident,
 resulting in head trauma. In responding to the scene, the community member was
 confused and disoriented and was resisting AMR personnel’s efforts to strap him onto a
 gurney in order to get him medical attention. PPB officers, recognizing the need to get the
 man to the hospital, assisted AMR personnel in holding the disoriented man down so AMR
 could get him strapped in. This individual, who by all accounts was subjected to force for
 their own benefit, accounted for 1.4 percent of individuals who had Category IV force used
 against them during the third quarter. We report this not to detract from other, more
 serious use of force events but rather to provide greater insights into the universe of PPB’s
 force numbers and how the Bureau operationalizes the concept of “force” overall.

                                 •    To achieve Substantial Compliance, maintain
 COCL                                 communication with COCL regarding the application of
 Recommendations                      SOP #5 to ensure consistent and verified performance as
                                      required by the Settlement Agreement

                             COCL review of quarterly Force Data Summary Reports; COCL
 Assessment Based
                             review of PPB data; meetings with Force Inspector and other
 On
                             PPB personnel




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Section IV: Training

                                Settlement Agreement Paragraph
 78. All aspects of PPB training shall reflect and instill agency expectations that officers are
 committed to the constitutional rights of the individuals who have or are perceived to have
 mental illness whom they encounter and employ strategies to build community
 partnerships to effectively increase public trust and safety. To achieve these outcomes,
 PPB shall implement the requirements below.


 Compliance Label            Substantial Compliance


                             This is a summative judgment that is contingent upon satisfying
 Methodology
                             all paragraphs in Section IV


                                      Compliance Assessment
 Substantial Compliance with Par. 78 requires the PPB to “implement the requirements
 below.” Because this is a summative paragraph, compliance is assessed in terms of the
 achievement of all requirements of the Settlement Agreement pertaining to Section IV,
 Training. During the third quarter of 2023, the PPB achieved Substantial Compliance with
 all paragraphs in Section IV and we therefore similarly now find Substantial Compliance
 with Par. 78.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based            Summative and contingent upon satisfying all paragraphs of
 On                          Section IV, based on the methods identified for each




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A. Assess Training Needs

                                Settlement Agreement Paragraph
 79. The Training Division shall review and update PPB’s training plan annually. To inform
 these revisions, the Training Division shall conduct a needs assessment and modify this
 assessment annually, taking into consideration: (a) trends in hazards officers are
 encountering in performing their duties; (b) analysis of officer safety issues; (c)
 misconduct complaints; (d) problematic uses of force; (e) input from members at all levels
 of PPB; (f) input from the community; (g) concerns reflected in court decisions; (h)
 research reflecting best practices; (i) the latest in law enforcement trends; (j) individual
 precinct needs; and (k) any changes to Oregon or federal law or PPB policy.


 Compliance Label            Substantial Compliance


                             Interviewed PPB staff; Reviewed 2023 Annual Training Needs
 Methodology                 Assessment; Reviewed 2023 Training Needs Assessment: Law
                             Enforcement Response to Mass Demonstrations


                                      Compliance Assessment
 In the third quarter of 2023, the Training Division provided two reports: (1) 2023 Annual
 Training Needs Assessment and (2) 2023 Training Needs Assessment: Law Enforcement
 Repose to Mass Demonstrations. We find that these two documents collectively continue
 to be responsive to the requirements of the Settlement Agreement and build upon the
 minimum requirements of Par. 79. For instance, in reviewing the 2023 Annual Training
 Needs Assessment, the PPB continued to rely on a wide range of sources to inform the
 needs assessment, including:
         “Independent Police Review reports, use of force data, officer injury data, DOJ
         and COCL recommendations, the Training Advisory Council, the Behavioral
         Health Unit and related community advisory committee, Oregon and federal
         court cases, Portland Police Bureau’s (PPB) Force Analysis Summary Reports,
         training evaluation and learning assessment findings, information from
         national conferences, Internal Affairs data, pursuit data, police and
         community survey data, national literature on law enforcement training; and
         discussions with Bureau managers, City Attorneys, DOJ coordinators, Injury
         Liaison Program management, Independent Police Review staff, Policy

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         Analysts, Internal Affairs staff, and Training Division management and lead
         instructors.”
 The PPB then used these sources to identify potential training needs in 19 areas, including
 areas related to use of force, trends in misconduct reports, crowd management, control
 tactics, patrol procedures, and COCL and DOJ recommendations for complying with the
 Settlement Agreement (among other topics). Some trends identified by the needs
 assessment included sustained reductions in community complaints, greater community
 desire for proactive policing and more follow-up to calls and reports by officers, shooting
 at moving vehicles, distinguishing box-ins and ramming, and extracting uncooperative
 drivers/passengers from vehicles. Several of these trends reflect findings of the COCL and
 DOJ as well and we look forward to observing how the needs are incorporated into future
 training through the variety of approaches PPB uses, including roll-call training, Tips and
 Techniques documents, video or virtual training, or direct supervisor discussions. Given
 PPB’s efforts in identifying training needs in accordance with Par. 79, we continue to find
 they have maintained Substantial Compliance with this paragraph though maintain our
 suggestion for closing the gap between identified needs and training plans by using the
 range of training delivery options available to PPB.


 COCL                            •    Reduce the gap between the needs assessment and
 Recommendations                      training plan through other modes of training


 Assessment Based            Review of the PPB’s internal training documents and interviews
 On                          with PPB personnel



B. Evaluate Training

                                Settlement Agreement Paragraph
 80. Within 180 days of the Effective Date, PPB shall develop and implement a process that
 provides for the collection, analysis, and review of data regarding the effectiveness of
 training for the purpose of improving future instruction, course quality, and curriculum.
 These evaluations shall measure and document student satisfaction with the training
 received; student learning as a result of training; and the extent to which program
 graduates are applying the knowledge and skills acquired in training to their jobs. This
 audit shall be reported to the Training Division Manager and shall include student
 evaluations of the program and the instructor.


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 Compliance Label            Substantial Compliance


                             Interviewed PPB staff and reviewed internal training
                             documents; Assessed the methods of evaluation, content, and
 Methodology
                             the presence of a complete evaluation system with feedback
                             loops

                                       Compliance Assessment
 During the third quarter of 2023, the Training Division provided an evaluation report on
 their 2022 Enhanced Crisis Intervention Training, The report gathers feedback from 20
 PPB members who received ECIT training in 2022, including immediate feedback (i.e.,
 upon completion of training modules) as well as a follow-up survey conducted four (4)
 months post-training. The report continues to depict positive reaction to the PPB’s ECIT
 training, finding modules to be informative and relevant to members’ ECIT job
 responsibilities. In addition, the report notes improvements in some areas compared with
 prior reports. For instance, the authors noted that 70 percent of respondents agreed or
 strongly agreed with the statement that most officers understand the role of ECIT officers
 and what services they provide, compared with 51 percent agreement with this item in
 2020 (though the report continues to find that there is room for further clarification in this
 regard). Furthermore, the report evaluates on-the-street outcome measures to determine
 operational impacts, finding that the ECIT program overall is accomplishing its intended
 objectives. Overall, the report demonstrates and ongoing dedication to evaluating the
 impact of ECIT training and identifying potential areas for improvement.
 Aside from the ECIT training evaluation, the documents and evidence provided by PPB
 continue to demonstrate a comprehensive evaluation process for training overall. For this
 quarter, we were provided evaluation material pertaining to Advanced Academy, in-
 service, supervisor’s in-service, an ABLE scenario, BWCs, and online training. We therefore
 find that the PPB continues to operate a robust training evaluation program.
 The COCL continues to suggest the incorporation of a contact survey to measure on-the-
 job performance of critical training objectives, such as procedurally just behaviors by
 officers. We maintain that data generated from a contact survey program, along with data
 from the new BWC program, would help ensure equitable treatment for all groups and lead
 to important changes in training, coaching, and supervision. Absent a contact survey
 (which remains a more reliable way to gather perceptions of police interactions), we
 suggest that the PPB and City, at the least, complete an updated citywide survey to



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 determine whether findings from prior citywide surveys have held steady and whether the
 data indicate areas for improvement.


 COCL                            •    Enhance evaluation efforts to better capture on-the-
 Recommendations                      street behavior through surveys and BWC review


                             COCL review of training evaluation tools, quality of data, and
 Assessment Based On
                             systems of reporting and feedback



C. Document Training Delivered and Received

                                Settlement Agreement Paragraph
 81. PPB shall ensure that the Training Division is electronically tracking, maintaining, and
 reporting complete and accurate records of current curricula, lesson plans, training
 delivered, attendance records, and other training material in a central, commonly
 accessible, and organized file system. Each officer’s immediate supervisor shall review the
 database for the officers under his/her command at least semi-annually.


 Compliance Label            Substantial Compliance


 Methodology                 Reviewed LMS records for the third quarter of 2023



                                      Compliance Assessment
 The Training Division continues to use the Cornerstone LMS to record officer training and
 provide a range of online trainings. LMS attendance records include all in-person (such as
 in-service training) and online trainings completed by PPB members. In the third quarter
 of 2023, online trainings included training on eight directives, four City Attorney’s Office
 Legal Update modules, one Tips and Techniques training related to BWCs, a training
 related to Portland Community Justice Partnership and Restorative Justice Referrals, and
 a training related to the use of video evidence when investigating force. In addition, the
 PPB has maintained its process for ensuring compliance with Oregon training standards,
 including through the use of reminder emails, noncompliance memos to the Chief’s office,


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 and supervised completion of training. Supervisors also review the database during
 officers’ annual performance review as well as when any transfer occurs (e.g., when an
 officer transfers to a new supervisor or a supervisor transfers to a new unit or precinct).
 Additionally during Q3, the PPB implemented SOP 10-10 (Skills Certification Tracking With
 LMS) which creates a centralized database that contains certification records for specialty
 assignments (e.g., ECIT or AR-15 certification). The need for such a database was
 discovered during an audit of the Training Division conducted by the Office of Inspector
 General (OIG) and the Training Division’s responsiveness to the identified deficiency
 demonstrates the type of self-evaluation and remediation process that the Settlement
 Agreement intended to foster within PPB. As a result, we find that the PPB has returned to
 Substantial Compliance with the requirements of this paragraph.


 COCL
                                 •   No recommendations at this time
 Recommendations




                                Settlement Agreement Paragraph
 82. PPB shall report training delivered and received semi-annually to the Assistant Chief
 of Operations and, during the pendency of this Agreement, to DOJ.


 Compliance Label            Substantial Compliance


 Methodology                 Review Semi-Annual Training Reports



                                      Compliance Assessment
 In July, the PPB provided two reports on training received during the first and second
 quarters of 2023, including internal trainings and external trainings attended by PPB
 members. These reports were provided to the Deputy Chief and Assistant Chief of
 Operations in accordance with the requirements of this paragraph. We therefore continue
 to find Substantial Compliance with the requirements of Par. 82.




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 COCL
                                 •    No recommendations at this time
 Recommendations



 Assessment Based On Delivery and content of Semi-Annual Training Reports



D. Trainer Qualifications

                                Settlement Agreement Paragraph

 83. PPB shall institute guidelines to govern its selection of officers that serve as trainers
 and shall ensure that those officers do not have a history of using excessive force. The
 trainer selection guidelines shall prohibit the selection of officers who have been subject
 to disciplinary action based upon the use of force or mistreatment of people with mental
 illness within the three (3) preceding years, or twice in the preceding five (5) years and
 will take into account if a civil judgment has been rendered against the City in the last five
 (5) years based on the officer’s use of force.


 Compliance Label            Substantial Compliance


                             Reviewed “Work History Review Sheet” for Q3 hires and
 Methodology
                             ensured that the PPB is following SOP #1-19 standards


                                      Compliance Assessment
 During the third quarter of 2023, we reviewed the Work History Review Sheet for one
 officer who was assigned to the Training Division pursuant to the process found in SOP
 #1-19. For the officer, the PPB found no evidence of civil judgments, discipline, or
 mistreatment of people with mental illness as defined in Paragraph 83. We therefore
 continue to find Substantial Compliance with the requirements of this paragraph.


 COCL
                                  •   No recommendations at this time
 Recommendations



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 Assessment Based            COCL review of “Work History Review Sheet” and SOP. #1-19
 On                          standards



E. Deliver Appropriate and High-Quality Training

                                Settlement Agreement Paragraph
 84. (COCL Summary) Paragraph 84 describes the content and delivery of training that is
 expected for patrol officers and supervisors. PPB is expected to develop and implement a
 high-quality system of training that is consistent with PPB’s policies as well as federal and
 state laws, and must cover specific topics, including use of force, de-escalation techniques,
 procuring medical care, proactive problem solving, civil and criminal liability, and positive
 communication skills. PPB training is also required to give particular attention to police
 responses to individuals who have, or are perceived to have, mental illness. PPB’s training
 of officers must include “role playing scenarios and interactive exercises that illustrate
 proper use of force decision making” as well as peer intervention. In addition to all sworn
 personnel, paragraph 84 requires supervisor training, including conducting use of force
 investigations, evaluation of officer performance, and positive career
 development/disciplinary actions.


 Compliance Label            Substantial Compliance


                             Reviewed lesson plans and training materials; Observed training
 Methodology
                             in-person


                                      Compliance Assessment
 During the third quarter of 2023, the PPB began delivering their Fall in-service courses
 which included modules on equity, mental health, crime scene management, active
 bystander for law enforcement (ABLE), body-worn camera policy, legal updates and
 firearms/use of force. Prior to PPB delivering the training, the COCL team had the
 opportunity to review course curriculums and provide comments, though we found the
 training to be overall consistent with the requirements of Par. 84. Additionally, during the
 third quarter, several members of the COCL team observed training provided as part of the
 body-worn camera pilot (see our assessment of Par. 194). Finally, during the third quarter,


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 the COCL team provided comments and feedback on a supervisor’s in-service training,
 though this training was not delivered until the fourth quarter. Overall, the COCL team
 continues to believe that training is developed in accordance with the need to provide
 members refresher information on their specific responsibilities. As such, we continue to
 find Substantial Compliance with the requirements of this paragraph though maintain our
 ongoing suggestions for maintaining and expanding efforts to further include concepts
 related procedural justice and legitimacy.


                                 •    Maintain and, where needed, expand efforts to further
 COCL
                                      include concepts related to procedural justice and
 Recommendations
                                      legitimacy


                             COCL’s observation/assessment of training content, delivery,
 Assessment Based
                             and consistency with adult-learning principles and best
 On
                             practices; processes described by PPB personnel



F. Audit the Training Program

                                Settlement Agreement Paragraph
 85. In consultation with the COCL, the Inspector shall audit the training program using the
 following performance standards to ensure that PPB does the following: (a) Conducts a
 comprehensive needs assessment annually; (b) Creates a Training Strategic Plan annually;
 (c) Within 180 days of the Effective Date, develops and implements a process for
 evaluation of the effectiveness of training; (d) Maintains accurate records of Training
 delivered, including substance and attendance; (e) Makes Training Records accessible to
 the Director of Services, Assistant Chief of Operations, and DOJ; (f) Trains Officers,
 Supervisors, and Commanders on areas specific to their responsibilities; and (g) Ensures
 that sworn PPB members are provided a copy of all PPB directives and policies issues
 pursuant to this Agreement, and sign a statement acknowledging that they have received,
 read, and had an opportunity to ask questions about the directives and/or policies, within
 30 days of the release of the policy.


 Compliance Label            Substantial Compliance




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 Methodology
                             Review of audit report for accuracy and completeness



                                      Compliance Assessment
 The OIG completed a comprehensive audit of PPB’s training program on December 30,
 2022, thereby demonstrating that the Bureau has a system in place that complies with the
 basic requirements of Paragraph 85. We therefore continue to find Substantial Compliance
 with the requirements of this paragraph. However, we maintain our suggestions for future
 audits and overall Training Division operations.


                                 •    The next audit of the Training Division should give
                                      special attention to civilianization, including the level of
                                      support for the Director of Education and instructor
                                      development classes
                                 •    A future audit should give attention to the content of in-
                                      person training for officers and supervisors, with
 COCL                                 particular attention to the quality of instruction on
 Recommendations                      equity, procedural justice, and de-escalation
                                 •    In terms of a training needs assessment, the community
                                      should play a bigger role in setting training priorities
                                      because it is the recipient of police services
                                 •    Given the critical importance of training in police reform,
                                      the City and PPB should invest more in Training Division
                                      personnel so more instruction can be delivered


                             COCL’s review of the audit report based on identified needs of
 Assessment Based
                             the Training Division, auditing standards, and the timeline for
 On
                             completion of the audit



G. Analyze and Report Force Data

                                Settlement Agreement Paragraph



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 86. In consultation with the COCL, the Inspector shall gather and present data and analysis
 on a quarterly basis regarding patterns and trends in officers’ uses of force to the Chief, the
 PPB Training Division, and to the Training Advisory Council. The Training Division and
 Training Advisory Council shall make recommendations to the Chief regarding proposed
 changes in policy, training, and/or evaluations based on the data presented. The Inspector
 shall also, in coordination with the COCL and PSD, identify problematic use of force
 patterns and training deficiencies. The Chief’s Office shall assess all use of force patterns
 identified by the Training Division and/or Training Advisory Council and timely
 implement necessary remedial training to address deficiencies so identified.


 Compliance Label            Substantial Compliance


                             Reviewed TAC meeting agenda and minutes; Reviewed TAC
 Methodology
                             reports and recommendations


                                      Compliance Assessment
 The Force Inspector continues to gather force data on a quarterly basis and examine it for
 patterns and trends (See Section III on Use of Force). During this quarter, there were two
 TAC meetings; the first involved a presentation by the outgoing Force Inspector, and the
 second involved an introduction to the incoming Force Inspector as well as a Q/A session.
 To inform this Q/A session, TAC members provided comments and questions prior to the
 meeting, allowing the Force Inspector to provide responses during the meeting rather than
 requiring follow-up at a later date and leading to a more engaged meeting. We therefore
 continue to find the PPB has substantially complied with the requirements of this
 paragraph.
 Although we continue to find Substantial Compliance with Par. 86, we take a moment to
 respond to a point raised by several TAC members during the September meeting about
 the format of the presentations to the TAC. In several places, the Force Inspector appears
 to state that the format of the presentations is fixed based on prior agreements between
 the PPB, DOJ, and COCL. We note that the current format was merely determined to meet
 the minimum criteria for compliance with the Settlement Agreement and, where TAC
 members have expressed a desire for other analyses, the COCL has never been of the
 position that the Settlement Agreement would preclude. Rather, Par. 86 requires a
 presentation of “patterns and trends” that will allow the TAC “make recommendations to
 the Chief regarding proposed changes in policy, training, and/or evaluations based on the
 data presented.” Although we continue to find presentations on PPB’s quarterly use of

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 force summary reports satisfy this criterion, this is only one way that Substantial
 Compliance can be achieved and maintained. Moving forward, the PPB should work with
 the TAC to identify analyses that will be most useful to the TAC’s mission. Should the TAC
 consider the quarterly use of force summary reports to achieve this, we would continue to
 find Substantial Compliance. However, should the TAC desire supplemental analyses and
 provide PPB with notice of what those analyses might reasonably look like, we do not hold
 the position that Substantial Compliance would be automatically lost by doing so.


 COCL                            •    Work with the TAC to identify analyses that will be most
 Recommendations                      useful to the TAC’s mission


                             The PPB’s presentation of quarterly force reports and inclusion
 Assessment Based
                             of trends; The TAC’s recommendations; The PPB’s
 On
                             responsiveness to the TAC’s recommendations




                                Settlement Agreement Paragraph
 87. Training Advisory Council meetings will be open to the public unless the matter
 under discussion is confidential or raises public safety concerns, as determined by the
 Chief.


 Compliance Label            Substantial Compliance


                             Review of the PPB website regarding the TAC; Review TAC
 Methodology
                             agendas and minutes; Observe TAC meetings


                                      Compliance Assessment
 The two TAC meetings held in the third quarter of 2023 were open to the public as required
 by Paragraph 87. The COCL continues to observe these meetings virtually and/or review
 transcripts of the meetings we continue to public comment and participation on the
 meetings. The PPB continues to use a public email distribution list to send reminders of




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 the meetings to the public. The PPB also continues to post TAC meeting agendas and
 minutes on the PPB’s website. 8


 COCL
                                    •   No recommendations at this time
 Recommendations


 Assessment Based              COCL review of information available on the PPB website; COCL
 On                            observation of TAC meetings and review of TAC transcripts




8 https://www.portland.gov/police/tac/events/past




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Section V: Community-Based Mental Health
Services

                                Settlement Agreement Paragraph
 88. The absence of a comprehensive community mental health infrastructure often shifts
 to law enforcement agencies throughout Oregon the burden of being first responders to
 individuals in mental health crisis. Under a separate agreement, the United States is
 working with State of Oregon officials in a constructive, collaborative manner to address
 the gaps in state mental health infrastructure. The state-wide implementation of an
 improved, effective community-based mental health infrastructure should benefit law
 enforcement agencies across the State, as well as people with mental illness. The United
 States acknowledges that this Agreement only legally binds the City to take action.
 Nonetheless, in addition to the City, the United States expects the City’s partners to help
 remedy the lack of community-based addiction and mental health services to Medicaid
 clients and uninsured area residents. The City’s partners in the provision of community-
 based addiction and mental health services include: the State of Oregon Health Authority,
 area Community Care Organizations (“CCOs”), Multnomah County, local hospitals, health
 insurance providers, commercial health providers, and existing Non-Governmental
 Organizations (“NGOs”) such as community-based mental health providers, and other
 stakeholders.


 Compliance Label            Substantial Compliance


                             Monitor the City and PPB’s continuing work with community
 Methodology
                             partners


                                      Compliance Assessment
 This paragraph is assessed based on the City and the PPB’s continuing relationships with
 community partners. As this is a summative paragraph, compliance is dependent upon
 compliance with other paragraphs within this section. With all other paragraphs within
 this section remaining in Substantial Compliance, so too does Par. 88.




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 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             N/A – Summative paragraph
 On




                                Settlement Agreement Paragraph
 89. The United States expects that the local CCOs will establish, by mid-2013, one or more
 drop-off center(s) for first responders and public walk-in centers for individuals with
 addictions and/or behavioral health service needs. All such drop off/walk in centers
 should focus care plans on appropriate discharge and community-based treatment
 options, including assertive community treatment teams, rather than unnecessary
 hospitalization.


 Compliance Label            Substantial Compliance


 Methodology                 Review status of Unity Center; Interview with PPB personnel



                                      Compliance Assessment
 The COCL continues to acknowledge that the focus of Paragraph 89 is on the Community
 Care Organizations and the expectation that they establish one or more drop-off center(s).
 The Settlement Agreement does not hold any authority over these organizations, but our
 assessment remains focused on the City’s activities and reasonable expectations regarding
 their involvement with the drop-off/walk-in center(s).
 Related to the focus of Paragraph 89, the Unity Center remains the drop-off center for
 individuals experiencing behavioral health needs. The facility has been operating in this
 capacity since it opened in May 2017. The PPB has two policies related to this paragraph,
 including Directive 850.21 (Peace Officer Custody [Civil]) and 850.25 (Police Response to
 Mental Health Facilities). These directives provide the protocol for officers to contact AMR
 for ambulance transport to the Unity Center. Since the opening of the Unity Center, a
 Transportation Workgroup has met as necessary to discuss the operation of the Center.
 This workgroup includes members of Unity, the PPB, AMR, Multnomah County, and Legacy

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 ED Health. No issues related to transportation or interactions with PPB members have
 been identified for several quarters, though PPB remains prepared to meet as issues arise.
 Based on the PPB and the City’s efforts to-date, we believe they have substantially
 complied with all reasonable expectations for them related to this paragraph.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             Status of Unity Center and PPB policies
 On




                                Settlement Agreement Paragraph
 90. The CCOs will immediately create addictions and mental health-focused
 subcommittee(s), which will include representatives from PPB’s Addictions and
 Behavioral Health Unit (“ABHU”) [Now called Behavioral Health Unit or “BHU”], the ABHU
 Advisory Board [Now called the BHU Advisory Committee or “BHUAC”], Portland Fire and
 Rescue, Bureau of Emergency Communications (“BOEC”) and other City staff. These
 committees will pursue immediate and long-term improvements to the behavioral health
 care system. Initial improvements include: (COCL Summary) increased sharing of
 information (subject to lawful disclosure); creation of rapid access clinics; enhanced access
 to primary care providers; expanded options for BOEC operators to divert calls to civilian
 mental health services, addressing unmet needs identified by Safer PDX; expanding and
 strengthening networks of peer mediated services; and pursue tele-psychiatry.


 Compliance Label            Substantial Compliance


                             Review Community Outreach Meeting minutes; Review Portland
 Methodology
                             State University evaluation on PSR


                                      Compliance Assessment
 As with the above paragraph, Paragraph 90 contains expectations for CCOs to create
 subcommittees for the PPB to serve on and include a list of initial goals to be accomplished.


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 However, CCOs are not under the authority of the Settlement Agreement, and we therefore
 evaluate the City only on what can reasonably be expected of the agency given the lack of
 opportunity from CCOs.
 During the third quarter of 2023, the Service Coordination Team (SCT) manager continued
 to attend the Legacy Community Outreach meeting with community partners. The
 program met two times (August 22 and September 6) and minutes and a resource list were
 provided for those meetings. At the August meeting, two community groups presented, the
 Everly Project and Help Me Grow (Swindells Resource Center at Providence). The Everly
 Project is a harm reduction program and shared information about what they offer as well
 as provided contact information. Help Me Grow focuses on providing assistance to young
 children and families. In their presentation, the group shared how to refer families to the
 services. At the September meeting, presentations were made by Harmony Academy and
 Tri-County 911. Harmony Academy is a high school for students in recovery; at the meeting
 they provided information about enrollment and contact information. Tri-County 911 is a
 program that tries to connect individuals with sustainable care as a means to reduce the
 demand on EMS. The program shared their contact information and how they receive
 referrals. The SCT continued attendance at these meetings since 2015 has been a great way
 to stay up to date on programs and community resources. Staying involved in such
 outreach helps the BHU maintain a proactive and preventative approach to criminal justice
 involvement.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based            PPB involvement with Behavioral Health Collaborative Team;
 On                          PPB involvement with Legacy ED Community Outreach




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Section VI: Crisis Intervention

A. Addictions and Behavioral Health Unit and Advisory
Committee

                                Settlement Agreement Paragraph
 91. In order to facilitate PPB’s successful interactions with mental health consumers and
 improve public safety, within 60 days of the Effective Date, PPB shall develop an Addictions
 and Behavioral Health Unit (“ABHU”) within PPB. PPB shall assign command-level
 personnel of at least the rank of Lieutenant to manage the ABHU. ABHU shall oversee and
 coordinate PPB’s Crisis Intervention Team (“C-I Team”), Mobile Crisis Prevention Team
 (“MCPT”), and Service Coordination Team (“SCT”), as set forth in this Agreement.
 [As a point of clarification, since the writing of the Agreement, the ABHU is known as
 Behavioral Health Unit (“BHU”), the C-I Team is known as Enhanced Crisis Intervention Team
 (“ECIT”), and the MCPT is known as Behavioral Health Response Team (“BHRT”). Discussion
 of these entities, and their reference in subsequent Agreement paragraphs, will use their
 current nomenclatures].


 Compliance Label            Substantial Compliance


 Methodology                 Review Behavioral Health Unit (BHU) structure



                                      Compliance Assessment
 Regarding personnel and the BHU’s general oversight, the BHU continues to conform to
 the requirements of Paragraph 91, as evidenced by the BHU structure and our
 observations of the BHU coordinating ECIT, BHRT, and SCT operations. Although the BHU
 provides oversight to the ECIT program (including ECIT training, dispatch criteria, data
 collection, etc.), ECIT officers report directly to their precinct level chain of command. This
 command structure conforms to the Memphis Model. There have been no major changes
 to the structure of the unit, and the PPB is expected to provide updates on personnel
 changes.




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 In the third quarter of 2023, PPB provided the COCL with the organization chart for the
 Specialized Resources Division, which houses the BHU. PPB shared that one of the two
 sergeants within BHU will be taking sabbatical for a year to further their education and
 their plan is to cover this position in house. In addition, in the third quarter, the BHU
 relocated to a new building that expands accessibility for the community by offering a
 more centralized location and providing free parking. Based on the PPB’s ongoing unit
 structure, we continue to find that the PPB remains in Substantial Compliance with this
 paragraph.


 COCL                            •    Continue to update the COCL and DOJ on changes to
 Recommendations                      personnel when applicable


 Assessment Based
                             COCL review of unit structures and personnel
 On




                                Settlement Agreement Paragraph
 92. [BHU] will manage the sharing and utilization of data that is subject to lawful disclosure
 between PPB and Multnomah County, or its successor. PPB will use such data to decrease
 law enforcement interactions or mitigate the potential uses of force in law enforcement
 interactions with consumers of mental health services.
 93. [BHU] shall track outcome data generated through the [ECIT], [BHRT], and SCT, to: (a)
 develop new response strategies for repeat calls for service; (b) identify training needs;
 identify and propose solutions to systemic issues that impede PPB’s ability to provide an
 appropriate response to a behavioral crisis event; and (c) identify officers’ performance
 warranting commendation or correction.


                             92. Substantial Compliance
 Compliance Label
                             93. Substantial Compliance




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                             Review Behavioral Health Unit Coordination Team (BHUCT),
 Methodology                 BHRT, and SCT coordination team meeting agendas and
                             minutes; Review ECIT, BHRT, and SCT outcome measures


                                      Compliance Assessment
 The PPB continues to utilize a number of work groups to collaborate on ways to “decrease
 law enforcement interactions [and] mitigate the potential uses of force in law enforcement
 interactions with consumers of mental health services” (Paragraph 92). During the third
 quarter of 2023, the BHU staff continued to meet weekly to discuss the BHRT caseload, and
 the BHUCT met on a biweekly basis to discuss current and potential BHRT clients. The
 BHUCT is composed of several community partners, including representatives from
 Multnomah County, Cascadia, and federal/state law enforcement. The PPB provided us
 with meeting minutes and agendas indicating that a core group of partners attends
 consistently, with other partners attending as needed.
 The discussions during these meetings are designed to problem solve and create strategies
 to reduce future criminal justice contacts for individuals who have frequent contact with
 the police but have been difficult to engage in ongoing services. BHU personnel indicate
 that information about the individuals discussed is shared only if it is subject to lawful
 disclosure. BHU personnel indicate that the creation of the BHUCT has been a particularly
 valuable collaborative strategy.
 The SCT also conducts weekly meetings to discuss potential clients and make
 determinations about eligibility for SCT services. The meetings include community
 partners and representatives from various entities in Multnomah County. The meetings
 also review current SCT clients to “facilitate continuation of care” for clients. We believe
 these meetings meet the spirit of Paragraph 92.
 The PPB continues to provide the COCL with the documentation for all meetings occurring
 within the BHU, including minutes from each SCT, BHU, and BHUCT meeting. In addition,
 the PPB provided the COCL with copies of the BHRT flyers used to communicate with
 partners about individuals they are trying to connect with services. This information is
 supplemented by data collected on the Mental Health Template (MHT) that identifies
 individuals and locations with repeat calls for service and develops response strategies.
 Relevant outcome measures are collected for BHRT and SCT, and the PPB provides the
 COCL with quarterly reports summarizing these data. The BHU system has multiple
 avenues for sharing and receiving information with such entities as the BHUCT, Behavioral




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 Health Call Center (BHCC), BOEC, and BHUAC. Thus, we find that the PPB remains in
 Substantial Compliance with the requirements of Paragraphs 92 and 93.


                                 •    Continue to collect and review data on mental health
 COCL
                                      services, and use this information to update services as
 Recommendations
                                      needed


 Assessment Based            BHUCT, BHRT, and SCT coordination meeting agendas and
 On                          minutes; ECIT, BHRT, and SCT outcome measures




                                Settlement Agreement Paragraph
 94. Within 90 days of the Effective Date, PPB shall also establish a [BHU] Advisory
 Committee. The [BHU] Advisory Committee shall include representation from: PPB
 command leadership, [ECIT], [BHRT], and SCT; BOEC; civilian leadership of the City
 government; and shall seek to include representation from: the Multnomah County
 Sheriff’s Office; Oregon State Department of Health and Human Services; advocacy groups
 for consumers of mental health services; mental health service providers; coordinated care
 organizations; and persons with lived experience with mental health services.


 Compliance Label            Substantial Compliance


                             Review BHUAC roster of members; Review BHUAC minutes;
 Methodology
                             Observe BHUAC meetings


                                      Compliance Assessment
 In the third quarter of 2023, the BHUAC continued to meet regularly, holding meetings on
 August 23 and September 27. The minutes of these meetings have been documented and
 shared with the COCL and can be found on the PPB’s website
 (https://www.portland.gov/police/bhu-advisory/documents).
 Membership requirements of BHUAC as outlined in Paragraph 94 continue to be met, with
 a current roster of 17 voting members, representing a variety of entities involved in the
 mental health response systems. The membership of BHUAC continues to represent a


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 variety of community partners. For the two meetings held in the third quarter, a quorum
 was met for one meeting (August 23) and the July meetings was cancelled due to low
 availability. We will continue to monitor the ability of BHUAC to meet with a sufficient
 number of members in future quarters and, as necessary, suggest PPB identify ways to
 encourage members should future quarters have similar low attendance. However, for this
 quarter, we continue to find the PPB to be in Substantial Compliance with this paragraph.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based            BHUAC roster; BHUAC minutes; Observations of BHUAC
 On                          meetings




                                Settlement Agreement Paragraph
 95. The [BHU] Advisory Committee shall provide guidance to assist the City and PPB in the
 development and expansion of [ECIT], [BHRT], SCT, BOEC Crisis Triage, and utilization of
 community-based mental health services. The [BHU] Advisory Committee shall analyze
 and recommend appropriate changes to policies, procedures, and training methods
 regarding police contact with persons who may be mentally ill or experiencing a mental
 health crisis, with the goal of de-escalating the potential for violent encounters. The [BHU]
 Advisory Committee shall report its recommendations to the [BHU] Lieutenant, PPB
 Compliance Coordinator, COCL (as described herein), and the BOEC User Board.


 Compliance Label            Substantial Compliance



 Methodology                 Review BHUAC minutes; Observe BHUAC meetings



                                      Compliance Assessment
 Paragraph 95 envisions that BHUAC committee members will assist “the City and PPB in
 the development and expansion of [ECIT], [BHRT], SCT, BOEC Crisis Triage, and utilization
 of community-based mental health services.” BHUAC continued to meet in the third
 quarter of 2023 and meeting agendas included a variety of topics.


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 The August meeting had a presentation by PPB on the proposal of a dedicated ECIT
 Response car. To help meet ECIT call demand, there would be a car with ECIT of�icers on
 overtime speci�ically during times with a high volume of ECIT calls. The BHU plans to
 implement a 30-day pilot program to evaluate this initiative. The members of the
 committee discussed ECIT typical operation and how best to utilize this additional ECIT
 response car. In addition, members pointed out that since it would use of�icers on overtime,
 that it is important to be mindful of burnout and compassion fatigue and this should be
 tracked and monitored. The committee formally approved and recommended this 30-day
 pilot period and PPB plans on providing a follow up presentation to update the committee
 with results.

 Another presentation by PPB addressed updates to SOP 1-3 (CIT Coordinator) and
 Directive 850.20 (Police Response to Mental Health Crisis). For SOP 1-3, the committee had
 no recommended revisions. For Directive 850.20,the committee brought up many
 concerns, including the lack of mention of PSR and 988. There are dif�iculties with
 including PSR speci�ically as they operate under another entity. BHUAC members proposed
 that there should be inclusion of other diversion options as a part of the policy. Another
 member pointed out the directive are supposed to guide of�icers, but do not include all
 options, rather training helps of�icers put the directive into action and understand the
 range of responses to various situations. During the conversation many questions were
 raised about how PSR, PPB, Project Respond are coordinating and a BOEC representative
 said they would plan on making a presentation to the committee to highlight this
 coordination. The �inal agenda item was a discussion on recruiting new BHUAC
 membership.

 At the September meeting, the �irst presentation was a follow-up report on the ECIT
 Certi�ication Course. After the 2023 ECIT certi�ication course, all 20 new graduates
 reported having con�idence in communicating with and de-escalating individuals in crisis.
 The training implemented a lot more of a hands-on learning approach and at times it was
 dif�icult to �it the course in the allotted time. Future training will try to correct this. A
 member of the BHUAC was able to attend the dry run and found it bene�icial. Another
 presentation served as a follow up to the previous meeting, as it provided a general
 introduction into PPB Directives. This included the purpose of the directives and how they
 are formed and reviewed. The committee can help guide this process by making
 recommendations based off their expertise, and in the past their input has been very
 helpful. The �inal presentation was by a BHRT team (clinician and of�icer) on a speci�ic case
 study of an individual they are trying to help. The BHRT sought suggestions for how to
 better help the individual and the members were able to provide input. Overall, it was
 agreed that being presented case studies of complex cases would be a bene�icial use of the


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 members’ expertise, and they welcome future case to help with problem solving. The
 September meeting ended with discussing possible individuals who could be brought on
 as members for the BHUAC.

 Overall, the presentations and discussions were thorough and satisfied the COCL’s
 understanding of the BHUAC purpose and we therefore continue find Substantial
 Compliance with the requirements of this paragraph.

                                 •    Ensure an ongoing quorum through increasing
 COCL
                                      membership or substituting representatives who are able
 Recommendations
                                      to attend more regularly for those who frequently cannot


 Assessment Based            Review of BHUAC minutes and agendas; Observation of BHUAC
 On                          meetings




                                Settlement Agreement Paragraph
 96. Within 240 days of the Effective Date of this Agreement, the [BHU] Advisory Committee
 will provide status reports on the implementation of the [BHU] and BOEC Crisis Triage,
 and identify recommendations for improvement, if necessary. PPB will utilize the [BHU]
 Advisory Committee’s recommendations in determining appropriate changes to systems,
 policies, and staffing.


 Compliance Label            Substantial Compliance


 Methodology                 Review BHUAC recommendations found in BHUAC minutes



                                      Compliance Assessment
 In accordance with Paragraph 96, BHUAC continues to provide the COCL with a report of
 their votes and recommendations for the implementation of the BHU and BOEC. In the
 third quarter of 2023, the BHUAC made one formal recommendation. The committee
 formally recommended the proposed 30-day pilot period for the ECIT response car. The
 recommendation also stated that there should be a follow-up presentation with the results


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 after this period. The BHU responded that although they appreciated this
 recommendation, the new budget forecast might prohibit this program. The BHU noted
 that 20 new ECIT officers were added to the roster and they will re-assess the need for a
 specific ECIT response car after evaluating the impact of these additional ECIT officers. As
 this process follows what is envisioned by paragraph 96, we find the PPB to be in
 substantial compliance with the paragraph.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based            BHUAC status reports and recommendations; PPB responses to
 On                          BHUAC recommendations



B. Continuation of C-I Program

                                Settlement Agreement Paragraph
 97. PPB provides C-I Training to all its officers. C-I is a core competency skill for all sworn
 police officers in the City. PPB shall continue to train all officers on C-I.
 98. PPB agrees to continue to require a minimum of 40 hours of C-I training to all officers
 before officers are permitted to assume any independent patrol or call-response duties.
 Additionally, PPB shall include C-I refresher training for all officers as an integral part of
 PPB’s on-going annual officer training. PPB’s Training Division, in consultation with
 [BHU] Advisory Committee, shall determine the subjects and scope of initial and
 refresher C-I training for all officers.


                             97. Substantial Compliance
 Compliance Label
                             98. Substantial Compliance


 Methodology                 Review of PPB in-service training




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                                      Compliance Assessment
 The PPB continues to emphasize crisis response as a core competency in its training. For
 instance, all officers are required to receive a minimum of 40 hours of crisis intervention
 training prior to graduating from the Advanced Academy. The Advanced Academy that
 began in May of 2023 ended in August 2023, with 23 individuals graduating. The 23 new
 recruits received nine hours of Crisis Intervention training in the third quarter. Altogether,
 the recruits received 13.5 hours of Crisis Intervention training in the Advanced Academy,
 complementing the 28 hours of crisis intervention training that all recruits get in the
 statewide Department of Public Safety Standards & Training Basic Academy, resulting in,
 and in fact exceeding, the 40 hours of required crisis intervention training.
 In addition, the PPB Training Division started another Advanced Academy for new
 recruits in the third quarter. The 23 individuals in the new training group has so far
 received six hours of Crisis Intervention training.

 Regarding refresher training, the PPB provided 2.5 hours of mental health training during
 the second half of in-service training, which started in the third quarter and will continue
 throughout the fourth quarter. We therefore continue to �ind Substantial Compliance with
 the requirements of this paragraph, though we maintain our suggestion from prior
 reports.

                                 •    Consider seeking BHUAC input during training
 COCL
                                      development rather than after training has been
 Recommendations
                                      developed


 Assessment Based
                             PPB in-service training
 On



C. Establishing “Memphis Model” Crisis Intervention
Team

                                Settlement Agreement Paragraph
 99. Within 120 days of the Effective Date, PPB shall establish a Memphis Model Crisis
 Intervention team (“[ECIT]”).



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 Compliance Label            Substantial Compliance


                             Review BHU/ECIT data; Interview PPB personnel; Review MHT
 Methodology
                             data; Review BOEC data


                                      Compliance Assessment
 The PPB continues to operate under a modified Memphis Model of crisis intervention. In
 this specialized response system, a select group of officers receive an additional 40 hours
 of training to become ECIT officers. As part of ECIT operations, the PPB has Directive
 850.20 (Police Response to Mental Health Crisis), which was revised during the third
 quarter and presented to officers during the third-quarter in-service training. Along with
 discussing the revisions, the PPB provided a brief training that distinguished differences
 between the roles and responsibilities of ECIT, PSR, and Project Respond. We therefore
 continue to find that the PPB has sufficiently memorialized their crisis response model in
 both policy and training.
 In the third quarter of 2023, the PPB reported 167 active members on the ECIT roster. In
 addition, the BHU continued to hold ECIT advisory meetings. During the third quarter,
 ECIT members from all precincts discussed topics related to the ECIT certification course,
 sharing BHRT caseload, and the possibility of an ECIT detail car. For instance, the minutes
 from the meeting included an update on the ECIT training that was just completed. Officers
 also talked about shelter beds and available resources on the website. As a result,
 maintaining their model, we continue to find the PPB has substantially complied with the
 requirements of Paragraph 99.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based            ECIT roster; PPB’s Semi-Annual Mental Health Crisis Response
 On                          Report




                                Settlement Agreement Paragraph




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 100. PPB’s [ECIT] shall be comprised of officers who volunteer for assignment to the
 [ECIT]. The number of [ECIT] members will be driven by the demand for [ECIT] services,
 with an initial goal of 60-80 volunteer, qualified officers.


 Compliance Label             Substantial Compliance


 Methodology                 Review ECIT Roster; Interview PPB personnel



                                      Compliance Assessment
 The PPB continues to follow the practice of accepting volunteer officers for ECIT
 certification. In the third quarter of 2023, 20 additional officers were ECIT certified. The
 PPB provided us with a current ECIT roster that includes 167 active members. As there
 have been no decrease in the number of ECIT officers since the previous quarters and we
 previously found that ECIT officer distribution matches call volume patterns, we continue
 to find Substantial Compliance with the requirements of this paragraph.


 COCL                            •    Continue utilizing existing data to assess demand for
 Recommendations                      ECIT services


 Assessment Based            MHT data; ECIT roster; The PPB’s Semi-Annual Mental Health
 On                          Crisis Response Report




                                Settlement Agreement Paragraph
 101. No officers may participate in [ECIT] if they have been subject to disciplinary action
 based upon use of force or mistreatment of people with mental illness within the three
 years preceding the start of [ECIT] service, or during [ECIT] service. PPB, with the advice
 of the [BHU] Advisory Committee, shall define criteria for qualification, selection, and
 ongoing participation of officers in the [ECIT].


 Compliance Label             Substantial Compliance




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 Methodology                 Review evaluation documents for potential ECIT officers


                                      Compliance Assessment
 In the third quarter of 2023, the PPB added 20 new members to the ECIT roster. The
 Bureau held the certification course in September 2023, using a curriculum previously
 approved by DOJ and COCL. Before the training, the BHU Sergeants engaged in the typical
 screening process of the applicants to determine their eligibility for ECIT certification. The
 PPB provided the COCL with a work history review sheet to show all applicants were
 eligible. Further, the BHU Sergeants used relevant ECIT data (e.g., geography of dispatched
 calls, ECIT templates, and officer rosters) to guide decision-making in the selection of
 potential ECIT officers. As a result of ongoing PPB practice, we continue to find the PPB in
 Substantial Compliance with the requirements of this paragraph.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             PPB ECIT evaluation documents
 On




                                Settlement Agreement Paragraph
 102. PPB shall specially train each [ECIT] member before such member may be utilized for
 [ECIT] operations. PPB, with the advice of the [BHU] Advisory Committee, shall develop
 such training for [ECIT] members consistent with the Memphis Model.


 Compliance Label            Substantial Compliance


 Methodology                 Review PPB supplemental documents



                                      Compliance Assessment




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 In the third quarter of 2023, there was an ECIT certification training with 20 graduates.
 The PPB presented the schedule for the next certification training to the BHUAC at the June
 meeting. The committee voted to approve the schedule with the understanding that it will
 provide additional feedback during the dry runs of the scenarios scheduled for August. A
 member of the BHUAC was able to attend the dry run in August and found it to be an
 insightful experience. We appreciate the PPB taking the steps to gather feedback on the
 ECIT course topics and provide the BHUAC with the opportunity to participate in dry runs
 and suggest changes. Additionally, an ECIT officer attended a 10-hour motivational
 interviewing training in August. We therefore continue to find Substantial Compliance
 with the requirements of this paragraph.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             PPB supplemental documents; Observation of BHUAC meeting
 On




                                Settlement Agreement Paragraph
 103. [ECIT] members will retain their normal duties until dispatched for use as [ECIT].
 BOEC or PPB may dispatch [ECIT] members to the scene of a crisis event.


 Compliance Label            Substantial Compliance


 Methodology                 Review PPB policy



                                      Compliance Assessment
 In accordance with Paragraph 103 (and the Memphis Model of mental health crisis
 response), ECIT members retain their normal duties until dispatched for use as ECIT. BOEC
 personnel have received training on the criteria for dispatching an ECIT to a call. In
 addition, the PPB’s Directive 850.20 includes the requirement for officers to consider
 calling in specialized units (including ECIT) as necessary. We therefore continue to find
 that the PPB has maintained Substantial Compliance with this paragraph.


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 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             PPB policy
 On




                                Settlement Agreement Paragraph
 104. PPB will highlight the work of the [ECIT] to increase awareness of the effectiveness
 of its work.


 Compliance Label            Substantial Compliance


                             Review PPB public awareness efforts; Review BHU website;
 Methodology
                             Review BHUAC minutes


                                      Compliance Assessment
 The PPB continues to perform a wide variety of tasks designed to increase awareness of
 the work performed by the BHU, ECIT, BHRT, and SCT. This work includes flash alert
 emails, newsletters, conference presentations, conference attendance, community
 outreach training and presentations, social media, and other efforts. We believe the PPB
 has made a strong effort to highlight the work of not only the ECIT but the BHU in its
 entirety.
 For instance, in the third quarter of 2023, the BHU newsletter shared positive news, such
 as the graduation of 20 officers from the ECIT certification course and BHU members
 involvement with the community program "Shop-With-A-Cop” that helps children get back
 school clothing and supplies. The newsletter also highlighted BHU members attendance of
 conferences: the CIT International Conference and the Association of Threat Assessment
 Professional conferences. In addition, the newsletter shared data on the SCT. Based on this
 and our previous review of PPB outreach efforts, we believe the PPB has substantially
 complied with the requirements of Paragraph 104.




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 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based            Public awareness and education documents
 On




                                Settlement Agreement Paragraph
 105. For each crisis event to which [ECIT] is dispatched, the [ECIT] member shall gather
 data that [BHU] shall utilize to track and report data on public safety system interactions
 with individuals with perceived or actual mental illness or who are in crisis. These data
 shall include: (COCL summary) the required tracking of details about the context and
 nature of incident, information about the subject, techniques used, injuries, disposition,
 presence of mental health professional on scene, and a narrative of the event.


 Compliance Label             Substantial Compliance


 Methodology                 Review MHT data; Interview PPB personnel



                                      Compliance Assessment
 In accordance with this paragraph, the PPB must collect data on mental health calls, and
 the BHU is required to report on the data collected. In the third quarter of 2023, the PPB
 continued to use the MHT as the method for collecting the data points required in
 Paragraph 105. The PPB’s quality assurance plan for ECIT-related data and outcomes
 includes analysts auditing associated data on a monthly basis.
 The BHU provided the COCL with a quarterly report describing MHT data for ECIT calls. In
 the third quarter of 2023, the PPB received 399 MHTs on 389 calls that reported an ECIT
 officer was on scene (a single call may result in more than one MHT being completed). ECIT
 officers authored 264 (66 percent) of the MHTs. For the 389 calls, the most common
 technique used was de-escalation (44 percent). A total of 25 calls (6 percent of the total)
 reported a use of force. For the disposition of the 389 calls, the most common clearance




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 type was report written (78 percent of calls), followed by about 10 percent of calls being
 cleared by arrest (physical). All these statistics are similar to prior quarters.
 Due to the nature and extent of data collected and analyzed on ECIT dispatches, the PPB
 remains in Substantial Compliance with Paragraph 105.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             MHT data
 On



D. Mobile Crisis Prevention Team

                                Settlement Agreement Paragraph
 106. PPB currently has a [BHRT] comprised of a two-person team, one sworn officer and
 one contractor who is a qualified mental health professional. Within 120 days of the
 Effective Date, City shall expand [BHRT] to provide one [BHRT] car per PPB precinct.
 107. Each [BHRT] car shall be staffed by one sworn PPB officer and one qualified mental
 health professional. [BHRT] shall be the fulltime assignment of each such officer.


                             106. Substantial Compliance
 Compliance Label
                             107. Substantial Compliance


                             Review BHU structure; Review of BHUAC meeting; Interview
 Methodology
                             PPB personnel


                                      Compliance Assessment
 The PPB continues to have a BHRT car in each precinct composed of one officer and one
 qualified mental health professional. For the officer, BHRT is considered their full-time
 assignment. In the third quarter of 2023, the PPB made no changes to their roster of the


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 five BHRTs. The PPB aims to maintain the five teams as the complete roster for BHRT. One
 BHRT is assigned to each precinct (East, Central, and North), a fourth BHRT is assigned to
 Houseless Outreach, and a fifth BHRT is assigned to Proactive Follow-up. As a result of their
 current effort, we continue to find the PPB is in Substantial Compliance with the
 requirements of Paragraphs 106 and 107.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             BHU structure
 On




                                Settlement Agreement Paragraph
 108. No officers may participate in [BHRT] if they have been subject to disciplinary action
 based upon use of force or mistreatment of people with mental illness within the three
 years preceding the start of [BHRT] service, or during [BHRT] service. PPB, with the advice
 of [BHU] Advisory Committee, shall define criteria for qualification, selection, and ongoing
 participation of officers in the [BHRT].


 Compliance Label            Substantial Compliance


 Methodology                 Review evaluation documents for potential ECIT officers



                                      Compliance Assessment
 All BHRT officers are ECIT certified and are held to the same eligibility standards as ECIT
 officers. In addition, SOP #43 covers the ongoing participation of officers involved with
 BHRT. The BHU Sergeants and the Lieutenant monitor all current BHRT members through
 the EIS and Professional Standards Division (PSD) to ensure qualifications are maintained.
 During this quarter, no new BHRT officers were assigned. However, we have seen this
 process play out in prior quarters and therefore continue to find that the PPB remains in
 Substantial Compliance with Paragraph 108.



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 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             PPB policy
 On




                                  Settlement Agreement Paragraph
 109. PPB shall specially train each [BHRT] member before such member may be utilized
 for [BHRT] operations. PPB, with the advice of the [BHU] Advisory Committee, shall
 develop such training for [BHRT] members.


 Compliance Label            Substantial Compliance


 Methodology                 Review reported trainings for BHRT members



                                      Compliance Assessment
 The BHU continues to promote supplemental training for supervisors and BHRT members.
 In the third quarter of 2023, members took part in external supplemental training and
 conferences. For instance, trainings and presentations attended by members of the BHU
 covered a variety of topics, including threat assessment, methods of instruction,
 guardianship and conservatorships. Members attended multiple conferences relating to
 threat assessment, crisis intervention, and addiction studies It appears that the BHU has
 continued to forge a culture in which ongoing learning and training is promoted and
 encouraged. We therefore find that the PPB has maintained Substantial Compliance with
 Paragraph 109.


 COCL                            •    No recommendations at this time
 Recommendations




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 Assessment Based            The PPB quarterly report identifying supplemental BHRT
 On                          training




                                Settlement Agreement Paragraph
 110. [BHRT] shall utilize [ECIT] data to proactively address mental health service, in
 part by connecting service recipients with service providers.


 Compliance Label            Substantial Compliance


                             Review MHT summary data; Review Behavioral Health Unit
 Methodology
                             Electronic Referral System (BERS) summary data


                                      Compliance Assessment
 The PPB has continued the practice of collecting data through the MHT. When an officer
 has an encounter with a mental health component, they will complete the MHT. This
 information will be used to address mental health service needs. If an individual is the
 subject of three MHTs in a 30-day period, they will be referred to the BERS (if a referral
 has not already been made).
 Once an individual is referred, a team will look at specific criteria, including a
 demonstration of escalating behavior, frequent contacts with the PPB, considered a risk
 to self or others, and whether case-specific information indicates a potential need for
 BHRT intervention. If the individual is deemed an appropriate candidate for additional
 intervention, the BHUCT (which is composed of law enforcement, court, service provider,
 hospital provider personnel, and other relevant stakeholders) will discuss a plan of
 action.
 The PPB has continued to conduct analysis of BHRT operations on a quarterly basis to
 identify potential trends and ensure ongoing system function. In the third quarter of 2023,
 a total of 170 referrals were processed by the BHU. Of the 170 referrals, 102 (60 percent)
 were assigned to BHRT’s caseload. This assignment rate is the highest assignment rate in
 the last seven quarters and is a bounce back from the previous quarter (46 percent).




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 In the third quarter of 2023, 93 individuals transitioned to inactive status with BHRT. Of
 those individuals, 30 (32 percent) had been assigned previously to BHRT’s caseload in a
 different quarter and continued into the third quarter of 2023.
 As shown in Figure 2, this quarter saw that the most common reason for a referral to be
 assigned was for Escalating Behavior (43 percent), followed by Risk to Others (35
 percent) and Frequent Contacts (13 percent).

                   Figure 2 Assigned Cases Reason for Referral (provided by the PPB)




  When looking at the outcomes of referrals for inactive cases in the third quarter of 2023
 (Figure 3), the most common outcome was Systems Coordination (27%), closely followed
 by Concern Mitigated (23%) and Unable to Locate (13%).


                   Figure 3 Inactive Cases Outcome of Referral (provided by the PPB)




 The PPB’s current practice of collecting data through the MHT, meeting weekly to share
 information, and using data to inform service needs fulfills the requirements outlined in
 Paragraph 110. In fact, PPB has shown that not only do they have systems in place to
 monitor data trends but they also use this information to inform practice. In the second


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 quarter, the BHU noticed that the BERS referrals were down about 12 percent compared
 to the previous 12 months. To help remedy this in the third quarter, they worked with the
 Training Division to create an informational video to help remind officers when and how
 they should fill out a BERS referral. This video will be released in the fourth quarter. We
 continue to find the PPB in Substantial Compliance.


 COCL                            •   Continue to collect data and create reports on mental
 Recommendations                     health services


 Assessment Based            MHT data; BERS referral data
 On




                                Settlement Agreement Paragraph
 111. Within 180 days of the Effective Date, PPB, with the advice of [BHU] Advisory
 Committee, shall develop policies and procedures for the transfer of custody or voluntary
 referral of individuals between PPB, receiving facilities, and local mental health and social
 service agencies. These policies and procedures shall clearly describe the roles and
 responsibilities of these entities and of [BHRT] officers in the process.


 Compliance Label            Substantial Compliance


                             Review Directives 850.20, 850.21, 850.22, and 850.25; Interview
 Methodology
                             PPB personnel


                                      Compliance Assessment
 The PPB continues to operate under the Directives 850.20, 850.21, 850.22, and 850.25,
 which dictate the procedures for AMR to provide transportation for a person in a mental
 health crisis. Directive 850.20: Police Response to Mental Health Crisis was reviewed by
 BHUAC during the third quarter of 2023. The PPB continues to collaborate with AMR when
 issues arise during the transportation of an individual dealing with a mental health crisis
 (see our assessment of Paragraph 89). The PPB also has a designated liaison Sergeant at
 each precinct to respond, in real time, to any transportation issues. As the PPB continues



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 to uphold these procedures, we find that they have maintained Substantial Compliance
 with Paragraph 111.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             Directives 850.20, 850.21, 850.22, and 850.25; PPB interviews
 On



E. Service Coordination Team

                                Settlement Agreement Paragraph
 112. The Service Coordination Team (“SCT”), or its successor, shall serve to facilitate the
 provision of services to individuals who interact with PPB that also have a criminal
 record, addiction, and highly acute mental or physical health service needs.


 Compliance Label             Substantial Compliance


 Methodology                  Review SCT outcome measures; Review SCT Referrals Report



                                      Compliance Assessment
 The PPB continues to facilitate the provision of services to individuals experiencing drug
 addiction and mental illness and who are chronically involved in criminal behavior. The
 SCT coordinates access to housing, medical, counseling, and addiction/mental health
 services. Members of the SCT are proactive in seeking out collaborations with other
 stakeholders in the State of Oregon.
 The PPB continues to provide data demonstrating that, over the years, SCT has
 consistently grown in the number of people referred to the program and the number of
 people it serves. For the third quarter of 2023, the number of referrals was 261, as shown
 in Table 1. This is an increase from the previous quarter (212). Of these referrals, the SCT
 accepted 59 percent; the other 41 percent did not meet the assignment criteria. The



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 primary reasons for not meeting criteria were lack of criminal history (29 percent) and
 lack of recent crimes (26 percent).
                              Table 1 SCT Referrals (provided by the PPB)




 The Supportive Transitions and Stabilization (STS) Program is an expansion of the SCT
 operation that is run by the Central City Concern's Housing Rapid Response. By creating
 a direct housing resource, the STS addresses the needs of those experiencing mental
 illness and co‐occurring disorders who temporarily require a more extensive level of care.
 In the third quarter of 2023, 14 individuals were referred, 10 of the referrals were
 accepted and a total of four new participants were served, as shown in Table 2.




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                              Table 2. STS Referrals (provided by the PPB)




 In addition to the quarterly data, PPB provided an analysis of SCT and STS trends
 utilizing quarterly data from Q2 2015 to Q3 2023. As the graph below displays there was
 a significant dip post pandemic but have since returned to pre-pandemic averages.


                                      Figure 4 SCT Individuals Referred




 COCL
                                  •     No recommendations at this time
 Recommendations


 Assessment Based
                              SCT process; SCT outcome measures
 On



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F. BOEC

                                Settlement Agreement Paragraph
 113. Within 120 days of the Effective Date, BOEC and PPB, with the advice of the [BHU]
 Advisory Committee, shall complete policies and procedures to triage calls related to
 mental health issues, including changes to protocols for assigning calls to [Behavioral
 Health Call Center - BHCC], and adding new or revised policies and protocols to assign calls
 to PPB [BHU] or directly to NGOs or community-based mental health professionals.


 Compliance Label            Substantial Compliance


 Methodology                 Interview BOEC personnel; Review BOEC protocols



                                      Compliance Assessment
 BOEC has completed and maintained the policies and procedures prescribed within
 Paragraph 113. BOEC’s mental health and ECIT dispatch protocol SOP identifies seven call
 characteristics for which an ECIT dispatch officer will be dispatched. These characteristics
 include when there is a mental health component and (1) a weapon is present, (2) a person
 is violent, (3) the call is at a mental health facility, (4) the caller is threatening suicide and
 has the means to carry it out, (5) request of a community member, (6) request of another
 officer; or (7) a person represents an escalating risk of harm to self or others.
 BOEC has maintained its policy criteria for ECIT dispatch, which partially satisfies the
 requirement for crisis triage. In addition, BOEC has updated criteria for forwarding calls to
 BHCC. Additionally, during the third quarter, BOEC provided us with SOP 6.011 (Portland
 Street Response) which “describes the Portland Street Response program, defines the
 duties of the Portland Street Response team and the procedures Operations Staff will
 follow when dispatching them.” In doing so, the SOP describes the function of PSR, defines
 a mental health crisis, and lists the specific criteria for dispatching PSR during a mental
 health crisis. It then describes the required steps to be taken by call-takers, dispatchers,
 and supervisors when a call is to be dispatched to PSR. We therefore continue to find
 Substantial Compliance with the requirements of this paragraph.




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 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based            BOEC protocols for ECIT dispatch; BOEC protocols for BHCC
 On                          referral; BOEC protocols for PSR dispatch




                                Settlement Agreement Paragraph
 114. Within 180 days of the Effective Date, the City will complete training of all BOEC
 Dispatchers in Crisis Triage. The City, with the advice of the [BHU] Advisory Committee,
 shall develop ongoing training for BOEC Dispatchers.


 Compliance Label            Substantial Compliance


 Methodology                 Interview BOEC personnel



                                      Compliance Assessment
 BOEC staff continue to receive training in crisis triage both as new employees as well as
 ongoing refresher training, including on recognizing mental health crisis and available
 triage options (e.g., crisis line, PSR, and ECIT). In the third quarter of 2023, BOEC carried
 out their fall in-service training which included a presentation on all triage options
 available to dispatchers for calls involving a mental health crisis, including ECIT, BHCC,
 and PSR. As part of the presentation, BOEC discussed the criteria for each option as well
 as tips and techniques for determining the most appropriate response option. In
 addition, BOEC provided real-world examples of calls that should have received ECIT
 dispatch but did not (see also Par. 115). Furthermore, upon issuing SOP 6.001 (Portland
 Street Response), BOEC provided a roll-call training discussing the PSR criteria, including
 a discussion of changes to the criteria compared to the prior protocol. Taken together we
 continue to find that BOEC has trained dispatchers and call-takers in the available crisis
 triage options and therefore continue to be in Substantial Compliance with the
 requirements of Par. 114.




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 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based            Prior observation of BOEC training; Interview with BOEC
 On                          personnel




                                Settlement Agreement Paragraph
 115. Within 180 days of the Effective Date, the City shall ensure Crisis Triage is fully
 operational to include the implementation of the policies and procedures developed
 pursuant to the above paragraph and operation by trained staff.


 Compliance Label            Substantial Compliance


 Methodology                 Review of BOEC data; Interviews with BOEC personnel



                                      Compliance Assessment
 The COCL reviewed data related to the operation of BOEC, not only in the context of the
 PPB’s crisis response, but also in the context of other triage options. This included
 transferring calls to the BHCC and dispatching PSR to calls that meet the necessary criteria.
 For instance, in the third quarter evaluation of mental health calls, the PPB identified 6,395
 calls with a mental health component. BOEC audited a random sample of 334 of these calls
 to ensure that dispatchers are applying the criteria appropriately. In 14 of those calls
 (4.2%) BOEC’s audit later found that sufficient information existed at the time of the call
 to warrant it being dispatched as ECIT. This rate is consistent with prior reporting periods.
 BOEC also assessed accuracy for calls transferred to the BHCC, with 22 out of 287 calls
 being kicked back to BOEC for ECIT dispatch (we note this may not indicate fault with the
 telecommunicators decision, for BHCC operators may learn additional information
 warranting emergency response). Finally, we reviewed BOEC’s data for PSR during the
 third quarter, which included 4,110 calls dispatched to the response team. This is an
 increase of 301 calls from the second quarter, demonstrating BOEC’s continued use of the
 program when triaging calls. In addition to tracking PSR calls, BOEC holds monthly


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 meetings with PSR representatives, discussing any emerging issues and helping to ensure
 that BOEC’s practices align with their policy and training. Moving forward, we will
 continue to monitor how BOEC assesses their use of different crisis dispatch options to
 ensure ongoing compliance with their policies and protocols though continue to find
 Substantial Compliance for this quarter.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based            Review of BOEC data; Interviews with BOEC personnel;
 On                          Interviews with PSR personnel




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Section VII: Employee Information System

                                Settlement Agreement Paragraph
 116. PPB has an existing Employee Information System (“EIS”) to identify employees and
 design assistance strategies to address specific issues affecting the employee. See PPB
 Manual 345.00. PPB agrees to enhance its EIS to more effectively identify at-risk
 employees, supervisors, and teams to address potentially problematic trends in a timely
 fashion. Accordingly, within 90 days of the Effective Date, PPB shall: (a) Require that
 commanders and supervisors conduct prompt reviews of EIS records of employees under
 their supervision and document the review has occurred in the EIS performance tracker;
 (b) Require that commanders and supervisors promptly conduct reviews of EIS for officers
 new to their command and document the review has occurred in the EIS performance
 tracker; and (c) Require that EIS staff regularly conduct data analysis of units and
 supervisors to identify and compare patterns of activity.
 117. PPB agrees to use force audit data to conduct similar analyses at supervisor- and
 team-levels.


                                   116. Partial Compliance
 Compliance Label
                                   117. Partial Compliance


                                   Interviews with EIS/PPB personnel; Review of PPB EIS
 Methodology
                                   analysis


                                      Compliance Assessment
 The PPB continued to use the EIS as their primary system for identifying at-risk members
 and potentially problematic trends and “design[ing] assistance strategies to address
 specific issues affecting the employee” (Paragraph 116). As for the PPB’s current
 procedure of evaluating subsections (a) and (b) of Paragraph 116, the PPB reports rates
 of compliance with supervisory reviews that are consistent with prior quarters. As shown
 in Figure 5 below, compliance for subsection (a) reviews (supervisors performing annual
 reviews) demonstrated that 99 percent of required reviews were completed on time,


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 whereas subsection (b) reviews (“new-to-command” reviews) were completed on time for
 nearly all cases (90.2 percent). This led to 96.8 percent on-time reviews for subsection (c),
 which looks at all opportunities for Paragraph 116 compliance.
          Figure 5 Compliance with Reviews Directive 345.00 Reviews (provided by the PPB)




 During the third quarter of 2023, the COCL team reviewed PPB’s SOP #5 (Force Analysis
 for Supervisors and Teams), which memorializes the process used by the Force Inspector
 to consistently identify “at-risk employees, supervisors, and teams.” We found that the SOP
 contains a wide range of reference points for the Force Inspector to consider when
 conducting the review and provides standardization to the selection process while also
 still allowing for the Force Inspector’s experience to guide the process. During the fourth
 quarter of 2023, we were able to meet with the Force Inspector to discuss their application
 of the SOP, ask questions, and better understand the Force Inspector’s decisions. We will
 therefore provide additional updates in our next report.
 Finally, we have long noted the need for a comprehensive assessment of PPB’s EIS though
 have awaited a joint-determination from both Parties as to whether such an assessment is
 required for compliance (and therefore has implications for the Settlement Agreement if
 the system is determined to be ineffective) or instead is a matter of technical assistance
 without such implications. To date, the Parties have not come to agreement on the matter
 and, as the City and DOJ have agreed on implementing a Monitor in the coming months, it


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 is unlikely that such an assessment can occur prior to the Monitor assuming their role. We
 therefore continue to recommend the Parties confer as to the requirement of Par. 116 with
 respect to a comprehensive assessment and, where appropriate, recommend the Monitor
 incorporate the evaluation methodology previously provided by COCL. As the COCL is
 required to debrief the Monitor on barriers to implementation (see amended Par. 208), we
 look forward to discussing this paragraph in particular.


 COCL Recommendations                  •   To achieve Substantial Compliance, work with COCL
                                           to formalize the review, identification, and
                                           intervention process through SOP #5
                                       •   Determine with DOJ whether an assessment of EIS’s
                                           effectiveness is required for compliance


 Assessment Based On               EIS and threshold review process




                                Settlement Agreement Paragraph
 118. PPB shall continue to use existing thresholds, and specifically continue to include the
 following thresholds to trigger case management reviews: (a) Any officer who has used
 force in 20% of his or her arrests in the past six months; and (b) Any officer who has used
 force three times more than the average number of uses of force compared with other
 officers on the same shift.
 119. Within 90 days of the Effective Date, PPB shall add one additional threshold to trigger
 case management review of any officer who has three uses of force in a one-month period.


                            118. Substantial Compliance
 Compliance Label
                            119. Substantial Compliance


 Methodology                Interviews with EIS/PPB personnel; Review of EIS program data




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                                      Compliance Assessment
 The thresholds the PPB are required to maintain for Paragraph 118 continue to be used to
 flag officers for supervisory reviews. The PPB continues to collate data from a variety of
 sources, including force events, traumatic incidents (captured in the Regional Justice
 Information Network, complaints, and commendations (captured in Administrative
 Investigations Management (AIM] system). These data are used to identify potentially
 problematic behavior with the predetermined thresholds identified by these paragraphs.
 In the third quarter of 2023, EIS administrators reviewed 316 alerts and sent 242 (76.6
 percent) on for RU Manager review (see Figure 6). When forwarded to the RU Manager,
 the alert may be reviewed and closed by the RU Manager or sent to the officer’s supervisor
 for either closure or intervention (i.e., coaching, commending, debriefing, monitoring,
 referring to the Employee Assistance Program, training, or temporary reassignment). For
 alerts closed in the third quarter of 2023, which may also include cases opened in prior
 quarters, 292 were closed at the RU level (see Table 3). Of these 292 alerts, 238 (81.5
 percent) were sent on for further supervisor review (the highest percentage in the past
 seven quarters). Additionally, 69.2 percent of alerts sent to an officer’s supervisor during
 the third quarter of 2023 resulted in some type of intervention. The information provided
 by the PPB indicates that for the 202 alerts closed with an intervention, one was closed
 with a referral to the Employee Assistance Program, and the remaining 201 involved a
 debriefing or supervisor coaching.
 As with Paragraph 116, we are continuing to work with the PPB to analyze the relative
 effectiveness of EIS interventions, both from empirical data analyses as well as through
 conversations with key stakeholders in the EIS process. However, the PPB continues to use
 the thresholds as outlined by Paragraphs 118 and 119, and we continue to find they have
 complied substantially with these paragraphs.




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                Figure 6 EIS Alerts and Alerts Sent to RU Manager (provided by the PPB)




 Table 3 EIS Alerts and Interventions

                                2022        2022        2022         2023        2023      2023
                                 Q2          Q3          Q4           Q1          Q2        Q3

    Alerts Closed by RU          174         174         140          206         217      292
    Alerts Sent to
                            126     103     100     166                           166     238
    Supervisor (Percent
                          (72.4%) (59.2%) (71.4%) (73%)                         (76.5%) (81.5%)
    of Alerts Sent to RU)
    Interventions
                             94      82      73     146                           150     202
    (Percent of Alerts
                          (54.0%) (47.1%) (52.1%) (70.9%)                       (69.1%) (69.2%)
    Sent to RU)
    Interventions
                             94      82      73     146                           150     202
    (Percent of Alerts
                          (74.6%) (79.6%) (73%)    (88%)                        (90.4%) (84.9%)
    Sent to Supervisor)

 COCL
                                •    No recommendations at this time
 Recommendations


 Assessment Based
                            Current EIS thresholds and associated data
 On




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                                Settlement Agreement Paragraph
 120. Within 90 days of the Effective Date, PPB shall identify and train a second EIS
 administrator. This individual may be assigned to other tasks within the Professional
 Standards Division or as otherwise needed.


 Compliance Label            Substantial Compliance


 Methodology                 Review of Directive 345.00; Review of EIS Program



                                      Compliance Assessment
 Paragraph 120 requires that the PPB “identify and train a second EIS administrator.”
 During the third quarter of 2023, the PPB maintained the second EIS administrator, who
 was trained and joined the team in the first quarter of 2022. We therefore find that the PPB
 has maintained compliance with Paragraph 120.


 COCL
                                  •   No recommendations at this time
 Recommendations


 Assessment Based
                             Maintenance of second EIS administrator
 On




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Section VIII: Officer Accountability

A. Investigation Timeframe

                                Settlement Agreement Paragraph
 121. PPB and the City shall complete all administrative investigations of officer misconduct
 within one-hundred eighty (180) days of a complaint of misconduct, or discovery of
 misconduct by other means. For the purposes of this provision, completion of
 administrative investigations includes all steps from intake of allegations through
 approval of recommended findings by the Chief, excluding appeals, if any, to CRC. Appeals
 to CRC should be resolved within 90 days.


 Compliance Label            Substantial Compliance


                             Review of IPR quarterly data analysis; Review of AIM system
 Methodology
                             data


                                      Compliance Assessment
 As noted in our last report, IPR now includes tolling for protected leave in its data analysis
 of administrative complaints that exceed the 180-day timeline required by Par. 121. For
 this quarter, IPR provided us with eleven (11) quarters of data using the updated
 methodology. The reported data indicate that greater than 90 percent of administrative
 complaints were closed within the 180-day period for the last three quarters. These data
 include cases that were administratively closed, were conducted as Supervisory
 Investigations, and received a full administrative investigation. However, consistent with
 prior COCL reviews, we focus on full administrative investigations for the purposes of
 evaluating compliance with this paragraph. When evaluating full investigations that have
 been closed, there have been steady and consistent increases in compliance quarter-over-
 quarter, particularly over the past four quarters. For instance, 67% of cases opened in
 2022 Q2 were closed within 180 days, 71% of cases opened in 2022 Q3 were closed within
 180 days, and 80% of cases opened in 2022 Q4 were closed within 180 days. For cases
 opened in 2023 Q1 (the last quarter for which 180 days could have passed), 89% were




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    closed within 180 days. A similar pattern of improvement was also noted in our 2019 Q3
    report 9 when we had first found Substantial Compliance with this paragraph.
    As the City and PPB have made commendable progress in conducting administrative
    investigations within 180 days, we find they have returned to Substantial Compliance with
    the requirements of this paragraph. However, while PPB and the City have been able to
    show demonstrated increases in compliance in recent quarters, we continue to suggest
    they perform a thematic review of case types that typically exceed 180-days to identify
    potential future time-saving steps that could be taken. Additionally, we maintain our
    suggestion that the City continue to assess the development of the CBPA to ensure that
    processes within the Office will facilitate compliance with the 180-day timeline going
    forward.


                                 •    Conduct a thematic review of oft overdue case types to
                                      identify common delays and take proactive measures
    COCL                              when faced with future similar cases
    Recommendations
                                 •    Consider the impact of system layers on timely resolution
                                      of complaints


    Assessment Based         IPR data indicating adherence to 180-day timeline; IA data
    On                       indicating adherence to 180-day timeline




                                Settlement Agreement Paragraph
    122. PPB shall conduct administrative investigations concurrently with criminal
    investigations, if any, concerning the same incident. All administrative investigations shall
    be subject to appropriate tolling periods as necessary to conduct a concurrent criminal
    investigation, or as otherwise provided by law, or as necessary to meet the CRC or PRB
    recommendation to further investigate.


    Compliance Label         Substantial Compliance



9

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/Q3+2019+COCL+Compliance+and+Outcome+Assessment+Quarterly+Report+FINAL+11212019.pdf


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                             Review of Criminal-IA Concurrent Investigation Audit reports;
 Methodology
                             Review of Directive 0330.00


                                      Compliance Assessment
 In the third quarter of 2023, the PPB continued to provide documentation indicating when
 an IA investigation began compared to when the criminal investigation began. In this
 quarter, there were seven cases that required both a criminal and an IA investigation. In
 all but three cases, the IA investigation and criminal investigation were initiated on the
 same day. In the remaining cases, the criminal investigation was initiated after the IA
 investigation for two, and the IA investigation was initiated after the criminal investigation
 for one. Further, a review of the AIM data associated with the cases indicates that
 investigations were not unreasonably delayed. We therefore continue to find that case
 investigations meet the criteria for “concurrent” and, as a result, find that the PPB has
 maintained Substantial Compliance with Paragraph 122.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             Criminal-IA Concurrent Investigation Audit reports
 On




                                Settlement Agreement Paragraph
 123. If PPB is unable to meet these timeframe targets, it shall undertake and provide to DOJ
 a written review of the IA process, to identify the source of the delays and implement an
 action plan for reducing them.


 Compliance Label            Substantial Compliance


 Methodology                 Review of Administrative Investigations Report




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                                      Compliance Assessment
 In the third quarter of 2023, the PPB closed 35 administrative investigations, three of
 which exceeded the 180-day timeline. The PPB provided the COCL with an Administrative
 Investigations Report for each of these three cases as well as a report for cases that did not
 exceed the 180-day total timeline but exceeded the timeline for one or more individual
 investigative stages. For the three cases that exceeded the 180-day timeline, reasons were
 largely similar to what we have seen in the past, including being impacted by the time
 period when PPB was unable to schedule Police Review Boards (PRBs) as a result of not
 having enough PRB facilitators. This problem has largely been addressed during the third
 quarter, allowing for a greater number of PRBs to be scheduled. As we continue to see the
 process intended by Paragraph 123 is being followed, we therefore continue to find
 Substantial Compliance, though we maintain our suggestion that supervisors identify
 remedies for delays in individual stages, even if the entire investigation timeline was under
 180 days.


                                 •    Maintain self-improvement loop for stages that exceed
 COCL
                                      their stage timeline, even if the case does not exceed the
 Recommendations
                                      180-day timeline


 Assessment Based
                             Administrative Investigations Report
 On



B. On Scene Public Safety Statements and Interviews

                                Settlement Agreement Paragraph
 124. Within 90 days of the Effective Date, the City and PPB shall review its protocols for
 compelled statements to PSD and revise as appropriate so that it complies with applicable
 law and current professional standards, pursuant to Garrity v. New Jersey, 385 U.S. 493
 (1967). The City will submit the revised protocol to DOJ for review and approval. Within
 45 days of obtaining DOJ’s approval, PPB shall ensure that all officers are advised on the
 revised protocol.


 Compliance Label            Substantial Compliance



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 Methodology                 Review of Directive 1010.10



                                      Compliance Assessment
 During the third quarter of 2023, the PPB maintained their protocols for compelled
 statements to PSD, and all officers have been advised on the protocol. As a result, we find
 the PPB has maintained compliance with Paragraph 124.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             Current PPB policy
 On




                                Settlement Agreement Paragraph
 125. Separation of all witnesses and involved officers to lethal force events is necessary in
 order to safeguard the integrity of the investigation of that event. Immediately following
 any lethal force event, PPB shall continue to issue a communication restriction order
 (“CRO”) to all witness and involved officers, prohibiting direct or indirect communications
 between those officers regarding the facts of the event. The CRO will continue, unless
 extended further, until conclusion of the Grand Jury or, if no Grand Jury is convened, until
 a disposition is determined by the District Attorney.


 Compliance Label            Substantial Compliance


 Methodology                 Reviewed CROs for 2023 second quarter OIS events



                                      Compliance Assessment
 In the third quarter of 2023, one OIS incident involving PPB officers occurred in Gresham.
 Traditionally, the PPB demonstrates compliance with this paragraph through excerpts
 from the criminal investigation file (as opposed to administrative investigations). In the


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 OIS for this quarter, the criminal investigation is not being conducted by the PPB; instead,
 it is being conducted by the Gresham Police Department. This is similar to the OIS which
 occurred in the second quarter of 2023 in that evidence of the CROs was not immediately
 available during the pendency of the criminal investigation. However, as a follow-up to
 our last report, we have now received and reviewed the CROs and rescindments for the
 OIS in the second quarter. We anticipate a similar process will occur for the OIS in this
 quarter and will therefore provide updates in our Q4 report. For this quarter, we continue
 to find the PPB in Substantial Compliance with the requirements of this paragraph.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             CROs for 2023 Q2 OIS
 On




                                Settlement Agreement Paragraph
 126. PPB shall continue to require witness officers to lethal force events to give an on-scene
 briefing to any supervisor and/or member of the Detective Division to ensure that victims,
 suspects, and witnesses are identified, evidence is located, and provide any information
 that may be required for the safe resolution of the incident, or any other information as
 may be required.


 Compliance Label            Partial Compliance


 Methodology                 Review of OIS case file excerpts



                                      Compliance Assessment
 In the third quarter of 2023, one OIS incident involving PPB officers occurred in Gresham.
 Traditionally, the PPB demonstrates compliance with this paragraph through excerpts
 from the criminal investigation file (as opposed to administrative investigations). In the
 OIS for this quarter, the criminal investigation is not being conducted by the PPB; instead,



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 it is being conducted by the Gresham Police Department. Therefore, the on-scene walk-
 through would not have been conducted by the PPB but by the GPD.
 Recently, the PPB has developed a draft SOP to resolve our prior recommendations related
 to witness officers being mentally incapacitated with respect to this paragraph. We will
 therefore provide an update once the SOP has been finalized.


                                 •    To achieve Substantial Compliance, finalize the SOP
 COCL                                 related to mental incapacitation preventing a walk-
 Recommendations                      through, including the criteria for making such a
                                      determination


 Assessment Based
                             OIS case file excerpts
 On




                                Settlement Agreement Paragraph
 127. In agreement and collaboration with the Multnomah County District Attorney, PPB
 shall request that involved officers in lethal force and in-custody death events provide a
 voluntary, on-scene walk-through and interview, unless the officer is incapacitated.


 Compliance Label            Substantial Compliance


 Methodology                 Review of OIS case file excerpts



                                      Compliance Assessment
 In the third quarter of 2023, one OIS incident involving PPB officers occurred in Gresham.
 Traditionally, the PPB demonstrates compliance with this paragraph through excerpts
 from the criminal investigation file (as opposed to administrative investigations). In the
 OIS for this quarter, the criminal investigation was not being conducted by the PPB;
 instead, it is being conducted by the Gresham Police Department. Therefore, the on-scene
 walk-through would not have been conducted by the PPB but by the GPD.




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 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             OIS case file excerpts
 On



C. Conduct of IA Investigations

                                Settlement Agreement Paragraph
 128. Currently, both IPR and PPB’s PSD have authority to conduct administrative
 investigations, provided that IPR interview of PPB Officers must only be conducted jointly
 with IA. Within 120 days of the Effective Date, the City will develop and implement a plan
 to reduce time and effort consumed in the redundant interview of witnesses by both IPR
 and IA, and enable meaningful independent investigation by IPR, when IPR determines
 such independent investigation is necessary.


 Compliance Label            Partial Compliance


 Methodology                 Review of City transition plan; Interviews of PPB and City staff



                                      Compliance Assessment
 During the third quarter of 2023, both IPR and IA maintained their respective
 administrative investigations, using the system we have previously found compliant with
 Paragraph 128. Aside from their own independent investigations, our review of cases this
 quarter also highlighted IPR’s thorough work in conducting intake investigations for
 follow-up by the PPB, particularly the range and depth of information collected during the
 intake process.
 In our last report, we noted that the position of IPR outside the authority of any Bureau
 was unique to the City and that IPR was receiving City support as needed through the City
 Attorney’s Office. Recently, we were provided information from the City demonstrating
 that the transition to a new form of government will account for IPR’s sunsetting (and the
 emergence of the new accountability system) by placing them all under the umbrella of the


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 Community Safety service area. 10 Thus, the City has a demonstrated plan for incorporating
 independent police review into the new system of government, which will resolve the issue
 going forward. However, the fact remains that the current structure of City support for
 IPR is inconsistent with the support that was present when we first found Substantial
 Compliance with this paragraph. While we acknowledge this will resolve the issue going
 forward, we would need to await actual implementation.


                                      •    To achieve Substantial Compliance, implement plan to
 COCL
                                           house IPR (and the future accountability system) under
 Recommendations
                                           the Community Safety service area.


 Assessment Based
                                  Review of transition documents; Interviews of City staff
 On




                                    Settlement Agreement Paragraph
 129. The City and PPB shall ensure that all allegations of use of excessive force are subject
 to full and completed IA investigations resulting in findings, unless there is clear and
 convincing evidence to IPR that the allegation has no basis in fact.


 Compliance Label                 Substantial Compliance


                                  Review of administrative closure justifications for allegations of
 Methodology
                                  excessive force


                                           Compliance Assessment
 In the third quarter of 2023, data provided by IPR had three complaints containing four
 allegations of excessive force that were administratively closed by IPR. However, in
 following up with IPR, we were informed that one of these cases was administratively
 closed because the complainant wouldn’t agree to interview and nothing in the general
 offense indicated force was used; notably, the complainant was made aware IPR can re-


10 The placement in the Community Safety service area is subject to change.




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 open the case if they return. This decision by IPR preserves the complainant’s allegation
 whereas a non-sustained finding would have prevented future investigation. The second
 case contained two allegations of excessive force that were both refuted by footage from
 security cameras and an Officer’s recording. The third case was closed due to Mobile
 Audio Video and Project Respond witnesses refuting the allegations.
 In follow-up to prior reports, IPR now has an updated SOP, which memorializes their
 criteria for administratively closing force cases when a complainant does not make
 themselves available to investigators and no other information to draw on is available.
 Additionally, we found no instances of supervisors not forwarding allegations. We
 therefore find that the City and PPB have to maintain Substantial Compliance for Par. 129
 though will continue to review FDCRs and AARs to ensure similar problems do not re-
 surface in the future.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             Administrative closure of allegations of excessive force
 On




                                Settlement Agreement Paragraph
 130. The City and PPB shall continue to expressly prohibit all forms of retaliation, including
 discouragement, intimidation, coercion, or adverse action, against any person who reports
 misconduct, makes a misconduct complaint, or cooperates with an investigation of
 misconduct.


 Compliance Label            Substantial Compliance


 Methodology                 Review of Directive 310.20



                                      Compliance Assessment
 During the third quarter of 2023, the PPB maintained Directive 310.20 (Discrimination,
 Harassment, and Retaliation Prohibited), which contains the requirements of Paragraph

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 130 (see Policy #2 within the directive). During the third quarter of 2023, there were four
 complaints involving Directive 310.20. At the time of this report, two of the complaints are
 still open—one with sustained findings and the other still being investigated. The other
 two complaints are closed - one due to no misconduct identified and the other was
 forwarded on for precinct review for further discussion with members. However, as the
 PPB continues to maintain Directive 310.20 and we continue to see instances where it is
 invoked, we continue to find Substantial Compliance with the requirements of Paragraph
 130.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             Directive 310.20
 On




                                Settlement Agreement Paragraph
 131. COCL Summary. Paragraph 131 states that “The City and PPB shall retain Police
 Review Board procedures currently utilized for purposes of investigation and making
 recommended findings on administrative complaints, except as outlined below.” The
 subsections of Par. 131 refer to PRB membership, rotation of CRC members serving on the
 PRB, requirements and qualifications for PRB members, provisions for removing
 community members or CRC members serving on the PRB, term limits for CRC members
 serving on the PRB, the requirement for CRC members to recuse themselves from the CRC
 if part of the PRB hearing the case, and stipulated discipline. (For details and exact
 language, see the Settlement Agreement).


 Compliance Label            Partial Compliance


 Methodology                 Review of Directive 336.00; Review of City Code 3.20.140



                                      Compliance Assessment



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 During the third quarter, the City updated City Code 3.20.140 the pool of potential PRB
 facilitators to now include the PPB Discipline Coordinator. This revision addresses prior
 barriers to ensuring timely PRB’s due to a lack of available facilitators. However, in
 observing PRBs during the third quarter, we continued to find challenges faced by the
 review board in conducting their reviews. For instance, in this quarter, we observed two
 different PRBs wherein the board recommended officers be cleared of violations related
 to Directive 1010.00 (Use of Force). Yet in both cases, the officers’ actions and tactics were
 found to be tactically deficient, contributing to the need to use force. While this may hold
 implications for Directive 315.30 (Satisfactory Performance), Directive 1010.00 holds
 more specific language about force avoidance and it’s therefore unclear why the tactical
 deficiencies were not tied to 1010.00 rather than 315.30. We therefore continue to find
 the City and PPB to be in Partial Compliance with the requirements of this paragraph.


 COCL                            •    To return to Substantial Compliance, conduct PRBs in
 Recommendations                      accordance with prior COCL and DOJ guidance


 Assessment Based
                             Observation of PRBs and PRB documents
 On




                                Settlement Agreement Paragraph
 132. By majority vote, the PRB may request that investigations of misconduct be returned
 to its investigating entity, i.e., PSD or IPR, to complete the investigation as to factual
 matters necessary to reach a finding regarding the alleged misconduct. The investigating
 entity must make reasonable attempts to conduct the additional investigation or obtain
 the additional information within 10 business days or provide a written statement to the
 PRB explaining why additional time is needed.


 Compliance Label            Substantial Compliance


 Methodology                 Review of PPB Directive 336.00



                                      Compliance Assessment


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 During the third quarter of 2023, the PPB maintained Directive 336.00 (Police Review
 Board), which memorializes the authority of PRB to send a case back for additional
 investigation. There were no such instances during this quarter. As Paragraph 132 has
 been placed into policy and adequately covered, we find the PPB has maintained
 Substantial Compliance with the requirements of this paragraph.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based
                             PPB Directive 336.00
 On




                                Settlement Agreement Paragraph
 133. COCL Summary: Paragraph 133 states that, “If an officer’s use of force gives rise to a
 finding of liability in a civil trial,” PPB shall be required to take various actions. The
 subsections of Par. 133 include requirements for findings of liability including EIS
 documentation, re-evaluation for specialized units, automatic IA investigations, review of
 previous IA investigation if one was already completed, and a published summary if IA
 investigation did not reach the same finding. (For details and exact language, see the
 Settlement Agreement).


 Compliance Label            Substantial Compliance


 Methodology                 Review of SOP #32 and #42



                                      Compliance Assessment
 During the third quarter of 2023, the PPB maintained SOP #32 (Civil Liability and Tort
 Claims) and SOP #42 (Evaluation of Members’ Fitness to Participate in All Current and
 Prospective Specialized Units When the Use of Force Results in a Finding of Liability in a
 Civil Trial). The combination of these two SOPs contains the requirements of Paragraph
 133. Given this and the fact that no new findings of liability occurred in the third quarter



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 of 2023, we continue to find Substantial Compliance with the requirements of this
 paragraph.


 COCL                            •    No recommendations at this time
 Recommendations


 Assessment Based            SOP #32 and #42
 On



D. CRC Appeals

                                Settlement Agreement Paragraph
 134. The City shall expand the membership of the CRC to 11 members, representative of
 the many and diverse communities in Portland, who are neutral, unbiased, and capable of
 making objective decisions. The quorum of CRC members necessary to act may remain at
 its existing level.


 Compliance Label            Substantial Compliance


                             Review of City Code 3.21.080; Review of Citizen Review
 Methodology                 Committee (CRC) meeting minutes; Communication with City
                             staff


                                      Compliance Assessment
 CRC continues to have 11 members, which includes community members who represent
 the community at large. During the fourth quarter, several CRC members resigned for
 differing personal reasons and we will update our Q4 report with additional information.
 There were no appeals during the third quarter of 2023 for the CRC to hear. During the
 third quarter of 2023, the CRC met once (September 6), during they received an update
 from the IPR Director as well as an update of the PAC recommendations that were to be
 presented to City Council. The meeting recordings can be found on IPR‘s Office website as




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 well as in the meeting minutes. 11 As a result, we continue to find the City in Substantial
 Compliance with Paragraph 134.


 COCL                                    •    No recommendations at this time
 Recommendations


 Assessment Based                City Code 3.21.080; Review of CRC minutes and CRC-related
 On                              personnel




                                    Settlement Agreement Paragraph
 135. The City and PPB agree that the CRC may find the outcome of an administrative
 investigation is unreasonable if the CRC finds the findings are not supported by the
 evidence.
 136. In its review process for purposes of the appeal, the CRC may make one request for
 additional investigation or information to the investigating entity, i.e., PSD or IPR at any
 point during its review. The investigating entity must make reasonable attempts to
 conduct the additional investigation or obtain the additional information within 10
 business days or provide a written statement to the CRC explaining why additional time is
 needed. The request for additional investigation or information may contain multiple
 points of inquiry, but no follow-up requests will be permitted. The additional request may
 be voted on by a quorum, the members voting must have read the Case File in order to
 vote, and any request with multiple points of inquiry must be prioritized.


                                 135. Substantial Compliance
 Compliance Label
                                 136. Substantial Compliance


                                 Review of PSF-5.03; Communications with City staff and CRC
 Methodology
                                 leadership



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                                      Compliance Assessment
 The City maintains PSF-5.03, which memorializes CRC’s authority as related to Paragraphs
 135 and 136. No appeals occurred during this quarter; therefore, these paragraphs were
 not implicated. We continue to find the City has maintained Substantial Compliance with
 this paragraph.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based            Charter Code and Policy Code PSF-5.03; Meeting observations
 On




E. Discipline

                                Settlement Agreement Paragraph
 137. Within 60 days of the Effective Date, PPB and the City shall develop and implement a
 discipline guide to ensure that discipline for sustained allegations of misconduct is based
 on the nature of the allegation and defined, consistent, mitigating and aggravating factors
 and to provide discipline that is reasonably predictable and consistent.


 Compliance Label            Partial Compliance


                             Review of Corrective Action Recommendation (CAR) documents;
 Methodology
                             Review of Department of Justice letter


                                      Compliance Assessment
 For the third quarter of 2023, we reviewed one CAR document provided by the PPB. For
 this CAR, the Commander provided their rationale for the discipline recommendations and
 the corrective action history for the officer. The Commander did not identify any mitigating
 or aggravating factors. However, while PPB uses an Executive Order to guide the use of the
 Corrective Action Guide, there is currently no updated Directive 338.00 (currently titled
 Discipline Guide) to reflect the new CAG, which has replaced the Discipline Guide. Near the

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 end of the third quarter, the DOJ provided the PPB comments on Directive 338.00 and PPB
 provided responses in the fourth quarter. However, the policy remains unchanged and we
 therefore maintain our recommendations to update Directive 338.00, publicly post the
 directive, and provide a link to the Corrective Active Guide.


                                 •    To return to Substantial Compliance, update Directive
 COCL
                                      338.00, publicly post the directive, and provide link to the
 Recommendations
                                      Corrective Active Guide


 Assessment Based
                             CARs; Failure to update Directive 338.00
 On



F. Communication with Complainant and Transparency

                                Settlement Agreement Paragraph
 138. Within 180 days of the Effective Date, the City shall enhance its existing website to
 ensure that a complainant can file and track his or her own complaint of officer misconduct.
 139. Within 120 days of the Effective Date, the City shall review its protocols to ensure that
 the City shares with complainants requested documentation about his or her own
 complaint to the extent permitted by law.
 140. The City shall ensure that IPR provides each complainant a tracking number upon
 receipt of the complaint, informs each complainant of the complaint classification,
 assignment (precinct or IA) and outcome of the compliant (sustained, unproven, etc.) in
 writing (whether mail, email/text, or fax), including information regarding whether the
 City took any corrective action. The City Attorney’s Office shall determine whether
 disclosures regarding corrective action are required on a case-by-case basis consistent
 with Oregon’s Public Records Law.


                             138. Substantial Compliance
 Compliance Label
                             139. Substantial Compliance




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                             140. Substantial Compliance


                             Review of IPR website; Review of IPR policy; Review of findings
 Methodology
                             letters


                                      Compliance Assessment
 We continue to see evidence of IPR conforming with Paragraphs 138, 139, and 140. IPR
 has maintained many different avenues for submitting a complaint. When an individual
 submits a complaint online, they receive a unique tracking number and can request a
 status update with that number. If they submit a complaint through another avenue, such
 as mail, telephone, or walk-in, the IPR employee will submit the complaint through their
 online system to generate a tracking number, which will be given to the complainant. IPR
 and the City will share requested documents with complainants in line with Oregon Public
 Records Request laws. From a protocol and operation standpoint, IPR has systems in place
 to ensure they are complying with the requirements of Paragraphs 138, 139, and 140.
 As with previous quarters, we reviewed a random sample of case files with the
 requirements of these paragraphs in mind. We were able to locate consistent
 documentation sent to complainants regarding the status of their cases, including when
 the cases were opened, when findings had been made, and when the cases were closed. As
 such, the COCL finds that the City is in Substantial Compliance with Paragraphs 138, 139,
 and 140.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based            IPR policy; Complaint tracking webpage; Finding and closure
 On                          letters to complainant; Interview of IPR personnel




                                Settlement Agreement Paragraph
 169. PPB shall apply policies uniformly and hold officers accountable for complying with
 PPB policy and procedure.




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 Compliance Label                 Partial Compliance

                                  Review of sample of accountability cases; Review of use of force
 Methodology                      events; Review of EIS entries; Review of force audit; Interviews
                                  with PPB and City personnel

                                           Compliance Assessment
 We continue to evaluate Par. 169 in a summative fashion, reflecting the accountability
 system (and the systems inputs) as a whole. As demonstrated in our assessment of other
 paragraphs, the accountability system operating within the PPB and the City continues to
 demonstrate both strengths and weaknesses. For instance, during this quarter, we
 continued to find that each administrative complaint we reviewed 12 had been handled
 appropriately (either as an administrative closure, Supervisory Investigations (SI),
 Precinct Referrals (PR), or full investigation). In addition, we found that all cases we
 reviewed led to an investigation with findings, was conducted in accordance with best
 practices, and the findings were reasonable under a preponderance of evidence standard.
 We also note that some of the shortcomings in holding officers have accountable that we
 have reported on in our past two reports have recently been resolved or at least have not
 surfaced over the past two quarters. For instance, as noted in our assessment of Pars. 70,
 73, and 77, there have been improvements in the force reviews by the chain-of-command
 and supervisors. The PPB has also progressed in their rollout of BWCs which will provide
 objective video evidence of PPB officer interactions and activities. Additionally, the PPB
 has indicated they will be providing greater guidance to supervisors as to making findings
 of policy violation within AARs. All of these are positive steps though some concerns still
 remain, including with the PRB process. Furthermore, the change in accountability
 systems and processes planned by the City will need to be closely monitored going forward
 to ensure Substantial Compliance with this paragraph. As the implementation is still in its
 beginning phases, we cannot yet say that all of COCL’s prior concerns have been resolved.
 We continue to believe that the investigative abilities of the City and the PPB remain strong
 overall and, when an investigation is conducted, it is conducted comprehensively.
 However, the accountability system is not reliable if the system does not result in fair and
 consistent resolutions and until all concerns have been address, we will continue to find
 that Paragraph 169 remains in Partial Compliance.




12 On a quarterly basis, the COCL reviews 20 randomly selected cases that include all investigative pathways a complaint

might take.


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                                          •    To achieve Substantial Compliance, the PPB should
                                               expand their approach to conducting objective
 COCL                                          investigations and hold officers accountable when policy
 Recommendations                               violations are found
                                          •    To achieve Substantial Compliance, remedy barriers to
                                               ensure a fair and consistent accountability system

 Assessment Based                    Sample of accountability cases; Sample of use of force events;
 On                                  Interviews with PPB and City personnel



Accountability Outcome Assessment

As part of our outcome assessment, we used data provided by the City to identify trends over
the past four quarters (2022 Q4 – 2023 Q3) in complaints reported against PPB members.
These trends include topics such as allegation type 13, directive name, member’s rank, and
complaint outcomes (i.e., sustained, not sustained, or exonerated). As seen in Table 4, the
number of reported complaints over the past four quarters amounted to 250 with nearly
34% stemming from East Precinct, 26% stemming from Central Precinct, 18.4% stemming
from North Precinct, and the remaining complaints filed against officers in some other Unit
or Division (e.g., Traffic, Detectives, etc.) or was coded as a “Mass Event – Multiple Precincts”
(.8% of the total sample). We also note that the number of complaints filed by quarter has
generally remained around the mid-50s, representing an overall reduction compared to
2021 Q2 and prior. Finally, although not represented in the below tables, the data show that
the PPB initiated approximately 20% of complaints, with the remaining 80% of the reported
complaints being initiated by a community member.




13  PPB defines the allegation types as follows: Conduct is unjustified, unprofessional, or inappropriate actions,
unsatisfactory performance. Control is inappropriate use of a hold or other technique to control a person’s movement.
Courtesy is discourteous or rude statements or conduct. Disparate Treatment is inappropriate action or statement based
on a characteristic of a person such as race, sex, or age or disability. Force is inappropriate use of physical force or pointing
a firearm at a person. Procedure is failure to follow an administrative or procedural requirement.


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                             Table 4. Complaints by Precinct (2022 Q4 – 2023 Q3)

                                                             Number of Proportion
                                                             Complaints of
                                                                        Complaints
                       Central Precinct                      65                 26.0%
                       East Precinct                         85                 34.0%
                       North Precinct                        46                 18.4%
                       Other                                 54                 21.6%
                       TOTAL                                 250                100%



                                       Complaints Filed By Quarter
               160
                           140
               140

               120               112

               100                                                                    90
                      83
                80                     68   66    63
                                                       53        55   55   56    53        55   52
                60                                          45
                40

                20

                 0
                     2020 2020 2020 2020 2021 2021 2021 2021 2022 2022 2022 2022 2023 2023 2023
                      Q1 Q2 Q3 Q4 Q1 Q2 Q3 Q4 Q1 Q2 Q3 Q4 Q1 Q2 Q3


                             Figure 7. Complaints by Quarter (Q1 2020- Q3 2023)



We then assessed the data based on the allegation type. For this analysis, we included both
open and closed cases for the past four quarters. We then looked at the breakdown of
allegation type 14 overall as well by Precinct. Across the sample, there were a total of 547
allegations made in the past four quarters, 15 the most common of which was allegations of
Procedure (41.3% of the sample), followed by allegations of Conduct (21.8%) and Force
(20.7%). Allegations of Courtesy (9.0%), Disparate Treatment (4.9%), and Control (2.4%)



15 A single complaint may have more than one allegation.




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  were less common, comparatively. These trends generally remained the same across
  Precincts, though there are some differences of note. For instance, while allegations of
  Procedure made up approximately 40% of the entire sample, they made up approximately
  60% of allegations within East Precinct. Additionally, rates of Conduct were much higher in
  Central Precinct (25%) and North Precinct (27.0%) compared with their rates in East
  Precinct (9.7%). Finally, the data indicate that that 26.3% of allegations made in Central
  Precinct related to Use of Force compared with 17.6% in East Precinct and 11% in North
  Precinct.
  Table 5. Reported Allegations against PPB members by Allegation Type (2022 Q4 - 2023 Q3)


                                                 Central
                                 All PPB         Precinct      East Precinct   North Precinct       Other
                               N       %       n       %        n       %       N        %        N     %
                              547 100%        156 28.5%        176 32.2%       100     18.3%     115 21.0%
Allegation Type
                  Conduct 119        21.8%     39    25.0%      17     9.7%      27      27.0%   36   30.3%
                   Control 13        2.4%       5     3.2%       5     2.8%      2        2.0%    1   0.9%
                  Courtesy 49        9.0%      16    10.3%      18    10.2%      10      10.0%    5   4.3%
      Disparate Treatment 27         4.9%       0     0.0%       6     3.4%      11      11.0%   10   8.7%
                     Force 113       20.7%     41    26.3%      31    17.6%      11      11.0%   30   26.1%
                Procedure 226        41.3%     55    35.3%      99    56.3%      39      39.0%   33   28.7%


  Complaints within the sample involved specific allegations against 50 different PPB
  directives. In Table 5, we examined PPB policy violations by reviewing the top five most
  common violations over the past four quarters (2022 Q4 – 2023 Q3). Across the entire Police
  Bureau, the most commonly alleged violation of policy related to Directive 1010.00 (Use of
  Force) which accounted for 21.3% of allegations, and Directive 315.30 (Satisfactory
  Performance) which accounted for 19.1% of the allegations. These were followed by
  allegations against Directive 310.00 (Professional Conduct and Courtesy) and Directive
  650.00 (Search, Seizures and Inventories) which made up 11.6% of allegations. All other
  directives found in the data made up less than 5% of allegations. When focusing on these
  five allegation types, we see some differences across Precincts. For instance, Central Precinct
  had a higher proportion of allegations related to Use of Force (29%) compared with East
  Precinct (17.6%) and North Precinct (10.2%). Alternatively, East Precinct was over-
  represented with respect to allegations of Search, Seizures, and Inventories (17%) compared
  to Central Precinct (8.4%) and North Precinct (11.2%). Finally, we note that nearly half the
  allegations related to Laws, Rules, and Orders came from Central Precinct whereas North
  Precinct did not have any allegations of violations for this directive.



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      Table 6. Allegations Against PPB Members by Specific Directive (Top 5) (2022 Q4 - 2023 Q3)


                                                           Central
                                          All PPB         Precinct      East Precinct   North Precinct       Other
                                        N        %       N       %       n       %       n       %         n     %
                                       544     100%     155 28.5%       176 32.4%       98     18.0%      115 21.1%
Violation Type (Policy #)
              Use of Force (1010.00)   116    21.3%     45     29.0%     31    17.6%    10       10.2%     30         26.1%
  Satisfactory Performance (315.30)    104    19.1%     34     21.9%     38    21.6%    19       19.4%     13         11.3%
 Professional Conduct and Courtesy
                            (310.00)   71     13.1%     21     13.5%     18    10.2%    10       10.2%     22         19.1%
    Search, Seizures and Inventories
                            (650.00)   63     11.6%     13      8.4%     30    17.0%    11       11.2%     9          7.8%
    Laws, Rules and Orders (315.00)    25      4.6%     17     11.0%      4     2.3%     0       0.0%      4          3.5%


      In Table 6, we provide the investigative path that each allegation took (i.e., administratively
      closed, supervisory investigation, precinct referral, or full investigation). Overall, a 41.4% of
      allegations were administratively closed though we note that in interpreting the data, the
      reader should recall that a single complaint may have more than a single allegation.
      Therefore, while a single allegation may be administratively closed, other allegations within
      the same compliant may go through a full investigation. Indeed, 26.4% of allegations were
      subjected to a full administrative investigation with findings.          Furthermore, 21.7% of
      allegations were forwarded on for a supervisory investigation, with the remaining 9.4% of
      allegations resolved through mediation and 1.2% of allegations being forwarded as a
      precinct referral. In looking at differences across Precincts, the starkest difference in the
      past four quarters relates to North Precinct’s rate of Administrative Closures and Full
      Investigations compared to all others. Whereas other Precincts had allegations
      administratively closed approximately one-third of the time, North Precinct had nearly 70%
      of allegations administratively closed. Conversely, allegations only received a full
      investigation 6.3% of the time whereas all other Precincts were again near 33% of
      allegations received a full investigation. If not done so already, the City and PPB should
      further explore this difference.




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       Table 7. Investigative Path by Allegation (2022 Q4 - 2023 Q3)


                                                               Central
                                               All PPB        Precinct     East Precinct    North Precinct       Other
                                             N        %      N       %      n       %        n       %         n     %
                                            406     100%    155 28.5%      176 32.4%        98     18.0%      115 21.1%
Allegation Path
   Administrative Closure (IA or IPR)       168   41.4%      38    34.2%   47       32.6%   55     69.6%       28         38.9%
         Full Investigation (IA or IPR)     107   26.4%      38    34.2%   38       34.2%    5     6.3%        26         36.1%
           Supervisory Investigation         88   21.7%      20    18.0%   45       31.3%   15     19.0%       8          11.1%
                           Mediation         38    9.4%      14    12.6%   11        7.6%    4     5.1%        9          12.5%
                     Precinct Referral       5     1.2%       1     .9%     3        2.1%    0     0.0%        1          1.4%


       We then focused on allegations which received a full and complete administrative
       investigation with findings. In reviewing these data, we also refer the reader to our
       assessment of Par. 169 which states that the COCL’s review of administrative complaints for
       this quarter found that all complaints were reasonably investigated and adjudicated,
       regardless of their outcome. As seen in Table 7, the most common finding for an allegation
       receiving a full investigation was Not Sustained (including Not Sustained with a Debrief),
       making up 43% of such allegations. Next most common were findings of Unfounded
       (including Unfounded with a Debrief) (28.9%) followed by Exonerate (including Exonerate
       with a Debrief) (19.6%). Finally, the least most common finding was Sustained, which was
       the finding for 8.4% of allegations which received a full investigation. For this analysis, no
       meaningful differences were found across Precincts.
       Table 8. Reported Complaints against PPB Members by Findings (2022 Q4 - 2023 Q3)


                                                     Central
                                 All PPB             Precinct       East Precinct     North Precinct      Other
                               n        %         n        %         n       %         n        %      n      %
                              107     100%        38     35.5%      38     35.5%       5      4.7%     26   24.3%
     Finding
             Exonerated        21         19.6%    3        7.9%     9     23.7%       0      0.0%      9      34.6%
           Not Sustained       46         43.0%   18       47.3%    16     42.1%       3      60.0%     9      34.6%
               Sustained       9          8.4%     5       13.2%     2     5.3%        1      20.0%     1      3.8%
             Unfounded         31         28.9%   12       31.6%    11     28.9%       1      20.0%     7      26.9%


       We further broke down findings across Allegation Types (i.e., Use of Force, Control,
       Procedure, etc.) to identify differences within the groups in the rate by which they are
       Sustained. In order to have a large enough sample size for this analysis, we expanded our
       timeframe to include all closed allegations from 2020 to the end of 2023 Q3. Of the different

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allegation types, the data show that allegations of Procedure are the most likely to be found
Sustained (40.8% of allegations Sustained), followed by Conduct (24.2%). All other
allegation types were Sustained less than 7% of the time 16.
Table 9. Allegation Type by Sustained Rate. (2020 Q1 – 2023 Q3)

                                           Total Number              Total Number               Rate of Allegations
                                           of Allegations            of Allegations             Sustained
                                                                     Sustained

  Conduct                                  269                       65                         24.2%
  Control                                  8                         0                          0.0%
  Courtesy                                 16                        1                          6.3%
  Disparate Treatment                      25                        1                          4.0%
  Force                                    388                       12                         3.1%
  Procedure                                125                       51                         40.8%


Finally, as part of this outcome assessment, we also examined information on the PPB
members who received the reported complaints. Over the past four quarters, there were 246
identifiable PPB members that were the subjects of one or more complaints. Most of the
complaints were against Officers (84.6%) and Sergeants (8.5%), while Detectives and
Lieutenants were the subjects of less than 4% of the reported complaints combined.
Similarly, Police Captains, Police Chief Assistants, and Police Commanders, accounted for
1.2% of the reported complaints for all PPB members combined. Civilians (i.e., Analyst III,
Criminalist, etc.) were subjects of less than 1% of the reported complaints. Additionally, of
the 246 PPB members that were subjects of reported complaints over the past four quarters,
83 PPB members were the subject of more than 1 complaints while 23 members were the
subject of 3 or more complaints. The data identified only three individuals who were the
subject of 4 or more complaints, with two of these members having 4 complaints and one
member having 7 complaints in the four quarters.

Using data provided by the City, we also analyzed judgements and settlements from civil
suits against PPB officers over the past two years. 17 The dataset contained a total of 64


16 The difference in sustained rates for use of force incidents may be attributed to the fact that allegations of excessive

force receive a full and complete investigation.
17 For this analysis, we included civil suits that were adjudicated in the past two years, though the suits were filed as far

back as 2016.


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different claims involving 70 payees. 18 In analyzing distributions, most judgements and
settlements were based on claims of “Bodily Injury (GL)” which accounted for 82.8% (N=53)
of the claim numbers. Claims of “Property Damage (GL)” accounted for 3.1% (N=2) of the
claim numbers found in the dataset, with the remaining claims involving cases of “Property
Damage/Bodily Injury,” which accounted for 14.1% (N=9) of the claim numbers. The
settlements and judgements were in the dataset were categorized by their “Transaction
Type” including Full Settlement (55.4%, N=36) 19, Agreed Judgement (40%, N=26),
Judgement-Court Award – Economic Damages (1.5%, N=1), Judgement-Jury Award – Non-
Economic Damages (1.5%, N=1), and Partial Settlement (1.5%, N=1). Across all payees, the
total amount of monetary compensation was $2,012,120.61, resulting in average payment of
$28,744.58 per payee. When examining Claim Type, claims involving “Bodily Injury (GL)”
resulted in an average claim payment of $34,261.63, claims involving “Property Damage
(GL)” resulted in an average claim payout of $15,049.25, and claims involving “Property
Damage/Bodily Injury” resulted in an average claim payment of $18,461.75. When
examining Transaction Types and associated payments, claims that were resolved through
a Full Settlement received an average payment of $40,333.33, claims that were resolved
through an Agreed Judgement received an average payment of $19,853.05. All other
Transaction Types only had one associated claim number and we list the payment amount
in Table 11.




18 One settlement or judgement may include more than one payee.

19 One claim number involved two payees, one with a Full Settlement and one with a Partial Settlement. Numbers for this

analysis therefore add up to 65.


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Table 10. PPB Settlements


                                                                          n         %
               Total Payees                                                    70         100
               Total Claims                                                    64

               Claim Type
                                               Bodily Injury (GL)              53       82.8%
                                          Property Damage (GL)                  2        3.1%
                                   Property Damage/Bodily Injury                9       14.1%

               Transaction Type
                                              Full Settlement                  36       55.4%
                                           Agreed Judgement                    26       40.0%
                 Judgment-Jury Award- Non-Economic Damages                      1        1.5%
                    Judgment-Court Award- Economic Damages                      1        1.5%
                                            Partial Settlement                  1        1.5%

               Settlement Amounts
                                                            Total         $ 2,012,120.61
                                                         Average          $ 28,744.58
                                                        Minimum           $ 1.00
                                                        Maximum           $ 400,000.00


Table 11. Average Amount by Claim Type and Transaction Type


               Claim Type
                                              Bodily Injury (GL)      $       34,261.63
                                         Property Damage (GL)         $       15,049.25
                                  Property Damage/Bodily Injury       $       18,461.75
               Transaction Type
                                            Full Settlement           $       40,333.33
                                         Agreed Judgement             $       19,853.05
               Judgment-Jury Award- Non-Economic Damages              $       41,036.62
                  Judgment-Court Award- Economic Damages              $          904.73
                                          Partial Settlement          $        2,000.00




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Section IX: Community Engagement and
Creation of Portland Committee on Community
Engaged Policing

    A. Portland Committee on Community Engaged
    Policing

                                Settlement Agreement Paragraph
 141. To leverage the ideas, talent, experience, and expertise of the community, the City, in
 consultation with the DOJ, shall establish a Portland Committee on Community Engaged-
 Policing (“PCCEP”), within 90 days of the Effective Date of the relevant amendments to this
 Agreement.
 142. The PCCEP shall be authorized to: (a) solicit information from the community and PPB
 about PPB’s performance, particularly with regard to constitutional policing; (b) make
 recommendations to the Chief, Police Commissioner, the Director of the Office of Equity
 and Human Rights, and community and, during the effective period of this Agreement, to
 the DOJ; (c) advise the Chief and the Police Commissioner on strategies to improve
 community relations; (d) contribute to the development and implementation of a PPB
 Community Engagement Plan; and (e) receive public comments and concerns. The
 composition, selection/replacement process and specific duties of the PCCEP shall be set
 forth in a separate Plan for Portland Committee on Community-Engaged Policing (“the
 PCCEP Plan”) which shall be substantially similar to Exhibit 1 to this Agreement. Amicus
 AMAC and Intervenor PPA shall be consulted regarding and DOJ shall review and approve
 any amendments to the PCCEP Plan proposed to occur during the effective period of this
 Agreement.
 143. PCCEP’s membership will come from a reasonably broad spectrum of the community.
 PCCEP members shall not have an actual or perceived conflict of interest with the City of
 Portland.


                             141. Substantial Compliance
 Compliance Label
                             142. Substantial Compliance


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                             143. Substantial Compliance


                             Observation of PCCEP meetings; Review of minutes, reports, and
 Methodology
                             recommendations; Interviews with City staff and PCCEP


                                      Compliance Assessment
 In the third quarter of 2023, PCCEP continued to function as a legitimate body for
 community engagement.
 The PCCEP held three full committee meeting (July 26, August 16, and September 20), as
 well as meetings of their Steering Committee (July 12), Settlement Agreement and Policy
 Sub-Committee (August 2 and September 6), and their Community Engagement Sub-
 Committee (July 19 and September 13). The community was able to participate in these
 meetings via Zoom.
 During the third quarter of 2023, the PCCEP did not develop or submit any new
 recommendations to the City.
 The PCCEP Plan referenced in Paragraph 142 notes “the PCCEP shall meet at least twice
 per year with the Chief, the Police Commissioner, PPB Precinct Commanders, PPB
 Neighborhood Response Teams, and a representative of the Office of Neighborhood
 Involvement Crime Prevention to assess and solicit comment on the PPB’s activities in
 regards to community outreach, engagement, and problem-solving policing.” In the third
 quarter, the Mayor attended PCCEP’s August 16 meeting, and discussed PCCEP’s role, and
 the process related to PCCEP recommendations. The other parties noted in this section of
 the PCCEP Plan have not met with PCCEP to discuss community engagement and outreach.
 We therefore continue to recommend PCCEP specifically invites the Mayor to attend a
 meeting with a defined agenda, and the Mayor/Police Commissioner (in particular, as the
 official this body reports to directly) prioritize meeting with PCCEP to maximize the
 group’s effectiveness.
 The City has made a good faith effort over the past several quarters to identify and recruit
 new PCCEP members, and Council appointed several new members in Q3. PCCEP closed
 this quarter with 12 members – leaving one non-youth seat vacant.
 As a full body, PCCEP comes from a reasonably broad spectrum of the community, with
 gender balance and approximately half the membership identifying as BIPOC. In this
 quarter, the COCL has not identified or been notified of an actual or perceived conflict of
 interest with a PCCEP member and the City of Portland.


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                                 •    To maintain Substantial Compliance with Paragraph 142,
                                      the City should continue to promptly respond to PCCEP’s
                                      recommendations and the Mayor and Police
                                      Commissioner should fulfill the requirement to meet with
 COCL                                 PCCEP “at least twice per year”
 Recommendations
                                 •    To maintain Substantial Compliance with Paragraph 143,
                                      the City should continue to identify and recruit sufficient
                                      PCCEP members to maintain a full body
                                 •    The City, with guidance from PCCEP, should prioritize the
                                      recruitment and retention of youth members on PCCEP


                             Content of PCCEP meetings; Interview with City staff; Substance
 Assessment Based
                             of reports and recommendations; Level of community
 On
                             engagement




                                Settlement Agreement Paragraph
 144. The City shall provide administrative support so that the PCCEP can perform the
 duties and responsibilities identified in this Agreement and in the PCCEP Plan.


 Compliance Label            Substantial Compliance


                             Observation of PCCEP meetings; Review of minutes, reports, and
 Methodology
                             recommendations; Interviews with City staff and PCCEP


                                      Compliance Assessment
 PCCEP’s staff support comes from the Community Safety Division (CSD) in the Office of
 Management and Finance. During the third quarter, PCCEP continued to be staffed by a
 full-time Project Manager as well as part-time staff shared with other CSD advisory boards
 and commissions. This additional support includes a Unit Manager (0.25 full-time
 equivalent [FTE]), one Project Assistant (0.25 FTE), and one Community Service Aide (.33
 FTE), bringing the total to 1.83 FTE.


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 Meeting notes continue to be posted in a timely fashion on the meeting’s event page. PCCEP
 staff continued to consistently tag minutes and agendas in the Documents section of
 PCCEP’s website to allow PCCEP members and members of the public to use the filter
 function and easily find all documents in one place. Videos of meetings have also continued
 to be posted in a timely manner on YouTube, and the link to PCCEP’s YouTube channel is
 accessible from PCCEP’s home page.
 We continue to recommend that the City maintain timely posting of information about
 PCCEP’s work so that the public is kept informed about these community engagement
 opportunities and productions. In addition, we recommend the City continue to fully
 support the PCCEP staff in their roles.


                                 •    To maintain Substantial Compliance, continue adequate
                                      staffing dedicated to supporting PCCEP
 COCL                            •    To maintain Substantial Compliance, continue posting
 Recommendations                      minutes of PCCEP meetings within 10 business days after
                                      a PCCEP meeting, including in the Documents section of
                                      the PCCEP website


 Assessment Based            Review of PCCEP website and YouTube channel; Interviews with
 On                          staff



    B. PPB’s Role in Public Engagement and Outreach
1. System Overview
Under the Settlement Agreement, the PPB is expected to introduce or expand its systems of
community engagement, both with PCCEP and other resources. This includes maintaining or
expanding its systems of measurement to better understand police-community relations and
develop tailored responses to issues or concerns.

2. The Community Engagement Plan

                                Settlement Agreement Paragraph
 145. To ensure constitutional policing, to closely interact with the community to resolve
 neighborhood problems, and to increase community confidence, PPB shall work with City


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 resources knowledgeable about public outreach processes to develop and finalize a CEO
 Plan.
 146. Within 120 days of the effective date of the relevant Amendments to this Agreement,
 the City, in consultation with the PCCEP, will conduct another reliable, comprehensive and
 representative survey of members of the Portland community regarding their experiences
 with and perceptions of PPB’s community outreach efforts and accountability efforts and
 where those efforts could be improved, to inform the work of the PCCEP and the
 development and implementation of the Community Engagement Plan.


                             145. Substantial Compliance
 Compliance Label
                             146. Substantial Compliance


                             Monitor progress on the implementation of the Community
 Methodology                 Engagement Plan; Interview City personnel and advisory group
                             members about community engagement and support


                                      Compliance Assessment
 The COCL continues to use the PPB’s Community Engagement Plan to provide the
 framework for evaluating compliance with Paragraphs 145 and 146. The plan has four
 components: public involvement, communications, access, and training. Overall, we
 continue to find Substantial Compliance with the requirements of these paragraphs. For
 instance, for Q3, the City and PPB provided documents related to meetings of the Latino
 Advisory Council, the Coalition of Advisory Groups, and the Asian and Pacific Islander
 Advisory Council. Additionally, the evidence provided shows high-ranking officials and
 key personnel with PPB attending a variety of advisory group meetings, community events,
 and neighborhood meetings. We therefore continue to find Substantial Compliance for
 Paragraphs 145 and 146.
 For Paragraph 146, we continue to suggest the City and PPB implement a new survey to
 evaluate community members’ perceptions of PPB service, including through the use of a
 contact survey for specific interactions. This was also echoed by the PCCEP (albeit in the
 fourth quarter), who recommended the City “implement a contact survey program that
 would give any Portlander who has contact with police an opportunity to submit feedback




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 about the content and quality of their interaction.” We will report on the City’s response
 to this recommendation in future reports.


                                 •    Conduct a police-focused community survey and, where
 COCL
                                      possible, incorporate measures of the quality of actual
 Recommendations
                                      encounters with PPB officers.


                             Reviews of City and PPB reports; Feedback from the City, PPB,
 Assessment Based
                             and advisory groups; Implementation of the Community
 On
                             Engagement Plan


3. Data Collection, Analysis, and Reporting
The PPB is required to collect, analyze, and report demographic data about police
interactions with the community to ensure constitutional policing and build community
trust (Paragraph 147–150).


                                Settlement Agreement Paragraph
 147. PPB shall continue to collect appropriate demographic data for each precinct so that
 the Precinct Commander, considering any input from the PCCEP, may develop outreach
 and policing programs specifically tailored to the residents of the precincts. The data shall
 also be provided to PCCEP to inform its work.
 148. PPB shall continue to require that officers document appropriate demographic data
 regarding the subjects of police encounters, including the race, age, sex, and perceived
 mental health status of the subject, and shall provide such information to the PCCEP and
 make such information publicly available to contribute to the analysis of community
 concerns regarding discriminatory policing. PPB shall consider enhancements to its data
 collection efforts, and report on its efforts to enhance data collection to the DOJ by no later
 than December 31, 2013, and quarterly thereafter.


                             Compliance Label
 Compliance Label
                             148. Substantial Compliance




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                                      Compliance Assessment
 For Paragraph 147, the PPB compiled and reported demographic data in 2020 pertinent
 to each precinct and posted it on their website. As noted in our last report, the PPB
 previously shared with precincts the updated demographics based on the 2017–2021
 American Community Survey Five-Year Estimates provided by the U.S. Census Bureau. As
 such, they remain in Substantial Compliance with Paragraph 147 for this quarter.
 Furthermore, they continue to keep the public informed of this data, as well as a wide array
 of other public safety data posted on the Bureau’s Open Data portal. 20
 The PPB remains in Substantial Compliance with Paragraph 148 as they continue to collect,
 analyze, and report demographic data from individuals who are stopped by the PPB using
 its Stops Data Collection app. In terms of data analysis and reporting requirements, the
 PPB’s Strategic Service Division continued to produce high-quality Stops Data Collection
 reports, both quarterly and annually, and share them with PCCEP and the public on the
 PPB’s website. The Stops Data Collection Report for the second quarter of 2023 was posted
 on July 25 of this year, and the report for the third quarter was posted on October 31 of
 this year. In the second quarter, stops increased from 3,527 stops to 4,401. White subjects
 accounted for 61% of all stops citywide, followed by Black or African American (17%),
 Hispanic or Latino (14%), Asian (5%), Middle Eastern (2%), Native Hawaiian or Other
 Pacific Islander (1%) and American Indian or Alaskan Native (less than 1%). Less than 1%
 of the stops involved an individual with a perceived mental health issue.
 The PPB’s 2022 Annual Stops Report was also released in July of this year. The report
 highlighted that stops across the city decreased in 2022 by 3%, though an increase in
 staffing of the Traffic Division would likely increase stops moving forward. The report also
 highlighted some key findings. Of particular note, the report found that “Native Hawaiian
 and other Pacific Islander was the only group stopped at a disparate rate compared to the
 2022 Injury Collision Benchmark.” Additionally, this was the first report where are request
 for consent searchers did not differ amongst racial and ethnic groups of drivers. However,
 the report indicated that drivers perceived to be Black/African American “were
 significantly more likely to be stopped for a Non-Moving Violation than other perceived
 racial / ethnic groups”. This trend is problematic, particularly in light of PPB’s reference to
 Senate Bill 1510 that limits the ability of officers to conduct stops for non-moving offenses.
 We agree with the report’s recommendation to ensure traffic stop activity aligns with
 Oregon state law. However, as PPB continues to put together high quality traffic stops
 analysis, we continue to find them in Substantial Compliance with Par. 148 and maintain



20 https://www.portlandoregon.gov/police/71673




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 our suggestions that the City and PPB continue to evaluate the implications of the reports
 and work with the community to address any potential disparities.


 COCL
 Recommendations             •    Continue the dialogue with community members around
                                  racial disparities in traffic stops and searches



                             COCL review of PPB precinct demographic reports; COCL review
 Assessment Based
                             of PPB Stops Data Collection reports; COCL review of relevant
 On
                             PPB directives




                                 Settlement Agreement Paragraph
 149. The COCL, PPB, and DOJ will jointly develop metrics to evaluate community
 engagement and outreach. PCCEP may review these metrics and may suggest additional
 metrics to DOJ and PPB.


 Compliance Label            Substantial Compliance


 Methodology                 Review of metrics requirement



                                      Compliance Assessment
 The City has completed the requirement to develop a set of metrics to evaluate community
 engagement, and therefore remains in Substantial Compliance. As noted in prior reports,
 several of these metrics have been used by the PPB to guide their Community Engagement
 Plan though others have yet to be implemented. Additionally, we agree with the DOJ that
 the PCCEP should take the opportunity in the near future to review the metrics to ensure
 that they continue to align with community expectations. Consistent with this suggestion,
 we maintain our position that the City and PPB should explore a contact-survey so as to be
 confident that the direct interactions that PPB members have with the community is
 characterized by fairness and respect (in addition to suggestions for organizational




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 improvement discussed in prior reports). This recommendation was also echoed by PCCEP
 in the fourth quarter of 2023.


                                 •    As part of everyday policing, the City should introduce a
 COCL                                 contact survey to measure the level of procedural justice
 Recommendations                      and public satisfaction with police-public interactions,
                                      especially interactions with constitutionally protected
                                      populations


 Assessment Based            The development of metrics that capture multiple dimensions of
 On                          community engagement




                                Settlement Agreement Paragraph
 150. Annually, PPB shall issue a publicly available PPB Annual Report, which shall include
 a summary of its problem-solving and community policing activities. A draft of the Annual
 Report shall be provided to the PCCEP for review and comment before the report is
 finalized and released to the public. Once released, PPB shall hold at least one meeting in
 each precinct area and at a City Council meeting, annually, to present its Annual Report
 and to educate the community about its efforts in community policing in regard to the use
 of force, and about PPB’s policies and laws governing pedestrian stops, stops and
 detentions, and biased-free policing, including a civilian’s responsibilities and freedoms in
 such encounters.


 Compliance Label            Substantial Compliance


                             Review of the PPB’s Annual Report; Interviews with PPB and
 Methodology
                             City staff involved with PCCEP


                                      Compliance Assessment
 The PPB remained in Substantial Compliance with Paragraph 150 for the third quarter of
 2023. In June, PPB shared the draft of the 2022 Annual Report with PCCEP at the
 Settlement and Policy Subcommittee Meeting. PPB held precinct meetings for each of the


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 three precincts on July 20, 25, and 27 at North, East and Central, respectively. They were
 held on Zoom and two to three dozen community members attended each one. The Chief
 then presented the report to City Council on August 23, 2023and it was unanimously
 accepted.


 COCL
                                 •    No recommendations at this time
 Recommendations


 Assessment Based            Review of progress on the content and presentation of the PPB’s
 On                          Annual Report




                                Settlement Agreement Paragraph
 151. PCCEP shall meet as needed to accomplish their objectives as set forth in the PCCEP
 Plan. PCCEP shall hold regular Town Hall meetings which shall be open to the public. To
 the extent that PCCEP meetings are subject to the Oregon Public Meetings Law, or similar
 regulatory or statutory requirements, the City shall be responsible to give advice necessary
 to the PCCEP to ensure compliance with those laws and agrees to represent PCCEP in any
 challenges regarding compliance with those laws.
 152. The City shall provide PCCEP members with appropriate training necessary to comply
 with requirements of City and State law.


                             151. Substantial Compliance

 Compliance Label
                             152. Substantial Compliance



                                      Compliance Assessment
 During the third quarter of 2023, the PCCEP remained active by holding three full
 committee meetings, a Steering Committee meeting, a Settlement Agreement and Policy
 Sub-Committee meeting, and their Community Engagement Sub-Committee meeting.
 Additionally, at least one representative of the City Attorney’s Office attended PCCEP
 meetings and continued to advise PCCEP as necessary to ensure compliance with public
 meetings laws. Furthermore, the City continues to train new PCCEP appointees as needed

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 based on the Guide for Volunteer Boards & Commissions materials prepared for all City
 advisory boards. These materials cover the Oregon Government Ethics Commission guide
 for public officials, the City’s code of ethics, restrictions on political activity for public
 officials, and the Oregon Attorney General’s Public Records and Public Meetings Manual. In
 the third quarter, the PPB provided the PCCEP Settlement and Policy subcommittee with a
 PowerPoint on Stops Data for their review, consideration and preparation of questions at
 their September meeting in anticipation of a live presentation by PPB and the Stops Data
 analyst and supervisor at the October meeting. As a result, we continue to find Substantial
 Compliance with the requirements of this paragraph.


                                 •    Continue to maintain records of training for new PCCEP
                                      members; ensure current and future PCCEP members
 COCL
                                      participate in all required trainings and are offered a
 Recommendations
                                      meaningful opportunity to participate in any optional
                                      training


 Assessment Based            Regularity and content of PCCEP meetings; Provision of City’s
 On                          legal advice and training for PCCEP




PCCEP Community Engagement Outcome Assessment
The COCL recognizes the importance of PCCEP and has worked to identify opportunities to engage
members more frequently and authentically. In October 2023, the COCL team met with the two co-
Chairs of PCCEP to hear their insights about the COCL and the Settlement agreement, share
recommendations, and discuss opportunities for further collaboration. In December 2023, the COCL
team reached out to all current PCCEP members, requesting members fill out an online survey or
schedule time for a phone interview regarding PCCEP and community engagement during the period
between April and October of 2023. Of the current PCCEP members, only eight were active during
that period. Four of those eight members—and one newer member—completed a survey. Those four
members have all been on PCCEP for at least one year. The last survey, conducted six months ago,
received responses from five PCCEP members.


PCCEP Duties
We asked about the ability of PCCEP to fulfill its’ five authorized duties and responsibilities, as
outlined in Par. 142, during the fourth quarter of 2022 and the first quarter of 2023. In our last survey,
a majority of PCCEP members felt PCCEP had not been effective at accomplishing many of its


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authorized duties and responsibilities during this time period. In this survey, PCCEP members noted
considerable improvement in their ability to fulfill three of those five authorized duties.
    1. Solicit information from the community and the PPB about PPB’s performance,
       particularly with regard to constitutional policing;

        Four PCCEP members surveyed felt PCCEP has been somewhat effective in soliciting
        information from the community about PPB’s performance; the fifth felt PCCEP has been very
        effective. This is in contrast to the previous survey, when most PCCEP members surveyed felt
        they had not been effective in soliciting information from the public about PPB’s
        performance. More recently, while still noting room for improvement, one PCCEP member
        said, “the Community Engagement subcommittee is trying really hard to get into the
        community to hear from these groups, we are bringing the community to us.”

    2. Make recommendations to the Chief, Police Commissioner, the Director of the Office of
       Equity and Human Rights, and community and, during the effective period of this
       Agreement, to the DOJ

        In the last survey, three of five PCCEP members surveyed felt PCCEP has been not effective at
        making recommendations; two believed PCCEP has been somewhat effective in this area.
        Now, three of those surveyed feel PCCEP is very effective in this area, and the other two feel
        PCCEP was somewhat effective. “I'm impressed with PCCEP’s ongoing recommendation
        system,” one member noted, and another cited PCCEP’s direct involvement in writing
        recommendations. Both PCCEP members who added comments did raise questions about
        what happens to recommendations after PCCEP makes them, with one noting “it can take
        years” for the recommendations to gain approval or be implemented, and the other saying
        they are “just not sure how effective” the recommendations are.
    3. Advise the Chief and the Police Commissioner on strategies to improve community
       relations

        PCCEP members remain mixed in their opinion of how effective the body has been on
        advising the Chief and the Police Commissioner with three saying PCCEP is very or somewhat
        effective, and two saying PCCEP has not been effective. One member expressed, “I am not
        seeing this done in our meetings, but I am not sure if others with PCCEP, like the co-chairs are
        doing this. I would like to do this and I have ideas, but I would like to see [the Chief and Police
        Commissioner] at our meetings.”

    4. Contribute to the development and implementation of a PPB Community Engagement
       Plan

        There was some improvement in PCCEP members’ evaluation of how effective the group has
        been in their contributions to the PPB Community Engagement Plan; previously, the majority
        of those surveyed felt PCCEP was not effective. Now, two of five respondents feel PCCEP



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         remains ineffective in this area, but a third felt PCCEP has been somewhat effective, and a
         fourth very effective (the fifth wasn’t sure or didn’t know).

    5. Receive public comments and concerns

         Previously, opinions on PCCEP’s effectiveness regarding receiving public comments and
         concerns were mixed; Of the five PCCEP members surveyed six months ago, two felt PCCEP
         has been very effective. Today, four of the five respondents marked PCCEP as very effective
         in this area, and the fifth felt PCCEP is somewhat effective. “More can be done but the
         meetings held (that had audio input / were open) were good channels for public comments
         and concerns.”
PCCEP members interviewed were also asked whether PCCEP is fulfilling its mission 21. In the
previous survey, three of five said yes. In this survey, all five respondents said yes. “every PCCEP
project is a step closer to the goal,” noted one member, while another noted that while they chose
yes, they “don’t feel like we are doing as much as we could be doing.”


PCCEP Relationship with and Support from the City
PCCEP members interviewed were asked to provide feedback related to Par. 144, which requires the
City to “provide administrative support so that the PCCEP can perform the duties and responsibilities
identified in this Agreement and in the PCCEP Plan.” Consistent with the last survey, three of the
PCCEP members surveyed felt the City had provided a lot of support to PCCEP, and another member
felt the city has provided some support, noting it was “managed support.” The fifth member indicated
the City had not provided enough support to PCCEP, but did not add any comments. “[The City’s team]
provide terrific support,” one noted, and another who felt the City provided some support added “I
always would like to see things done in a faster manner and wish we had an office where we could
meet to work on projects.”
PCCEP members were asked to characterize their working relationship with the Mayor/Police
Commissioner with an open-ended response. As with the previous survey, one member called the
working relationship “nonexistent.” A second said the relationship “NEEDS WORK… A lot of work.”
The other three made comments indicating the working relationship has improved, noting it’s “good,
can be better,” it’s “honest and open,” and it “seemed open, in terms of access to staff and meetings.”




21 “The mission of the Portland Committee on Community-Engaged Policing (PCCEP) is to work with the Mayor/Police

Commissioner, Portland Police Bureau, and Portland's diverse constituencies to solicit and exchange information between
the community and Portland Police Bureau (PPB) to achieve the desired outcomes of equitable policing which exceeds
constitutional requirements, and meaningful community engagement with and trust in PPB.”


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PCCEP Relationship with Portlanders
Consistent with the previous survey, four PCCEP members felt PCCEP has been somewhat or very
ineffective in working with Portland’s diverse communities. “For a group of volunteers especially, the
outreach efforts are very effective,” one of those four noted. The fifth felt PCCEP has been somewhat
ineffective, noting room for improvement “I am personally trying to do outreach, but I do not see us
partnering with communities I had hoped we would be working with. I do not see the staff doing
outreach, but they also do not share that information if they are. I think we are each engaging with
our own contacts and not making an overall effort on this.”
Members were asked if they personally have met with other community-based organizations,
solicited community input on reports, policies, or other PCCEP agenda items, shared information
about PCCEP meetings, or otherwise individually worked to engage other Portlanders in PCCEP’s
work. All five of the PCCEP members surveyed said they have shared information about PCCEP’s
meetings, solicited community input on reports, policies, or other PCCEP agenda items, and met with
community-based organizations and individuals to share information about PCCEP and ask
community members to join in. One member noted they had also contacted people after they have
attended a PCCEP meeting to see if they would like to become more involved. Two members noted
they could use “materials” to support their engagement and outreach. “I definitely feel comfortable
engaging. We need more materials. I attended and tabled a youth outreach event and was able to get
the office to make me copies of what they had, but I had to make my own posters to hang up at my
table.”


Conclusion
Overall, PCCEP’s assessment of its work and role regarding community engagement has improved is
most areas, with the notable exception of the relationship with the Mayor/Police Commissioner and
Police Chief, where opinions remain mixed. As with the previous survey, the COCL acknowledges that
they both have representatives who regularly attend PCCEP meetings and report back to them—and
the Mayor did attend a PCCEP meeting during this period—but even more collaboration and
relationship building would serve all parties well.
There is continued optimism that PCCEP is on the right track, though several feel the group could be
doing more. Several members offered suggestions in that spirit, such as “recruit more people of
color,” develop a PCCEP “script” or talking points to help members talk about their work
consistently; another suggested social media support “to help reach the general public” and share
more about PCCEP’s work and how the public can engage.




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Section XI: Additional Remedies

After five mediation meetings, the City and DOJ reached agreement on a set of remedies to
achieve compliance with the terms of the Settlement Agreement. 22 On January 10, 2022, DOJ
and the City filed their final Joint Status Report in U.S. District Court (ECF 275), summarizing
the mediation results and the specific remedies on which the parties agreed in principle. As
such, the parties have agreed to add a new section to the Settlement Agreement: Section XI,
which contains eight new paragraphs, 188 to 195. These remedies were approved by the
Portland City Council on February 9, 2022, and by the federal judge at the Fairness Hearing
on April 29, 2022.



                                    Settlement Agreement Paragraph
 188. The City shall revise Force Data Collection Report (FDCR) and After Action Report
 forms to capture when the forms are edited and completed as part of PPB’s
 implementation of Office365, which is ongoing. In the interim, pursuant to a process
 approved by the United States, PPB shall capture in the existing FDCR and After Action
 Report forms the author’s name and the time and date of initial submission and any
 subsequent edits, as well as the name, time, and date of each level of review.

 Compliance Label                Substantial Compliance


 Methodology                     Review of AAR and FDCR forms


                                           Compliance Assessment
 During the third quarter of 2023, our review demonstrated that the updated FDCR and
 AAR forms continue to be used and continue to capture the data required by Paragraph
 188. We therefore continue to find that the City and the PPB have substantially complied
 with the requirements of Paragraph 188.

 COCL
                                      •    No recommendations at this time
 Recommendations



22 These meetings included the Intervenor-Defendant PPA, the enhanced Amicus Curiae Albina Ministerial Alliance

Coalition for Justice and Police Reform (AMAC), and Amicus Curiae Mental Health Alliance.


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 Assessment Based            Updated FDCR and AAR forms and use by officers and
 On                          supervisors




                                Settlement Agreement Paragraph
 189. Before November 25, 2021, the City shall provide funding for a qualified outside entity
 to critically assess the City’s response to crowd control events in 2020 in a public-facing
 report and prepare a follow-on review of the City’s response to the report. The City will
 use the report to prepare a training needs assessment. The report, training needs
 assessment, and follow-on review will be completed consistent with a Scope of Work and
 deadlines agreed upon by the City and the United States, and such agreement shall not be
 unreasonably withheld by either Party. If the City demonstrates to the United States that
 significant progress is being made toward meeting the obligations under the agreed upon
 Scope of Work and deadlines, the City may request a reasonable modification of the Scope
 of Work or extension of deadlines, which the United States shall not unreasonably decline.

 Compliance Label            Partial Compliance


 Methodology                 Interviews with PPB officials and review of documents


                                      Compliance Assessment
 In the third quarter of 2023, IMLLC publicly released their report and participated in a
 public forum wherein they took questions and comments from community members. In
 reviewing the report, we found IMLLC’s work to be thorough in that it contained a review
 of PPB directives, trainings, operational plans, after-action reports, administrative
 investigations, videos, and interviews of PPB members, community members, and other
 City employees (among other methodologies). The IMLLC’s report made findings
 regarding key characteristics of the 2020 protests, and the impact on the protests from
 members of the community, PPB, federal law enforcement, and the City. The IMLLC’s
 report also discussed the effect of the protests on police-community relations, property
 damage, and PPB operations. Overall, the IMLLC’s findings found a need for greater
 coordination in response to protests, improved force management systems, more effective
 public order training, and clearer policies and expectations for officers’ response to protest
 events. For these findings, the IMLLC made corresponding recommendations. Many of
 these findings and recommendations also mirrored those of COCL and DOJ in finding the
 PPB and City had fallen out of Substantial Compliance in 2020.


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 With respect to Par. 189, the City has achieved the first component in that it “provide[d]
 funding for a qualified outside entity to critically assess the City’s response to crowd
 control events in 2020 in a public-facing report.” The City and PPB must now take the
 report and develop a needs assessment based on its findings, the second component of Par.
 189 and one that PPB has taken initial steps towards achieving. For instance, both Needs
 Assessments prepared by PPB this quarter (see Par. 79) reference IMLLC’s report and
 noted where the report’s findings and recommendations are being addressed through
 recent and future training. However, most of the recent training referenced came in 2021
 or earlier in 2023 (prior to the release of the report) and the Needs Assessment merely
 says that additional training is being considered for 2024 without further detail. Without
 additional information regarding future training, we are unable to say that this component
 has been fully achieved.
 We recognize that some prior training has addressed critical shortcomings in PPB’s
 protest response. However, we cannot say that all recommendations from IMLLC are
 being addressed because PPB and the City have not provided a detailed roadmap for
 addressing all of the recommendations. We were informed that the City and PPB are
 prioritizing reforms based on the order of importance as stated by IMLLC, though this
 doesn’t reflect a planned, holistic approach to the remedies. We suggest the City and PPB
 develop such a roadmap that contains how the City plans to address each finding and
 recommendation, resulting in a more efficient and effective reform process.
 Finally, in accordance with Par. 189, the IMLLC will return six months after the release of
 their report to conduct a follow-up assessment. That report is slated to be issued in the
 Fall of 2024. This will satisfy the third component of this paragraph. As a result, the City
 and PPB continue to remain in Partial Compliance.

                             To achieve Substantial Compliance:
                                  •    The City must respond to the IMLLC report
                                  •    The PPB must use the IMLLC report to prepare a training
                                       needs assessment, training plan, and relevant crowd
 COCL                                  management training
 Recommendations
                                  •    IMLLC must prepare a follow-up report that reviews the
                                       City’s response to their original report, including the
                                       PPB’s training needs assessment
                                  •    The City should prepare a detailed roadmap for
                                       responding to IMLLC’s findings and recommendations.




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                                  •    The City should provide COCL with IMLLC’s reports, the
                                       PPB’s training needs assessment report, and training
                                       plans

 Assessment Based            Evaluation of the process employed by IMLLC and the products
 On                          planned and delivered by this group




                                Settlement Agreement Paragraph
 190. Before November 25, 2021, the City shall provide in the budget a separate line item
 for overtime costs to conduct necessary training for PPB officers. The City shall include a
 similar line item in subsequent budgets for the duration of this Agreement.

 Compliance Label            Substantial Compliance


 Methodology                 Review of budget documents


                                       Compliance Assessment
 The City has continued to include a separate line item for these overtime costs in the
 City’s budget. Hence, the COCL finds that the City has achieved Substantial Compliance
 with the requirements of Paragraph 190.

 COCL                             •    No recommendations at this time
 Recommendations

 Assessment Based            Review of budget documents and amount of overtime funding
 On                          included in the budget




                                Settlement Agreement Paragraph
 191. Before November 25, 2021, the City shall budget for a qualified civilian in PPB to
 direct all educational aspects of PPB’s Training Division alongside the Captain of the
 Training Division, who will direct administrative aspects of PPB’s Training Division. The
 respective roles and responsibilities of the civilian and the Captain are outlined in
 Attachment 1 appended to this Agreement, provided that the Parties may agree to modify
 those roles and will not unreasonably withhold such agreement. Once funding is provided,

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 the City shall post the position within 90 days. Once the position is posted, the City shall
 make a job offer to a suitable candidate and complete any required background screenings
 within 150 days. If the City demonstrates to the United States that no suitable candidate
 applied for or accepted the position, or that the City is otherwise making significant
 progress toward meeting the deadlines in this Paragraph, the City may request a
 reasonable extension of time to fill the position, which the United States shall not
 unreasonably withhold.

 Compliance Label            Substantial Compliance


 Methodology                 Tracking the hiring process for the Police Education Director


                                       Compliance Assessment
 This paragraph was found in Substantial Compliance in the second quarter of 2023 and
 relates to the process of hiring a civilian training director. As the PPB has retained the same
 civilian training director since then, we continue to find Substantial Compliance with the
 requirements of this paragraph. Should PPB transition to another director in the future,
 we will refer the City to the suggestions we made for improving the hiring process in our
 2023 first quarter report.

 COCL                             •    No recommendations at this time
 Recommendations

 Assessment Based            The City’s ability to search for and hire a qualified candidate
 On                          within a reasonable time period




                                Settlement Agreement Paragraph
 192. Within 60 days of the date that this paragraph is entered as an order of the Court, the
 City shall initiate an appropriate investigation through IPR to identify: (a) the PPB
 Lieutenant(s) and above who trained Rapid Response Team members to believe that they
 could use force against individuals during crowd control events without meeting the
 requirements of PPB Directive 1010.00; (b) the PPB incident commander(s) and
 designee(s) with the rank of Lieutenant or above who directed or authorized any officer
 to use force in violation of PPB Directive 1010.00, or who failed to ensure that FDCRs and
 After Action Reports arising from the crowd control events starting on May 29, 2020, and

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 ending on November 16, 2020, were completed as required by Section 13.1 of PPB
 Directive 635.10; and (c) the PPB Commanders and above who failed to timely and
 adequately clarify misunderstandings and misapplications of PPB policy (including this
 Agreement) governing the use, reporting, and review of force during the crowd control
 events starting on May 29, 2020, and ending on November 16, 2020. Once the IPR
 investigation is complete, the Police Commissioner and/or the Chief of Police, as required
 by this Agreement, shall hold accountable those investigated members of the rank of
 Lieutenant and above who are determined to have violated PPB policies (including this
 Agreement) as outlined in this paragraph. The Parties affirm the obligation in this
 Agreement and Directive 330 for IPR and PPB to investigate any sworn member if, during
 the investigations of Lieutenants and above required by this paragraph, information is
 discovered suggesting that any sworn member may have violated PPB policy or this
 Agreement.

 Compliance Label            Partial Compliance


 Methodology                 Interviewed PPB, CAO, and IPR personnel


                                       Compliance Assessment
 IPR is currently conducting the series of investigations required by Paragraph 192.
 Currently, IPR has four open investigations related to Paragraph 192 regarding the PPB
 and City responses to the 2020 protests. Although each case is at a different stage in its
 investigation, the COCL will not be privy to all the facts of these investigations until they
 are completed. Additionally for any information we learn, we would be unable to comment
 on any open administrative investigation. At this time, we continue to find the City in
 Partial Compliance with the requirements of Paragraph 192. Substantial Compliance will
 require IPR and the City to conduct investigations that are thorough, fair, and reasonable,
 which we will assess upon the completion of the investigations.

                                  •    To achieve Substantial Compliance, complete a thorough,
                                       fair, and reasonable investigation of the command
                                       personnel associated with the 2020 crowd control and
 COCL
                                       the training they provided
 Recommendations
                                  •    To achieve Substantial Compliance, hold accountable, as
                                       appropriate, the investigated command personnel
                                       members who are found to have violated PPB policies




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                                       (including this Agreement) as described in Paragraph
                                       192

 Assessment Based            Discussions with City personnel
 On




                                Settlement Agreement Paragraph
 193. In addition to the requirements of paragraph 150 of this Agreement, PPB shall release
 its Annual Report and hold the required precinct meetings no later than September 20 of
 each year for the duration of this Agreement.


 Compliance Label            Substantial Compliance

                             Confirmed the dates of completion, dissemination, and discussion
                             of the PPB’s 2023 Annual Report; Observed and reviewed
 Methodology
                             precinct meetings; Engaged in methods reported under
                             Paragraph 150


                                       Compliance Assessment
 The PPB remained in Substantial Compliance with Paragraph 150 for the third quarter of
 2023. In June, PPB shared the draft of the 2022 Annual Report with PCCEP at the
 Settlement and Policy Subcommittee Meeting, soliciting comments and recommendations
 from the PCCEP and other community members. PPB held precinct meetings for each of
 the three precincts on July 20, 25, and 27 at North, East and Central, respectively. The Chief
 then presented the report to City Council on August 23, 2023, and it was unanimously
 accepted, fulfilling the requirements of this paragraph.
 COCL
 Recommendations                  •    No recommendations at this time


 Assessment Based On         Date the PPB’s Annual Report was completed; Date the PPB
                             Annual Report was presented at three precinct meetings



                                Settlement Agreement Paragraph



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 194. Within 210 days of the date this paragraph is entered as an order of the Court, the
 City shall implement body-worn cameras (BWCs) pursuant to a policy that is subject to the
 policy-review-and-approval provisions of this Agreement; provided, however, if the City
 is making substantial progress this deadline may be extended by agreement of the United
 States, which shall not be unreasonably withheld.
 a. The City will comply with any collective bargaining obligations it may have related to
 BWCs, which the City agrees to fulfill expeditiously and in compliance with its obligation
 to bargain in good faith.
 b. Within 60 days of the date this paragraph is entered as an order of the Court, the
 Compliance Officer shall gather public input on the use of BWCs and provide this
 information and any technical assistance to the public and the Parties to inform the
 drafting of a policy. The United States reserves its policy review rights related to the BWC
 program under the terms of this Agreement.
 c. If the City has not finally discharged its collective bargaining obligations as to BWCs
 within 120 days of the date this paragraph is entered as an order of the Court, the Parties
 stipulate that the Court may thereafter hold periodic status conferences every 60 days to
 receive an update on the procedural status of the collective bargaining process related to
 BWCs. The City will provide a final procedural status update upon the completion of the
 collective bargaining process.
 d. The United States reserves its enforcement rights related to the BWC program under the
 terms of this Agreement. If collective bargaining or any related arbitration or appeal
 results in a BWC program that the United States determines, in its sole and absolute
 discretion, will not adequately resolve the compliance concerns identified in the April 2,
 2021 notice of noncompliance, the Parties agree that the United States can seek court
 enforcement pursuant to paragraph 183, without having to repeat the steps laid out in
 paragraphs 178 to 182.

 Compliance Label            Partial Compliance

                             Review of BWC pilot policy; Observation of BWC training;
 Methodology
                             Communication with PPB personnel

                                      Compliance Assessment
 During the third quarter of 2023, the PPB took several steps toward full implementation
 of the BWC program. For instance, in August, several members of the COCL team were able
 to observe BWC training provided by PPB to Central Precinct members, members of the
 FIT team, and detectives. This training included modules on the BWC policy, wearing the

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 cameras, operating the cameras, docking the cameras and downloading the videos, and
 modules for specific supervisor and detective responsibilities. In observing the training,
 we found each module to be informative and well received.
 However, we still have questions about the BWC program rollout broadly and cannot yet
 determine whether the program implementation is being optimized and will ultimately be
 successful. As the pilot policy was the result of negotiations between the PPB and PPA, and
 ultimately the City and DOJ, the COCL team and our subject matter experts have not been
 provided an opportunity to weigh in on the policy. As the PPB has recently ended the pilot
 period (Q4), it is our understanding that an additional round of revisions to the policy will
 be occurring and we recommend our team be afforded an opportunity to provide input
 prior to finalization. In addition, although our evaluation of training that we observed is
 overall positive, we maintain that additional modules will be important for the success of
 the program, including a greater scope of supervisory training. Finally, we continue to seek
 greater clarification on evaluation metrics, both in terms of successful rollout of the
 cameras as well as auditing, evaluation frameworks, and ongoing training plans for looking
 at the success and sustainability of the program overall.
 As a matter of technical assistance, the COCL team understands that a comprehensive and
 well-developed BWC program is built upon several factors, not merely having a policy and
 training. To their credit PPB and the City have taken several positive steps to implement
 their BWC program, including engaging the community and PPA in developing their policy
 and recently conducting a BWC pilot to inform how the program will be implemented
 department-wide. However, moving forward, we would expect to see more specific plans
 regarding the future rollout of BWCs in Portland. Proper planning, and preparation are
 critical for success as BWCs can impact an entire department’s operation, including
 staffing, officer safety and well-being, training opportunities, evidence collection,
 community trust, and accountability (among others). Particularly during the
 implementation phase, agencies should have a detailed plan, developed in coordination
 with partners and stakeholders (including community members and prosecutor’s offices),
 that describes the phased approach that will be taken. Finally, many agencies fail to
 consider the amount of work (and resources) that it takes to manage a BWC program
 operationally, especially with regards to stored digital evidence. Such factors should be
 included in a comprehensive plan from the beginning, as well as a long-term sustainability
 plan (including auditing and evaluation frameworks) that accounts for how an expanding
 amount of digital evidence will impact policing capabilities, capacities, and resources.
 Research and resources for each of these elements (and others) can be found in the BWC




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 National Toolkit 23 as well as through the BWC Policy Implementation Program. 24 In
 addition, the COCL team stands ready to provide training and technical assistance to PPB
 on any issue regarding their developing BWC program based on our experience in this
 area.

 COCL                                 •    To achieve Substantial Compliance, the City should
 Recommendations                           achieve full-scale implementation of the BWC program.

                                Review of BWC pilot plans, BWC policy, hiring a qualified BWC
 Assessment Based               vendor, hiring PPB personnel for the BWC program, and
 On                             preparing the identified precinct for pilot testing; observation of
                                training




                                     Settlement Agreement Paragraph
 195. In 2020, the City referred to voters a ballot measure that would overhaul the police
 accountability system incorporated into this Agreement by establishing a new Community
 Police Oversight Board to replace IPR for investigations of certain complaints of police
 misconduct and to replace the Chief of Police for imposition of discipline. City voters
 approved the ballot measure. The City has since empowered a 20-member civilian
 Commission to define the duties and authority of the Oversight Board and submit a
 proposal to the City Council for final approval.
 a. Before January 1, 2022, the City Council and Auditor shall each present a plan to the
 United States for an orderly transition to the Community Police Oversight Board by
 ensuring the continuity of IPR operations while the Commission develops the Oversight
 Board for City Council’s approval. The United States shall determine whether either of
 these two plans is acceptable. City Council will then adopt a plan that the United States has
 determined is acceptable. The Parties agree that the adopted plan shall be appended to
 this Agreement and will become part of this Order, provided that the Parties may agree to
 modify the plan if warranted by the circumstances. Until the Oversight Board becomes
 operational, the City shall ensure that administrative investigations are completed as
 required by Section VIII – Officer Accountability and that officers are held accountable for
 violating PPB policy and procedure as required by Paragraph 169.




23 https://bja.ojp.gov/program/bwc

24 https://bwctta.com/




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 b. Within 18 months of the date this paragraph is entered as an order of the Court, the
 Commission shall propose to City Council changes to City Code to create a new police
 oversight system as reflected in the City of Portland Charter amendment establishing a
 Community Police Oversight Board. Within 60 days of receiving the Commission’s
 proposal, the City will propose amendments to City Code to address the Commission’s
 proposal, and corresponding amendments to this Agreement, subject to the United States’
 and the Court’s approval, to ensure full implementation of the Oversight Board and
 effective police accountability, consistent with the requirements of this Agreement. Within
 21 days of the approval of the amendments to the Agreement by the United States and the
 Court, the City Council shall consider and vote on the conforming City Code provisions
 creating the Oversight Board. Within 12 months of the Council’s adoption of the City Code
 provisions, the new Oversight Board shall be staffed and operational, and IPR shall then
 cease taking on new work and complete any pending work. For good cause shown, the
 deadlines imposed by this subparagraph (b) may be reasonably extended provided that
 the City is in substantial compliance with subparagraph (a).
 c. The City will comply with any collective bargaining obligations it may have related to the
 Oversight Board, which the City agrees to fulfill expeditiously and in compliance with its
 obligation to bargain in good faith.

 Compliance Label            Partial Compliance

                             Observation of PAC meetings; Communication with City support
 Methodology                 staff; Review of PAC’s Quarterly Report, January–March 2023;
                             Review of PAC’s final recommendations to the City

                                      Compliance Assessment
 For the third quarter of 2023, the City remained in Partial Compliance with the
 requirements of Paragraph 195. During this quarter, the PAC completed their work,
 submitting its final report and recommendations to the City. As noted in our Technical
 Assistance Statement, 25 the PAC conducted a substantial number of public hearings,
 community engagement events, interviews, and public engagements as part of their
 recommendation development process. For many of these engagements, the COCL team
 was present and observed PAC members allot their time in a purposeful and effective




25

https://static1.squarespace.com/static/5a319f76a9db0901e16c6433/t/6542dfb881721e1542c0a39b/1698881464546
/COCL+TA+Statement+-+PAC+Recommendations.pdf


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 fashion. We commend the efforts of the PAC in developing their recommendations and
 believe their efforts meet the requirements of Par. 195.
 In developing their report, the PAC focused on several issues, including identifying
 barriers to accountability under the current oversight system, identifying best practices
 from the current system, and defining independent judgment. For instance, in identifying
 current barriers, the PAC noted the system suffers from include a lack of transparency,
 complexity, lack of accessibility and equity, public perception, lack of trust in the system,
 current laws and policies, lack of proven effectiveness, conflicts of interest and bias,
 vulture, and inadequate resources. For best practices within the current system, the PAC
 identified the CRC, IPR transparency and regular reporting with language accessibility,
 civilian staff involvement, qualifications of investigators, review and rigor, and the
 outcome possibilities that go beyond discipline or correction action (i.e., mediation and
 supervisory investigation). Finally, the PAC defined independent judgement as “a
 demonstrable absence of real or perceived influence from law enforcement, political
 actors, and other special interests looking to affect the operations of the civilian oversight
 agency.”
 Overall, the PAC proposed a package of recommendations that included 97 pages of
 proposed City Code language, which we summarize here. The system proposed by PAC
 has a multi-level staffing structure including board members and oversight staff. Using
 Charter 2-10, the PAC listed parameters for board membership including that they must
 be appointed by approval of council and must represent diverse communities, including
 those with lived experiences. Charter 2-10 also includes parameters that would make
 potential candidates ineligible to serve on the board:
 “People currently employed by a law enforcement agency and their immediate family
 members are not eligible for service on the board. People who were formerly employed by a
 law enforcement agency are not eligible for service on the board.”
 Other board characteristics (i.e., size, selection method, term length, quorum, method to
 ensure representation, and compensation level) were similarly recommended by the PAC.
 One new aspect of the Oversight Board would be the full board vs. smaller group. The full
 board would include all 33 members serving staggered three-year terms. The full board’s
 responsibilities include making decisions on all internal processes, reviewing sub-
 committee proposals, and attending public town halls and events. Smaller groups refer to
 the rotating panel of five to seven members that would decide on individual cases and to
 the sub-committees that develop proposals for full board consideration. Board members
 would receive support through monetary compensation (estimated mid-point is
 $5,400/year) and mental health services such as an employee assistance program.
 Further, the oversight staff include the director, who is to be hired and managed by the
 oversight board, and the professional staff, who are to be hired and managed by the

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 director. The staff are responsible for processing cases as well as policy and community
 outreach.
 The proposed system’s duties and authorities are categorized into their access to
 information and administrative investigations. Access to information refers to the ability
 of the oversight system to obtain the information that is needed to do the work of handling
 specific cases of potential misconduct and conducting overall review. The new system
 would first request information from PPB/Officers and have the authority to compel
 officer testimony, subpoena witnesses, access police records and data, and access body
 camera footage. Administrative investigations have 5-steps for all cases that fit in the
 oversight board’s jurisdiction. Step 1 is intake, in which any person who witnesses an
 alleged misconduct can file a complaint, who will then be assigned a complaint navigator
 to keep them informed throughout the process and is their primary point of contact. At
 this point, complaints would be categorized. For example, the complaints may be
 categorized as allegations of misconduct of discourtesy, dishonesty, or neglect of duty
 (among others). The cases would then be assigned for dismissal, full investigations, or
 determined if eligible for mediation or listed as an informal complaint for less serious
 allegations. Step 2 is the investigation would include interviews, collecting evidence, and
 empowerments. During this step updates would be shared regularly with officers and
 complainants. Step 3 is the findings, in which the completed investigation would be
 presented to the panel of board members previously mentioned. Panels would typically be
 made up of 5 board members, unless the cases is complex and/or high-profile, in which
 case two additional members would be on the panel. During step 3, the panel would select
 one of four findings (e.g., in policy, out of policy, unfounded, insufficient evidence) about
 the alleged officer’s actions for each case. The panel could also select any additional
 findings (e.g., policy issues, training issues, supervisory issues, communication issues,
 equipment issues) about how the system can improve, if relevant. Step 4 of the submitted
 proposal is corrective action and discipline. This step was designed to be consistent with
 due process and just cause considerations to ensure Officer’s rights are upheld. Not all
 responses require a disciplinary response and may include more training or command
 counseling to promote better performance in the future, however, disciplinary response
 can go up to termination. Step 5 is appeals, in which both the complainants and officers
 would have the right to appeal to the board’s decision. Officers will also have two
 additional options for appeal through civil service files or a grievance for arbitration.
 Lastly, as advised in Step 1, there are different processes for lower-level cases that can be
 handled through mediation or the officer’s supervisor. It is intended that this would take
 the burden off the investigative team, while allowing these lower-level cases to achieve
 closure faster. However, lower-level cases can be escalated to full investigations as needed.




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 The PAC identified four primary differences between the current system and the proposed
 system: (1) the complaint navigator provided to the complainant from the beginning, (2)
 one entity reviews each case allowing the process to be more straightforward, (3) deadly
 force cases go through administrative investigations and there is ability to appeal, and (4)
 community members make the final decisions on findings. Conversely, three key
 similarities between the current system and proposed system were identified by the PAC:
 (1) the use of a discipline guide, (2) the use of panels and sizes like PRB structure, and (3)
 upholding due process, just cause, and 5th amendment rights. Moreover, the proposal
 includes structural oversight of the oversight board as written in Charter 2-10. The
 oversight board can also make policy recommendations to PPB. The recommendations can
 be initiated through six processes and rejected recommendations may be sent to city
 council. These policy recommendations also include collective bargaining negotiations.
 The proposed report by the PAC further goes into their methods of maintaining public
 transparency and implementation as outlined by the settlement agreement between DOJ
 and the City of Portland, and the transition plan. The transition plan includes three
 proposals: 1) transfer cases from IPR six months after full implementation to new
 oversight board in order to minimize the length of time the systems overlap, 2) allow
 transferred cases to use the new systems administrative investigative process, and 3)
 create a transition team during the DOJ/Court review in order to give relief during the 1-
 year implementation period in which the board members, director, and staff must all be
 hired and trained.
 Other notable components of the final report proposed by PAC are that they wish for the
 new oversight system to be a model for other jurisdictions, making Portland a leader in
 police accountability. Further, reporting and transparency will be conducted through open
 public meetings, comprehensive annual reports, data available online including
 downloadable public data, and making case decisions and hearings open to the public
 when in compliance with state law and only if the officer requests it or the board
 determines the case is high enough profile that public interest requires it.
 Although occurring in Q4, the City Council ultimately approved a pared-down version of
 the PAC’s recommendations when passing changes to City Code, noting that many of the
 PAC’s recommendations were better suited for SOPs or other documents rather than City
 Code. At present, proposed amendments to the Settlement Agreement based on the code
 change are being bargained by the City and PPA, after which DOJ will review them. Upon
 approval, the Settlement Agreement will be amended to reflect the CBPA and we will
 therefore provide updates as they become available to us.

 COCL                           •    To achieve Substantial Compliance, the City must
 Recommendations                     implement a functional oversight board that is properly

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                                     staffed, trained, operational, and able to effectively
                                     investigate and dispose of use of force and misconduct
                                     cases

                            Progress achieved by PAC toward developing the new oversight
 Assessment Based
                            board; Implementation and functioning of the new oversight
 On
                            board




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Appendix A: Acronyms

 Acronym                                                                 Definition

 AAR                                      After Action Report (also referred to as 940)
 AIM                                      Administrative Investigations Management
 AMAC                                     Albina Ministerial Alliance Coalition for Justice and Police Reform
 AMR/EMS                                  American Medical Response/Emergency Medical Service
 BERS                                     Behavioral Health Unit Electronic Referral System
 BHCC                                     Behavioral Health Call Center
 BHRT                                     Behavioral Health Response Team
 BHU                                      Behavioral Health Unit
 BHUAC                                    Behavioral Health Unit Advisory Committee
 BHUCT                                    Behavioral Health Unit Coordination Team
 BOEC                                     Bureau of Emergency Communications
 BWC                                      Body-Worn Camera
 CAR                                      Corrective Action Recommendation
 CBPA                                     Community Board for Police Accountability
 CCO                                      Coordinated Care Organization
 CEW                                      Conducted Electric Weapon
 CIT                                      Crisis Intervention Team
 COCL                                     Compliance Officer and Community Liaison
 CRC                                      Citizen Review Committee
 CRO                                      Communication Restriction Order
 CSD                                      Community Safety Division
 DOJ                                      Department of Justice
 ECIT                                     Enhanced Crisis Intervention Team
 ECW                                      Electronic Control Weapon
 EIS                                      Employee Information System
 FDCR                                     Force Data Collection Report
 FTE                                      Full-Time Equivalent
 IA                                       Internal Affairs
 IMLLC                                    Independent Monitor, LLC
 IPR                                      Independent Police Review
 LMS                                      Learning Management System
 MHT                                      Mental Health Template


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 OIG                                      Office of the Inspector General
 OIS                                      Officer-Involved Shooting
 PAC                                      Police Accountability Commission
 PCCEP                                    Portland Committee on Community-Engaged-Policing
 PPA                                      Portland Police Association
 PPB                                      Portland Police Bureau
 PRB                                      Police Review Board
 PSD                                      Professional Standards Division
 PSR                                      Portland Street Response
 RU                                       Responsibility Unit
 SCT                                      Service Coordination Team
 SOP                                      Standard Operating Procedure
 STS                                      Supportive Transitions and Stabilization
 TAC                                      Training Advisory Council




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Appendix B: List of Personnel

       Chief of Police: Bob Day
       Deputy Chief of Police: Michael Frome
       Assistant Chief of Operations: Jeffrey Bell
       Assistant Chief of Services: Michael Leasure
       Assistant Chief of Investigations: Art Nakamura
       Assistant Chief of Services: Mike Leasure
       Assistant Chief of Community Services: Chuck Lovell
       Commander of Professional Standards Division: Amanda McMillan
       Inspector General/DOJ Compliance team: Mary Claire Buckley
       Force Inspector Lieutenant: Michael Roberts
       BHU: Christopher Burley
       EIS Supervisor: Matthew Engen
       Training Captain: Franz Schoening
       City of Portland Auditor: Simone Rede
       IPR Director: Ross Caldwell
       BOEC Director: Bob Cozzie
       BOEC Training and Development Manager: Melanie Payne




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